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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.,    §
             Plaintiffs,               §
                                       §
v.                                     §            5:21–CV–0844–XR
                                       §           [Consolidated Cases]
GREGORY W. ABBOTT, et al.,             §
           Defendants.                 §




              FINDINGS OF FACT AND CONCLUSIONS OF LAW
         (CLAIMS UNDER SECTION 208 OF THE VOTING RIGHTS ACT)
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                                            INTRODUCTION

        On September 7, 2021, Texas Governor Greg Abbott signed into law the Election

Protection and Integrity Act of 2021, an omnibus election law commonly referred to as “S.B. 1.”

See Election Integrity Protection Act of 2021, S.B. 1, 87th Leg., 2d Spec. Sess. (2021).

        Premised on the state legislature’s authority to make all laws necessary to detect and punish

fraud under article VI, section 4 of the Texas Constitution, S.B. 1 modified various provisions of

the Texas Election Code, imposing, among other things, new restrictions on voter assistance and

in-person canvassing activities. See, e.g., S.B. 1 §§ 6.01, 6.03–6.07, 7.04 (JEX-1 at 50–56, 59–60).

        Several private plaintiffs filed lawsuits, challenging certain provisions of S.B. 1 as

unconstitutional and otherwise unlawful under federal voter-protection statutes. For judicial

economy, these were consolidated under the above-captioned case, which was first filed. 1

        Four Plaintiffs groups—the HAUL Plaintiffs, 2 the OCA Plaintiffs, 3 the LUPE Plaintiffs,4

and the LULAC Plaintiffs 5—collectively challenge S.B. 1 §§ 6.01, 6.03–6.07, and 7.04 (the

“Assistance Provisions”) as preempted by Section 208 of the Voting Rights Act (“VRA”), 52

U.S.C. § 10508, which guarantees qualified voters the right to vote with an assistor of their choice.



1
 See ECF No. 31 (consolidating OCA-Greater Houston v. Esparza, No. 1:21-cv-780 (W.D. Tex. 2021); Houston Area
Urban League v. Abbott, No. 5:21- cv-848 (W.D. Tex. 2021); LULAC Texas v. Esparza, No. 1:21-cv-786 (W.D. Tex.
2021) and Mi Familia Vota v. Abbott, No. 5:21-cv-920 (W.D. Tex. 2021) under the lead case.
2
 For the purposes of the HAUL Plaintiffs’ Section 208 claims, this group includes The Arc of Texas, Delta Sigma
Theta Sorority, Inc., and Mi Familia Vota. ECF No. 199 (HAUL Compl.) ¶¶ 287–94 (Count V).
3
 For the purposes of the OCA Plaintiffs’ Section 208 claims, this group includes OCA-Greater Houston, The League
of Women Voters of Texas, and REVUP-Texas. See ECF No. 200 (OCA Compl.) ¶¶ 176–81 (Count IV); Text Order
dated Apr. 14, 2022 (granting Texas Organizing Project’s withdrawal from the case); ECF No. 551 (granting Workers
Defense Action Fund’s withdrawal from the case and dismissing its claims with prejudice).
4
 This group includes La Unión del Pueblo Entero, Friendship-West Baptist Church, the Southwest Voter Registration
Education Project, Texas Impact, the Mexican American Bar Association of Texas, Texas Hispanics Organized for
Political Education, Jolt Action, the William C. Velasquez Institute, FIEL Houston Inc., and James Lewin. ECF No.
208 (LUPE Compl.) ¶¶ 266–71 (Count V).
5
 For the purposes of the LULAC Plaintiffs’ Section 208 challenges, this group includes LULAC Texas, Voto Latino,
Texas Alliance for Retired Americans, and Texas AFT. See ECF No. 207 (LULAC. Compl.) ¶¶ 287–94 (Count IV).

                                                       1
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       Plaintiffs allege that S.B. 1’s new disclosure requirements (§§ 6.01, 6.03, 6.05, 6.07),

modifications to the oath of assistance (§ 6.04), ban on compensated assistance (§ 6.06) and in-

person canvassing restriction (§ 7.04) subvert the protections of Section 208 by narrowing the class

of eligible assistors, requiring voters to take additional steps as a prerequisite to receiving

assistance, and deterring voters from requesting—and assistors from providing—assistance in the

voting process. Following a six-week bench trial, the Court largely agrees.

       After careful consideration, the Court issues the following findings of fact and conclusions

of law pursuant to FED. R. CIV. P. 52(a) bearing on Plaintiffs’ Section 208 claims.




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                                       PROCEDURAL HISTORY

        Plaintiffs filed their original complaints in August and September 2021, seeking to enjoin

the State of Texas and the Secretary of State and Attorney General of the State of Texas (together,

the “State Defendants”) and local election officials from enforcing many provisions of S.B. 1,

including provisions that, like most of the Assistance Provisions, impose criminal liability.

        In December 2021, the Texas Court of Criminal Appeals held in State v. Stephens that the

Election Code’s delegation of unilateral prosecutorial authority to the Attorney General to

prosecute election crimes violated the separation-of-powers clause of the Texas Constitution. 663

S.W.3d 45 (Tex. Crim. App. 2021). The court explained that the Texas Constitution assigns to

county and district attorneys, members of the judicial branch, the “specific duty” to represent the

state in criminal prosecutions. Id. at 52. The Attorney General, as part of the state’s executive

branch, has no similar, independent power under the Texas Constitution. Thus, the Attorney

General can prosecute election crimes only with the consent of local prosecutors through a

deputization order. Id. at 47.

        Following Stephens, Plaintiffs amended their complaints to join local district attorneys

from several Texas counties as Defendants. 6 The State Defendants moved to dismiss these

complaints in their entirety, including Plaintiffs’ Section 208 challenges. The Court denied the

motions as to those challenges in August 2022, concluding that the VRA waived sovereign

immunity and created a private right of action to enforce Section 208, and that Plaintiffs had

adequately alleged standing to assert their Section 208 claims. 7


6
 Plaintiffs filed their Second Amended Complaints, the operative pleadings, in January 2022. See ECF Nos. 199, 200,
207, 208.
7
 See La Union del Pueblo Entero v. Abbott, 614 F. Supp. 3d 509 [LULAC], 618 F. Supp. 3d 388 [OCA], 618 F. Supp.
3d 449 [HAUL], 618 F. Supp. 3d 504 [LUPE], (W.D. Tex. 2022). The Court dismissed the HAUL Plaintiffs’ claims
against the Governor, however, concluding that their injuries were not fairly traceable to him.
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         In May 2023, the State Defendants joined in a motion for summary judgment filed by a

group of Republican committees (the “Intervenor-Defendants”), 8 arguing that: (1) state-law

restrictions and requirements on assistors “of the voter’s choice” do not violate Section 208 and

therefore cannot be preempted; and (2) Section 208 permits state-law restrictions on who may

serve as an assistor beyond the limitations provided in federal law. See ECF No. 608 at 27–30. The

District Attorney of Harris County, Kim Ogg, also moved for summary judgment, asserting that

Plaintiffs lacked standing. See ECF No. 614. The Court carried the motions with the case and

addresses their arguments herein to the extent that they were not disposed in the Court’s orders

disposing of the State Defendant’s motions to dismiss.

         The Court held a bench trial from September 11, 2023, to October 20, 2023. In all, the

parties presented about 80 witnesses (both live and by deposition testimony), nearly 1,000 exhibits,

and producing over 5,000 pages of trial transcripts. The Court heard testimony from voters,

Plaintiffs’ organizational representatives and volunteers, former and current state and local

officials, and expert witnesses.

         The parties submitted proposed findings of fact and conclusions of law in January 2024, 9

and presented closing arguments on February 13, 2024.


8
 The Intervenor-Defendants include the Harris County Republican Party, the Dallas County Republican Party, the
Republican National Committee, the National Republican Senatorial Committee, and the National Republican
Congressional Committee. The Court initially denied their motion to intervene for failing to identify a legally
protectable interest at stake in this litigation or show that the State Defendants’ representation of any such interest
would be inadequate. See ECF No. 122 at 2–7. The Fifth Circuit reversed, concluding that the Committees’ interest in
S.B. 1’s provisions concerning party-appointed poll watchers—an interest raised for the first time on appeal—
warranted intervention. La Union del Pueblo Entero v. Abbott, 29 F.4th 299, 306 (5th Cir. 2022). Accordingly, the
Committees were allowed to intervene. It is not clear to the Court that their interest in the provisions applicable to
partisan poll watchers establishes a commensurate interest in voter assistance regulations. Nonetheless, because the
State Defendants joined the arguments in the Committees’ motion for summary judgment, see ECF No. 610, the Court
considers the Intervenor-Defendants’ motion and briefing.
9
  See, e.g., ECF Nos. 850, 852 (Plaintiffs, jointly); ECF No. 855 (LUPE); ECF No. 856 (HAUL); ECF No. 843-1
(Dallas County DA); ECF No. 845 (Harris County DA); ECF Nos. 861, 862 (State Defendants and Intervenor-
Defendants). The parties also submitted supplemental briefing on the Supreme Court’s recent decision in FDA v. All.
for Hippocratic Med., 602 U.S. 367 (2024). See ECF Nos. 1138, 1140, 1142–45.



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                                       FINDINGS OF FACT

       1.        Under S.B. 1, Texas law recognizes the following interactions as crimes under the

Texas Election Code (the “Election Code” or “TEC”):

            a.      A man helps his blind wife of 20 years cast her ballot at the polls without
                    first securing a representation from her that she is “eligible for assistance.”
                    Even if he completes her ballot according to her exact instructions, he faces
                    up to two years in prison and a fine of up to $10,000. See TEC § 276.018(b);
                    TEX. PENAL CODE § 12.35; Tr. at 3991:1–5.

            b.      While meeting with a client about his tax return, a staff member for a
                    community organization that provides free income tax services agrees to
                    help translate the man’s mail-in ballot. The client fills out his own ballot,
                    with accurate translation assistance from the staff member. Even though the
                    ballot reflects the clients wishes, the staff member faces up to two years in
                    prison, she and her employer may be fined up to $10,000, and the client’s
                    ballot may not be counted. See TEC §§ 86.0105(a), (c); TEX. PENAL CODE
                    § 12.35; TEC § 86.010(d); Tr. at 3996:8–3997:5.

            c.      An elderly woman with arthritis answers her door to find a college student
                    from her alma mater canvassing for a ballot measure that would create an
                    endowment for their school. Mentioning her arthritis, the woman asks the
                    student for help completing her mail ballot and offers the student an iced
                    tea and cookies as a token of her appreciation. The student agrees and
                    completes the ballot according to the voter’s instructions. The voter and the
                    student each face up to 10 years in prison and fines of up to $10,000. See
                    TEC §§ 276.015(a)–(c), (f); TEX. PENAL CODE § 12.34; Tr. at 1904:1–
                    1906:5, 3995:11–24.

       2.        Plaintiffs assert that, by criminalizing these routine interactions and imposing

additional requirements on voters and their assistors, various provisions of S.B. 1 have frustrated

qualified voters’ rights under federal law to voting assistance from a person of their choice.

       3.        Section 208 of the Voting Rights Act provides:

            Any voter who requires assistance to vote by reason of blindness, disability,
            or inability to read or write may be given assistance by a person of the
            voter’s choice, other than the voter’s employer or agent of that employer or
            officer or agent of the voter’s union.

52 U.S.C. § 10508.




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        4.      Section 208 creates a federally guaranteed right of an assistant of the voter’s choice

when “voting,” which includes “all action necessary to make a vote effective in any primary,

special, or general election, including, but not limited to, registration . . . or other action required

by law prerequisite to voting, casting a ballot, and having such ballot counted properly and

included in the appropriate totals of votes cast[.]” 52 U.S.C. § 10310(c)(1).

        5.      Congress enacted Section 208 “[t]o limit the risks of discrimination” against voters

with who require assistance and “avoid denial or infringement of the[ir] right to vote.” S. Rep. No.

97-417 at 62 (May 25, 1982). As the Senate Report explains:

                Clearly, the manner of providing assistance has a significant effect on the
                free exercise of the right to vote by such people who need assistance.
                Specifically, it is only natural that many such voters may feel apprehensive
                about casting a ballot in the presence of, or may be misled by, someone
                other than a person of their own choice. As a result, people requiring
                assistance in some jurisdictions are forced to choose between casting a
                ballot under the adverse circumstances of not being able to choose their own
                assistance or forfeiting their right to vote. The Committee is concerned that
                some people in this situation do in fact elect to forfeit their right to vote.
                Others may have their actual preference overborne by the influence of those
                assisting them or be misled into voting for someone other than the candidate
                of their choice.” The Committee has concluded that the only kind of
                assistance that will make fully ‘meaningful’ the vote of the blind, disabled,
                or those who are unable to read or write, is to permit them to bring into the
                voting booth a person whom the voter trusts and who cannot intimidate him.

Id. at 472.

THE CHALLENGED PROVISIONS

Section 6.01 – Transportation Disclosures (Curbside Voting)

        6.      Texas provides curbside voting for voters who are “physically unable to enter the

polling place without personal assistance or likelihood of injuring the voter’s health,” allowing

them to vote from the convenience and safety of a vehicle during early voting or on Election Day.

TEC § 64.009(a); see Tr. at 4355:22–4356:2.




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         7.       Section 6.01 of S.B. 1 modified Texas’s curbside voting procedures by requiring a

person who “simultaneously” provides seven or more voters with transportation to a polling place

for curbside voting to complete and sign a form—prescribed by the Secretary of State and provided

by an election officer—reporting her name, address, and whether she is only providing

transportation or also serving as an assistant to the voters. TEC §§ 64.009(e), (f), (h). 10

         8.       Section 6.01 further provides that “a poll watcher is entitled to observe any activity

conducted under this section,” other than the preparation of a voter’s ballot with an assistor of the

voter’s choice. TEC § 64.009(e). Poll watchers are thus entitled to observe drivers as they fill out

the form prescribed by the Secretary of State.

         9.       Completed forms must be delivered to the Secretary of State as soon as practicable.

TEC § 64.009(g). The Secretary must make the form available to the Attorney General for

inspection upon request. Id.

Section 6.04 – Amendments to Oath of Assistance

         10.      Section 6.04 of S.B. 1 amends the oath that a person assisting a voter is required to

swear (the “Oath of Assistance” or “Oath”) by adding the underlined and bolded language:

               I swear (or affirm) under penalty of perjury that the voter I am assisting
               represented to me they are eligible to receive assistance; I will not
               suggest, by word, sign, or gesture, how the voter should vote; [I will confine
               my assistance to reading the ballot to the voter, directing the voter to
               read the ballot, marking the voter’s ballot, or directing the voter to
               mark the ballot;] 11 answering the voter’s questions, to stating propositions

10
  The driver need not provide the disclosures if the person is related to each voter within the second degree by affinity
or the third degree by consanguinity under TEX. GOV’T CODE § 573.023. TEC § 64.009(f-1).
11
  The requirement that a person who assists a voter must confine assistance to reading the ballot, marking the ballot,
and directing the voter to do the same was enjoined in OCA of Greater Houston v. Texas, No. 1:15-CV-679-RP, 2022
WL 2019295, at *4 (W.D. Tex. June 6, 2022).11 Accordingly, this Court held that “all claims in this consolidated
action challenging the portions of section 6.04 that the district court recently enjoined . . .are moot.” LUPE v. Abbott,
614 F. Supp. 3d 509, 513 n.3 (W.D. Tex. 2022).
The United States brought a Section 208 claim in this consolidated action challenging the oath language enjoined in
OCA-Greater Houston v. Paxton (OCA-Greater Hous. II), No. 1:15-CV-679-RP, 2022 WL 2019295, (W.D. Tex. June
6, 2022), which was rendered moot by the injunction. See LUPE v. Abbott, 614 F. Supp. 3d at 513 n.3.



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              on the ballot, and to naming candidates and, if listed, their political parties;
              I will prepare the voter’s ballot as the voter directs; I did not pressure or
              coerce the voter into choosing me to provide assistance; [and] I am not
              the voter’s employer, an agent of the voter’s employer, or an officer or agent
              of a labor union to which the voter belongs; I will not communicate
              information about how the voter has voted to another person; and I
              understand that if assistance is provided to a voter who is not eligible
              for assistance, the voter’s ballot may not be counted.

TEC § 64.034. An offense under this subsection is a state jail felony, punishable by up to two years

in prison and a fine of up to $10,000 and will result in the rejection of the voter’s ballot. TEC §

276.018(a)(2)–(b); TEX. PENAL CODE §§ 12.35(a), (b).

        11.      An assistor must take the Oath of Assistance (and complete the disclosure form)

for each voter she assists. Election officials, on the other hand, are not required to take the Oath or

complete the disclosure form. See TEC § 64.034. When a voter receives assistance from an election

official, however, Texas law permits poll watchers to be present at the voting station, and the

watchers are entitled to examine the ballot before it is deposited in the ballot box. TEC § 33.057(a).

        12.      The Oath of Assistance must be printed on BBM carrier envelopes and signed by

the assistor. TEC § 86.013(e); see LUPE-009 (form BBM carrier envelope prescribed by the

Secretary of State).

        13.      Providing mail ballot assistance without signing the Oath is a state jail felony unless

the assistor is a close relative of the voter or is physically living with the voter when the assistance

is provided. See TEC § 86.010(h)(1).

Sections 6.03, 6.05, 6.07 – Assistor Disclosures

        14.      Before S.B. 1, the Election Code provided that, if assistance was provided by a

person of the voter’s choice at a polling place, an election officer must enter the person’s name

and address on the poll list beside the voter’s name. See TEC § 64.032(d). A person providing




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mail-ballot assistance was required to provide his or her signature, printed name, and a residential

address. See TEC § 86.010(e); JEX-1 at 53.

        15.     Sections 6.03, 6.05 and 6.07 of S.B. 1 added provisions imposing new disclosure

and documentation requirements on persons who provide voter assistance.

        16.     Section 6.03 provides: “A person, other than an election officer, who assists a voter

in accordance with this chapter is required to complete a form stating: (1) the name and address of

the person assisting the voter; (2) the relationship to the voter of the person assisting the voter; and

(3) whether the person assisting the voter received or accepted any form of compensation or other

benefit from a candidate, campaign, or political committee.” TEC § 64.0322(a).

        17.     The Secretary of State must prescribe the Assistor Disclosure form. TEC §

64.0322(b). As prescribed by the Secretary, the form also contains the “Oath of Assistance,”

discussed below. See LUPE-189 (“Oath of Assistance Form”).

        18.     Section 6.05 amended the Election Code to require a person who assists a mail-in

voter to disclose their relationship with the voter and any compensation from a candidate,

campaign, or political committee on the assisted-voter’s BBM carrier envelope. TEC § 86.010(e).

The Election Code already required assistors to provide their names and addresses on the carrier

envelope. See id.; JEX-1 at 53.

        19.     Section 6.07 amends the disclosures on the BBM carrier envelopes that must be

completed by anyone providing ballot-dropping assistance to add a space indicating the assistor’s

relationship to the voter (along with the person’s name and address, which were already required).

TEC § 86.013(b).

        20.     As prescribed by the Secretary of State, the form BBM carrier envelope does not

distinguish between assistance in completing the ballot and ballot-dropping assistance. See LUPE-




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009 (“If you are assisting a voter by depositing the Carrier Envelope in the mail or with a common

or contract carrier, you must complete the assistant section below.”).

       21.     Providing BBM assistance without completing the Assistor Disclosures is a state

jail felony, punishable by up to two years’ confinement and a fine of up to $10,000 and may result

in the rejection of the voter’s ballot. TEC § 86.010(g); TEX. PENAL CODE §§ 12.35(a), (b). The

criminal consequences are inapplicable, however, to mail-ballot assistance provided by a close

relative of the voter or a person who was physically living with the voter when the assistance was

provided. See TEC § 86.010(h)(2).

       22.     Although the Assistor Disclosures required under §§ 6.03 and 6.05 are technically

distinct from the required Oath of Assistance set forth in § 6.04, the requirements are, as a practical

matter, indistinguishable to assistors. As the images below demonstrate, on both the “Oath of

Assistance” form and the form mail ballot carrier envelope prescribed by the Secretary, the space

for the assistor’s signature (subscribing to the Oath) appears in the same section as the disclosure

requirements—directly under the printed Oath language.

                                         Oath of Assistance




LUPE-189 at 1.




                                                  10
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                                Form Mail Ballot Carrier Envelope




LUPE-009 at 2.

       23.     Moreover, the provisions impose identical consequences for non-compliance.

Knowingly providing assistance without completing the Oath (evidenced by the assistor’s

signature) or the relevant disclosure fields on mail-in ballots (1) is a state jail felony and (2) may

result in the rejection of the voter’s ballot. See TEC §§ 86.010 (d), (f)–(g).

Section 6.06 – Ban on Compensated Mail–Ballot Assistance

       24.     Section 6.06 of S.B. 1 makes it a state jail felony, for a person who is not an

attendant or caregiver previously known to the voter, to compensate or offer to compensate another

person—or to solicit, receive, or accept compensation—for assisting voters with their mail-in

ballots. TEC §§ 86.0105(a), (c).

       25.     For purposes of this section, “compensation” means “anything reasonably regarded

as an economic gain or advantage, including accepting or offering to accept employment for a fee,




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accepting or offering to accept a fee, entering into a fee contract, or accepting or agreeing to accept

money or anything of value.” Id.; see also TEX. PENAL CODE § 38.01(3).

         26.      The prohibition on compensation does not apply if the person assisting the voter is

an “attendant” or “caregiver” previously known to the voter. Tr. at 1906:23–1907:2. S.B. 1,

however, does not define “attendant” or “caregiver,” Tr. at 1907:3–6, nor has the Secretary

published any guidance or training on how to interpret either term. Tr. at 1907:7–12, 1908:17–24.

Further, the Secretary of State’s Office does not define the phrase “previously known to the voter,”

nor has it published any guidance or training on how the phrase should be interpreted. Tr. at

1909:3–13. At trial, former Director of the Elections Division in the Secretary of State’s Office

Keith Ingram testified that it does not matter how long the voter has actually known the attendant

or caregiver before providing voter assistance; it could be “15 years” or “15 minutes.” Tr. at

1909:14–22.

Section 7.04 – Canvassing Restriction

         27.      Section 7.04 of S.B. 1 creates three new, third-degree felonies under the Election

Code, each imposing up to ten years in prison and a fine of up to $10,000 on anyone who gives,

offers, or receives some “compensation or other benefit” for “vote harvesting services.” 12 TEC §

276.015(f); TEX. PENAL CODE § 12.34.



12
  While Section 7.04 of S.B. 1 sets out a ban on “vote harvesting,” see TEC § 276.015, Plaintiffs generally refer to the
provision as a “ban on in-person canvassing” or “voter interaction ban.” See, e.g., ECF No. 848 ¶ 97; ECF No. 849 ¶
296. In the Court’s view, all three characterizations are misleading in multiple respects. Regardless of how the term
is defined in the Election Code, the scope of Section 7.04’s proscriptions reach conduct well beyond any common
understanding of “vote harvesting.” On the other hand, the provision does not ban canvassers from interacting with
voters altogether—it prohibits compensated interactions in the presence of a mail ballot. To describe Section 7.04’s
proscription more accurately and impartially, the Court refers to the challenged provisions as the “Canvassing
Restriction” throughout this order.
Section 7.04 also added Election Code provisions addressing the solicitation of applications to vote by mail (TEC §
276.016), the distribution of early voting ballots and balloting materials (TEC § 276.017), and unauthorized alterations
to election procedures (TEC § 276.019). For the purposes of this order, however, “Section 7.04” refers only to the
Canvassing Restriction, codified at TEC § 276.015.



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       28.      “Vote harvesting services” include any “in-person interaction with one or more

voters, in the physical presence of an official ballot or a ballot voted by mail, intended to deliver

votes for a specific candidate or measure.” TEC § 276.015(a)(2).

       29.      A “benefit” is “anything reasonably regarded as a gain or advantage, including a

promise or offer of employment, a political favor, or an official act of discretion, whether to a

person or another party whose welfare is of interest to the person.” TEC § 276.015(a)(1).

       30.      Using these definitions, Section 7.04 creates three third-degree felonies:

             (b) A person commits an offense if the person, directly or through a third
             party, knowingly provides or offers to provide vote harvesting services in
             exchange for compensation or other benefit.

             (c) A person commits an offense if the person, directly or through a third
             party, knowingly provides or offers to provide compensation or other
             benefit to another person in exchange for vote harvesting services.

             (d) A person commits an offense if the person knowingly collects or
             possesses a mail ballot or official carrier envelope in connection with vote
             harvesting services.

TEC §§ 276.015(b)–(d).

       31.      There are a number of exceptions. The Canvassing Restriction “does not apply” to:

              (1)   an activity not performed in exchange for compensation or a benefit;

              (2)   interactions that do not occur in the presence of the ballot or during
                    the voting process;

              (3)   interactions that do not directly involve an official ballot or ballot
                    by mail;

              (4)   interactions that are not conducted in-person with a voter; or

              (5)   activity that is not designed to deliver votes for or against a specific
                    candidate or measure.

TEC § 276.015(e).




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THE PARTIES

The Plaintiffs

       32.       Plaintiffs are membership-driven, non-partisan civil rights and social advocacy

groups in Texas with members who require voting assistance due to a disability, blindness, or an

inability to read or write the language in which ballot is written. Their staff and volunteers have

regularly assisted voters with disabilities and/or voters with limited English proficiency (“LEP”),

including mail voters, cast their ballots.

       33.       Plaintiffs conduct in-person voter outreach and engagement activities, including

voting assistance and transportation to the polls. Despite the diversity of their respective missions

in the state—e.g., encouraging civic participation, empowering voters with disabilities, improving

infrastructure in the colonias—the Plaintiff organizations rely on in-person voter advocacy to

advance their causes. These voter engagement efforts include neighborhood door-knocking

campaigns, voter registration drives, candidate forums, town hall meetings, tabling at community

events, and exit-polling. During some outreach events, voters have taken out their mail ballots

while speaking with organizers to ask questions about their ballots or request voting assistance.

       34.       Plaintiffs’ volunteers often receive refreshments, t-shirts, pens, gas cards, and other

tokens of appreciation for their canvassing and assistance efforts.

       35.       Plaintiffs’ organizational representatives testified at trial that the Challenged

 Provisions have frustrated their voter engagement and turnout efforts by chilling their members’

 willingness to provide voter assistance due to fear of criminal liability. Moreover, some of

 Plaintiffs’ members with disabilities who typically vote with assistance decided to forgo

 assistance altogether to avoid subjecting their preferred assistors to criminal sanctions.




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        36.      Collectively, Plaintiffs seek declaratory and injunctive relief and ask the Court to

enjoin the Attorney General (“AG”), and Secretary of State (“Secretary” or “SOS”) of Texas, and

several local election officials and prosecutors from enforcing the Challenged Provisions.

        The HAUL-MFV Plaintiffs

        37.      Together, the HAUL-MFV Plaintiffs challenge the Transportation Disclosure (S.B.

1 § 6.01), the Amended Oath (§ 6.04), and the Assistor Disclosures (§§ 6.03. 6.05, 6.07), seeking

injunctive relief against the Secretary, the AG, and the local election officials and the DAs of Bexar

County and Harris County. See ECF No. 199 ¶ 323.

                 The Arc of Texas

        38.      The Arc of Texas (the “Arc”) is a non-profit organization founded in 1953 by

parents of children with intellectual and developmental disabilities (“IDD”) to advocate for their

children to have access to education, employment, community supports, and other areas of

community life. Tr. at 3492:18–25, 3493:1–5. The Arc has 7,000 individual members across the

state. 13 Tr. at 3495:20–25, 3496:4–24.

        39.      The Arc’s mission is to “promote, protect, and advocate for the human rights and

self–determination of Texans with intellectual and developmental disabilities.” Tr. at 3490:23–25,

3493:7–9. In pursuit of that mission, The Arc engages in legislative advocacy and grassroots

advocacy to help empower people with IDD advance public policy and. Tr. at 3493:10–21;

3494:5–10. Voting is “the backbone” of The Arc’s work because it is critical to members’ self-




13
  Although individual members previously paid membership dues, The Arc stopped charging fees after concluding
that they were a barrier for people with IDD being able to join the organization. Tr. at 3497:17–25, 3498:1–3 (noting
that people with IDD often “live in poverty and don’t have extra money to pay membership dues.”). Thus, members
can join The Arc of Texas in several other ways, including by subscribing to their Disability Dispatch email, making
a donation, serving on the board, or serving on a committee. Tr. at 3495:22–25, 3496:1–3, 3497:10–16.



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determination and voting rights advocacy has been a priority since The Arc’s founding. Tr. at

3499:23–3500:12, 3499:23–3500:12.

       40.     As discussed in greater detail herein, several members of the Arc with disabilities

have been unable to vote with their assistor of choice due to the burdens imposed by S.B. 1’s

Assistor Disclosure requirement and amended Oath of Assistance, including Jodi Lydia Nunez

Landry. Tr. at 3229:15.

               Delta Sigma Theta Sorority, Inc.

       41.     Plaintiff Delta Sigma Theta Sorority, Inc. (“DST” or the “Sorority”) is a national,

nonprofit, nonpartisan organization of Black, college-educated women, focused on serving the

Black community through social action. Tr. at 2081:1–20. DST has 75 Chapters in Texas,

including chapters in Bexar, Harris, and Travis Counties, and 21,450 members registered to vote

in Texas. Tr. at 2083:13–25.

       42.     The Sorority organizes its social action under what it calls its “Five Point

Programmatic Thrust”: educational development, economic development, international awareness

and involvement, physical and mental health, and political awareness and involvement. Tr. at

2081:7–13.

       43.     In support of this mission, DST has participated in voting rights efforts since its

founding in 1913. Tr. at 2082:23–2083:8. The organization’s civic engagement programs include

voter registration drives, voter education, candidate forums, and voter assistance and transportation

programs. Tr. at 2086:21–2087:15.

       44.     DST Chapters in Texas provide voter assistance to residents of nursing homes and

senior care facilities who need help filling out applications for ballots by mail (“ABBMs”), address

changes, and ballots by mail (“BBMs”) and voting in-person. Tr. at 2088:1–18, 2199:9–19.




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        45.     Before S.B. 1, DST members regularly provided transportation to the polls by

participating in Souls to the Polls, a caravanning initiative that partners with churches to drive

voters to their voting location. Tr. at 2088:8–15.

        46.     Members of DST include individuals that have disabilities and depend on assistance

to cast their vote. Tr. at 2110:3–11.

        The OCA Plaintiffs

        47.     Together, the OCA Plaintiffs challenge the Ban on Compensated Assistance (S.B.

1 § 6.06), seeking injunctive relief against the Secretary, the AG, the County Clerks of Harris and

Travis Counties, and the DAs of Harris and Bexar Counties. See ECF No. 200 ¶ 181. 14

                OCA-Greater Houston

        48.     Plaintiff OCA-Greater Houston (“OCA”) is a membership-driven organization

dedicated to advancing the social, political, and economic well-being of Americans of Asian and

Pacific Island descent (“AAPIs”), largely in Harris, Brazoria, and Fort Bend counties. Tr. at

1684:8–12, 1685:1–3, 1686:16–17, 1688:10–14.

        49.     The organization’s mission comprises four main goals: (1) advocate for social

justice, equal opportunity, and fair treatment; (2) promote civic participation, education, and

leadership; (3) advance coalition and community building; and (4) foster cultural heritage. Tr. at

1689:6–13.

        50.     To further this mission, OCA engages in numerous election-related activities

carried out by volunteers and paid staff, all of whom are OCA members. Tr. at 1687:22–1688:6,

1693:21–25. Before S.B. 1 was enacted, OCA regularly hosted election events, including in-person




14
  OCA-Greater Houston, REV UP Texas, and the League of Women Voters Texas voluntarily withdrew their Section
208 challenges to S.B. 1 § 6.04. See ECF No. 753 at 5 nn.4–5



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candidate forums (Tr. at 1694:21–1696:8), “AAPI meet-and-greets” with AAPI political

candidates (Tr. at 1699:24–1702:2), and voting machine demonstrations (Tr. at 1706:12–1707:3).

Attendees often brought their mail-in ballots to these events and received assistance, including

language assistance, from OCA volunteers and staff. Tr. at 1696:9–1697:8, 1697:22–1699:7,

1700:1–1702:2, 1706:12–1707:3.

       51.     OCA has also engaged in canvassing efforts through volunteers and staff, who

knocked on voters’ doors to provide information about voting. Tr. at 1702:3–17. As they were

door-knocking, some bilingual OCA canvassers assisted voters who requested language assistance

with their mail-in ballots. Tr. at 1703:17–20. OCA staff and volunteers have provided mail-ballot

assistance while conducting exit-polling at polling locations, where voters also requested (and

received) assistance with their mail-ballots from OCA. Tr. at 1706:4–11, 1723:6–13.

       52.     OCA’s voting-related activities are carried out by volunteers and paid staff. Tr. at

1687:22–1688:6, 1693:21–25. OCA provides its members and volunteers with benefits like food

and beverages at in-person events where they provide voting assistance to LEP voters. Tr. at

1694:4–20, 1697:22–25.

               The League of Women Voters of Texas

       53.     The League of Women Voters of Texas (“LWV” or the “League”) is a non-partisan

organization founded in San Antonio in 1919 with over 3,000 dues-paying members, including

members in Harris and Travis Counties. Tr. at 1580:1–4, 1585:18–22, 1586:7–19, 1587:19–21,

       54.     The League’s mission is to empower voters and defend democracy. Tr. at 1580:1–

4. The League actively works to register eligible citizens to vote, ensure that voters’ ballots count,

help voters obtain mail-in ballots, vote by mail, and obtain voter assistance when needed. Tr. at

1580:1–8, 1581:9–18, 1589:12–15, 1589:25–1590:3.




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       55.     The League has members who use assistants when they vote by mail, and members

who assist others with their vote by mail ballots. Tr. at 1578:3–8, 1589:12–1590:3. League

members assist mail-in voters who are family, friends, in nursing homes, in assisted living centers,

or in homes where voters with disabilities live. Tr. at 1590:16–25. Members of the League “offer[]

tea, or coffee, or water,” to assistors that help them and other voters vote by mail. Tr. at 1591:1–

1592:5, 1590:4–12.

       The LUPE Plaintiffs

       56.     Together, the LUPE Plaintiffs challenge the Oath of Assistance S.B. 1 (S.B. 1 §

6.04), Assistor Disclosures (§§ 6.03, 6.05, 6.07), the Ban on Compensated Assistance (§ 6.06), and

the Canvassing Restriction (§ 7.04) seeking injunctive relief against the Secretary, the AG, and the

election officials and prosecutors of Dallas and El Paso Counties and the Travis County District

Attorney. See ECF No. 208 ¶ 267.

               La Union Del Pueblo Entero

       57.     La Union Del Pueblo Entero (“LUPE”) is a non-partisan, membership organization

headquartered in San Juan, Texas, with members primarily in Hidalgo, Cameron, Willacy, and

Starr Counties, Texas. Tr. at 58:13–16.

       58.     LUPE organizes its approximately 8,000 members and other colonia residents on

issues that affect low-income neighborhoods, including drainage, lighting, paved roads, safety,

emergency services, trash pickup, among others. Tr. at 88:8–24. In addition to civic engagement

organizing, LUPE is a social services hub for the community and provides income tax services,

language translation services and family-based immigration legal services. Tr. at 61:3–17

       59.     In recent years, LUPE’s primary organizing focus has been civic engagement and

educating voters about their right to vote. Tr. at 60:10–61:2. LUPE relies on paid staff members,




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temporary paid canvassers, and volunteers to engage with voters in-person. Tr. at 88:1–7. LUPE

members speak to voters on issues promoted by LUPE, including urging voters to support certain

non-partisan ballot measures. Tr. at 88:1–24.

       60.     LUPE organizers advocate for ballot measures in a variety of settings, including

when meeting with community members in neighborhoods, at LUPE events, at union halls, and in

the LUPE offices. Tr. at 89:7–18. While canvassing neighborhoods in support of ballot measures,

LUPE organizers have been invited into voters’ homes and asked for assistance with voters’ mail-

in ballots. Tr. at 71:1–72:15, 75:11–75:17, 119:20–120:18. LUPE members also often bring mail

ballots to meetings at LUPE offices and union halls. Tr. at 90:4–24.

       61.     LUPE’s membership includes individuals who use assistance to vote by mail and

in-person, including elderly and/or disabled voters and voters with limited English proficiency

(“LEP”) or low-literate. Tr. at 63:19–64:6, 65:7–65:13, 75:18–77:4, 77:17–78:2, 84:4–84:25,

85:1–85:4, 87:3–87:21, 97:11–97:17, 119:20–120:18, 116:22–117:7, 3676:11–25. Some of these

members are not literate in English or Spanish. Tr. at 64:7–65:6.

       62.     Members of LUPE include voters who are disabled and vote with assistance in

person and by mail. Tr. at 63:19–64:6, 65:7–65:13, 96:15–97:17, 75:18–77:4, 77:17–78:2, 84:4–

84:25, 85:1–85:4, 119:20–120:18, 116:22–117:7, 87:3–87:21, 3676:11–25.

       63.     LUPE staff members and volunteers have been asked for assistance with voting by

mail and in-person at the polls elderly and disabled voter and have provided such assistance. See

Tr. at 145:16–20, 145:25–146:4, 150:9–13, 150:19–151:2, 157:14–158:9; LUPE-284, Maria

Gomez Dep. at 41:24–42:24, 11:15–12:10, 15:17–20, 29:9–12. 40:24–42:2. LUPE trains its

organizers to provide voter assistance consistent with the law, to limit assistance to what is

requested by the voter, and to carry out the wishes of the voter. Tr. at 78:3–78:15.




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        64.    LUPE often provides its volunteers with t-shirts or gas cards, particularly because

there is little public transportation in the Rio Grande Valley. Tr. at 122:3–19.

               Mexican American Bar Association of Texas

        65.    The Mexican American Bar Association of Texas (“MABA”) is a volunteer-based

professional membership association of Latino lawyers across Texas with approximately 500

members. Tr. at 2533:20–23, 2535:9–10.

        66.    Although MABA is non-partisan, it routinely encourages voters to support a

candidate or measure. Tr. at 2535:19, 2542:6–8.

        67.    MABA encourages its attorneys to provide pro bono services and support voter

engagement in their local communities. Tr. at 2533:24–2534:4, 2535:11–2536:5. MABA engages

in voter outreach and education by tabling at local community events, such as candidate forums.

Tr. at 2535:21–2536:5. MABA members also provide voter assistance. See, e.g., Tr. at 2539:3–4.

Members are concerned that they are committing a crime if they accept meals, gas cards, swag or

other forms of compensation while performing these activities. Tr. at 2542:6–20.

               Familias Inmigrantes Estudiantes Luchar

        68.    Familias Inmigrantes Estudiantes Luchar (“FIEL”), translated to English means

“Immigrant Families and Students in the Fight.” Tr. at 2430:12–19. FIEL is an immigrant-led civil

rights organization with approximately 16,000 members in the Greater Houston area. Tr. at

2431:21–25. FIEL employs eight paid staffers. Tr. at 2433:18–22. FIEL’s mission is to organize

and empower people, and to make sure that people know their rights and that they exercise their

rights in the community. Tr. at 2434:21–2435:1. FIEL focuses on work related to access to higher

education, community organizing, and civic engagement, including voter outreach. Tr. at 2435:2–

14.




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       69.     Before S.B. 1 was enacted, FIEL furthered its mission of voter outreach and civic

engagement by assisting its members in voting at the polls. Tr. at 2438:9–11, 2444:24–2445:3.

FIEL typically partnered with another organization to take people to vote and provide translation

and other assistance at the polls. Tr. at 2438:12–16.

       The LULAC Plaintiffs

       70.     The LULAC Plaintiffs challenge the Canvassing Restriction (S.B. 1 § 7.04),

seeking relief against the AG, the Secretary, election officials and district attorneys in Bexar,

Travis, Hidalgo, Dallas and El Paso Counties. ECF No. 207.

               League of United Latin American Citizens

       71.     The League of United Latin American Citizens (“LULAC”) is a national Latino

civil rights organization founded in 1929 in Corpus Christi, Texas. Tr. at 1632:9–11. The group has

about 4,000 to 5,000 dues-paying members within Texas, as well roughly 80,000 to 90,000

“eMembers” in the state. There are 30 to 40 LULAC councils in Texas, including in Dallas, San

Antonio, Houston, and El Paso. Tr. at 1634:6–20, 1637:3–7.

       72.     LULAC’s mission is “to improve the lives of Latino families throughout the United

States” and “to protect their civil rights in all aspects.” Tr. at 1633:10–18. Promoting the right to

vote is “crucial” to LULAC’s mission because when Latinos are “allowed to vote, they are able to

choose candidates of their choice” who “will stand and work on issues that are important to them.”

Tr. at 1645:4–15.

       73.     LULAC has volunteers that engage in voter registration and GOTV efforts every

year. Tr. at 1645:23–1646:5. These efforts often focus on community members who face greater

challenges when voting, including elderly Latinos and those who do not speak or write English.




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Tr. at 1649:7–24. Accordingly, LULAC has historically run a voter assistance program for seniors,

including many who are not literate or have physical disabilities. Tr. at 1654:20–1655:5.

         74.      LULAC’s members and volunteers who participate in these GOTV and voter

assistance efforts often receive food and drink, gas credit, or other tokens of appreciation for their

efforts. Tr. at 1655:19–1656:10, 1656:11–18.

Defendants 15

         75.      Collectively, Plaintiffs have sued the State of Texas, the Attorney General and

Secretary of State of the State of Texas, and the chief election officials and district attorneys of

several counties in Texas, including Harris County, Bexar County, Travis County, Dallas County,

Hidalgo County, and El Paso County, all in their official capacities.

         The State Defendants

                  The State of Texas

         76.      The State of Texas became the 28th state in the union in 1845.

                  Texas Attorney General

         77.      Defendant Ken Paxton is the Attorney General of the State of Texas. His office, the

Office of the Attorney General of Texas (“OAG”), is an executive department or agency of the

State of Texas. ECF No. 753 ¶ 40.

         78.      The AG has statutory duties for certain aspects of S.B. 1’s enforcement scheme,

including Sections 6.04, 6.05, 6.06 & 7.04. Stephens did not alter the authority of the AG to

investigate allegations of election-related crimes, and, in some cases, the OAG considers its

investigative duties to be “statutorily required” or “mandatory” for election-related allegations. Tr.




15
  Over the course of these proceedings, several Defendants sued in their official capacities were substituted by their
successors in office pursuant to Federal Rule of Civil Procedure 25(d).



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at 4041:18–4042:25; see, e.g., TEC § 273.001 (providing that the AG “shall investigate”

allegations of election crimes in elections covering more than one county). The AG may also

“direct the county or district attorney . . . to conduct or assist the attorney general in conducting

the investigation.” See TEC § 273.002(1) (emphasis added); see also id. § 273.001 (district

attorneys must investigate alleged violations referred to them).

         79.      The AG has demonstrated a willingness to enforce, and has actually enforced, the

Election Code, including S.B. 1. Tr. at 3909:8–17, 3913:9–3914:16. He publicly maintains that

one of his key priorities is to investigate and prosecute allegations of voter fraud. See, e.g., OCA-

384, OCA-385, OCA-386.

         80.      The OAG continues to operate the Criminal Prosecutions Division unit that

prosecutes election-related allegations, known as the Election Integrity Division. Tr. at 3903:23–

3905:4, 3905:11–15, 4039:14–19. As of March 17, 2023, the OAG had identified investigations

of a possible violations of the Assistor Disclosure requirement for mail ballots (S.B. 1 § 6.03) and

the Canvassing Restriction (S.B. 1 § 7.04). 16 See LULAC-86 at 6.

         81.      Before Stephens, the OAG regularly prosecuted election crimes, including alleged

unlawful-assistance and vote-harvesting schemes, in counties across Texas. See OCA-377

(showing 401 counts—not cases—of election crimes prosecuted by the OAG, alone or in

conjunction with local prosecutors, between 2005 and 2022).

         82.      Even after Stephens, Jonathan White, former Chief of the OAG Election Integrity

Division, testified that the “vote harvesting” schemes (purportedly targeted by the Canvassing


16
   There may very well be additional investigations that the DA failed to produce during discovery. Throughout this
litigation, the OAG has, invoking the investigative privilege, withheld documents discussing “actual or alleged illegal
voting, election fraud, or other criminal conduct in connection with” voting and voter assistance. See ECF No. 992-3;
ECF No. 992-16; In Re U.S. Dep’t of Homeland Sec., 459 F.3d 565, 568–69, n.2 (5th Cir. 2006) (the investigative
privilege, also known as the “law enforcement privilege,” protects government documents relating to an ongoing
criminal investigation from release).



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Restriction) and “assistance fraud” (purportedly targeted by the all the challenged provisions)

remain among the three most common elections-related allegations that the OAG pursues. Tr. at

3915:3–8. For the November 2022 elections, the OAG established a 2022 General Election

Integrity Team and publicly stated it was “prepared to take action against unlawful conduct where

appropriate,” highlighting offenses related to voter assistance and “vote harvesting.” OCA-383.

        83.      Although the AG may no longer unilaterally prosecute allegations of election-

related crimes, Stephens, 663 S.W.3d at 51–55, the OAG enforces criminal election offenses

through other mechanisms. After OAG investigations conclude, the OAG refers cases to local

prosecuting attorneys 17 and often seeks opportunities to partner with DAs to prosecute such

allegations through deputization by a DA or appointment pro tem by a district judge or the DA.

Tr. at 3908:21–3909:17, 3909:1–12; 4043:21–4045:21; 4051:2–10.

        84.      The OAG has specifically identified previous prosecutions in which it participated,

including prosecutions for unlawful voting assistance and “vote harvesting” and prosecutions

conducted by or with the assistance of local DAs in the following counties: Nolan County,

Limestone County, Hidalgo County, Harris County, Navarro County, Brewster County, Gregg

County, and Starr County. See OCA-377.

        85.      Finally, the AG is tasked to enforce S.B. 1 against election officials who are subject

to civil prosecution for Election Code violations. S.B. 1 § 8.01 (TEC §§ 31.128, .129, .130); see

Tr. at 772:2–6. He is authorized under S.B. 1 § 8.01 (TEC § 31.129(b)) to assess civil penalties




17
  For example, after the prosecution of Hervis Rogers was dismissed in Montgomery County, the OAG referred the
case to the Harris County DA, who brought charges against Mr. Rogers before a grand jury. Tr. at 4058:17–4059:24,
4062:7–12. The same procedure was used in the prosecution of Ignacio González Beltrán, whose case was dismissed
in Montgomery County and referred by the OAG to Harris County, where it was presented to a grand jury. Tr. at
4063:3–4064:6.



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against local officials who violate the law by failing to enforce certain provisions of S.B. 1,

including provisions that Plaintiffs challenge.

               Texas Secretary of State

       86.     Plaintiffs seek to enjoin Defendant Jane Nelson, the Secretary of State (the

“Secretary”) of the State of Texas, from enforcing the Challenged Provisions.

       87.     The Secretary is the Chief Election Officer of Texas. TEC § 31.001(a). In that

capacity, the Secretary is charged with “broad duties to oversee administration of Texas’s election

laws.” Ostrewich v. Tatum, 72 F.4th 94, 100 (5th Cir. 2023) (quoting Richardson v. Flores, 28

F.4th 649, 654 (5th Cir. 2022)).

       88.     It is the Secretary’s duty to obtain and maintain uniformity in the interpretation,

application, and operation of the election code and election laws outside the election code. TEC §

31.003; Tr. at 1827:6–12.

       89.     These responsibilities include “prescribing official forms” for elections. Tr. at

1834:2–12; TEC §§ 31.001(a)–(b), 31.003. The Secretary, for example, is responsible for the

design and content of the Assistor Disclosure form and BBM carrier envelopes. See Tr. at 1843:4–

7; TEC §§ 64.0322(b), 86.013(d); LUPE-009; LUPE-189.

       90.     The Secretary routinely issues guidance, directives, orders, instructions, and

handbooks to county registrars of all 254 Texas counties, as well as to district attorneys, political

candidates, and voters, on various election procedures, including changes implemented in S.B. 1.

Tr. at 119:24–120:6, 125:4–21, 128:14–20, 129:3–14, 143:15–18, 159:9–160:11, 1831:7–14,

1875:5–10, 1875:18–25.




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        91.     The Secretary also collaborates with the OAG to enforce election laws in

accordance with her mandatory duties under the Election Code. Tr. at 3913:9–19, 4054:16–4055:8.

        92.     Under the Election Code, the Secretary must evaluate information she “receiv[es]

or discover[s]” about potential election crimes and, if she “determines that there is probable cause

to suspect that criminal conduct occurred, the [S]ecretary shall promptly refer the information to

the attorney general” and provide all pertinent documents and information in his possession to the

AG. TEC § 31.006 (emphasis added).

        93.     In this capacity, the Secretary serves as “a gathering point for election complaints

from individuals and election officials.” Tr. at 3913:12–19. The Secretary logs each complaint

received. Tr. at 4326:23–4327:2. Sometimes, the Secretary will also ask the complainant for

additional information. Tr. at 1876:24–1879:21. Ultimately, the Secretary must determine whether

the information in her possession satisfies the probable cause standard. Tr. at 1881:1–9. “If it’s a

close call, [the Secretary of State’s Office] refer[s] it anyways, because it’s better to err on the side

of making sure that crimes are prosecuted.” Tr. at 1877:14–21.

        94.     The Secretary has received allegations related to mail ballot “vote harvesting,”

which she has referred to the OAG both before and after the passage of S.B. 1. Tr. at 1914:1–6.

        County Defendants

        95.     Plaintiffs have named various local election officials and prosecutors as Defendants

in their official capacities for their roles in implementing and enforcing the Challenged Provisions.

                County Election Officials

        96.     Plaintiffs have sued local election administrators in several counties in Texas (the

“EAs” or “County Clerks,” as applicable) in their official capacity to enjoin them from enforcing

the Challenged Provisions.




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        97.      The HAUL Plaintiffs seek injunctive relief against the Bexar County EA and the

Harris County Clerk. 18 See ECF No. 199. The OCA Plaintiffs seek injunctive relief against the

County Clerks of Harris County and Travis County. See ECF No. 200. The LUPE Plaintiffs seek

injunctive relief against the EAs of Dallas County and El Paso County. See ECF No. 208. The

LULAC Plaintiffs seek injunctive relief against the Bexar County EA, the Harris County Clerk,

the Travis County Clerk, the Hidalgo County EA, and the Dallas County EA. See ECF No. 207.

        98.      Local election officials administer Texas elections. They are responsible for

administering the Oath of Assistance at polling places, TEC § 64.034, and for collecting and

reviewing required disclosures at the polls and on the carrier envelopes of mail-in ballots, id. §

64.034. They also receive and review mail carrier and ballot envelopes to voters, id. § 86.002,

receive and process marked ballots, id. §§ 86.006, 86.007(b), 86.011, verify voter signatures, id. §

87.027(i), and count the results, id. § 87.061.

                 County District Attorneys

        99.      Plaintiffs seek to enjoin the District Attorneys of several counties in Texas (the

“DAs” or “County DAs”) from enforcing S.B. 1 §§ 6.04–6.06 and 7.04.

        100.     The HAUL Plaintiffs seek injunctive relief against the DAs of Bexar County, Harris

County, and Travis County. See ECF No. 199. The OCA Plaintiffs seek injunctive relief against

the Harris County DA and the Travis County DA. See ECF No. 200. The LUPE Plaintiffs seek

injunctive relief against the DAs of Travis County, Dallas County and the 34th Judicial District,

which includes El Paso, Culberson, and Hudspeth Counties. See ECF No. 208. The LULAC

Plaintiffs name the DAs of Travis, Dallas, and Hidalgo Counties as Defendants. See ECF No. 207.




18
  The Harris County EA’s office was abolished on September 1, 2023, pursuant to 88th Leg. R.S. Senate Bill 1750
(amending TEC § 31.050). ECF No. 753 ¶ 44 & n.12.



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        101.       County district attorneys are tasked with enforcement of the State’s criminal laws

and represent the State of Texas in all criminal cases in their district, unless conflicts arise. Tex.

Const. art. 5, § 21; TEX. CODE CRIM. P. ART. 2.01; see TEX. GOV’T CODE § 43.180(b). Thus, by

virtue of their positions, DAs are charged with investigating and prosecuting violations of the

Election Code, including those among the Challenged Provisions. See Stephens, 663 S.W.3d at 55.

Indeed, all prosecutions under the Election Code require the consent or authorization of the

applicable DA. See id. (concluding that the Attorney General “can prosecute [crimes under the

Election Code] with the permission of the local prosecutor but cannot initiate prosecution

unilaterally.”).

        102.       The DAs for Travis, Dallas, and Hidalgo Counties each executed stipulations

stating that he or she had not (1) adopted a policy refusing to prosecute crimes under S.B. 1, (2)

instructed law enforcement to refuse to arrest individuals suspected of criminal conduct under S.B.

1, or (3) permitted an assistant DA to take either of the foregoing actions. See ECF No. 753-6

(Travis) ¶¶ 3–6; ECF No. 753-7 (Dallas) ¶¶ 3–4; ECF No. 753-13 (Hidalgo) ¶¶ 3–6.

        103.       The Bexar County DA likewise signed a stipulation stating that his office has not

disavowed any intent to investigate or prosecute crimes under S.B. 1. ECF No. 753-5 ¶¶ 2–6.

        104.       The DA of the 34th Judicial District agreed not to enforce the provisions challenged

by the LUPE Plaintiffs during the pendency of this action but stipulated that he has the authority

to enforce crimes under the Election Code, would be free to do so at any time, and intends to fulfill

his duty to enforce election crimes, subject to his prosecutorial discretion. ECF No. 753-8 ¶¶ 5–7.

        105.       The Harris County DA’s Office (“HCDAO”) has previously prosecuted alleged

violations under the Election Code and/or related to elections, including under provisions that were




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amended by S.B. 1. 19 The Harris County DA has jointly prosecuted at least two election–related

cases alongside the OAG in the past. 20

         106.     A newly enacted law House Bill 17 (“H.B. 17”) curbs DAs’ authority to adopt a

policy against enforcing crimes under the Election Code. H.B. 17, which went into effect on

September 1, 2023, provides that DAs may be removed from office if they adopt any policy that

“prohibits or materially limits the enforcement of any criminal offense.” H.B. 17 § 1 (adding TEX.

LOC. GOV’T CODE § 813(B)).

IMPACT OF THE CHALLENGED PROVISIONS

         107.     At trial, the Court heard testimony (live and by deposition designation) from

numerous voters who qualify for voting assistance, individuals who have served as assistants in

the past, and election officials describing the impact that the Challenged Provisions have impaired

voters’ ability to vote with their chosen assistors of their choice.

Transportation Disclosure (§ 6.01)

         108.     Before S.B. 1, DST members regularly provided transportation to the polls by

participating in Souls to the Polls, a caravanning initiative that partners with churches to drive

voters to their voting location. Tr. at 2088:8–15.

         109.     DST members who provide transportation assistance members are concerned about

who may gain access to the personal information disclosed on the forms required under Section



19
   For example, in 2022, after the prosecution of Hervis Rogers was dismissed in Montgomery County, OAG referred
the case to HCDAO, who presented charges against Rogers to a grand jury. Tr. at 4058:17–4059:24, 4062:7–12. In
addition, HCDAO presented another charge to a grand jury regarding an alleged Election Code violation by Mr.
González Beltrán after the case was similarly dismissed in Montgomery County. Tr. at 4063:3–4064:6.
20
  OCA-377 at 17 (noting certain cases that were “[p]rosecuted by or with assistance of local district/county attorney,”
including Harris County); id. at 14 (identifying joint prosecution of Anthony Rodriguez with Harris County in 2019);
OCA-225 at 4 (Harris DA interrogatories identifying prosecution of Anthony Rodriguez under a provision amended
or enacted by S.B. 1); OCA-377 at 6 (identifying joint prosecution of Avery Ayers with Harris County in 2015). The
Harris DA further acknowledged prosecuting two other election–related violations in 2020 under provisions enacted
or amended by S.B. 1. OCA-225 at 4 (identifying prosecutions of Richard Bonton and Natasha Demming).



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6.01 and potential harassment by poll watchers, who are permitted to observe drivers subject to

Section 6.01 as they complete the Transportation Disclosure form during curbside voting. Tr. at

2108:7–2109:3 (“Our members or even community members who provide transportation are afraid

to fill out those forms. They don’t know what’s going to happen to the information that they put

on those forms.”).

        110.    It is unclear whether drivers who refuse to complete the disclosure form will face

any consequences. Unlike the provisions of S.B. 1 requiring individuals providing voting

assistance to make similar disclosures on mail ballot carrier envelopes (TEC § 86.010(g).) and take

the Oath of Assistance (TEC § 64.034), Section 6.01 does not, to the Court’s knowledge, state that

non-compliance is punishable as a state jail felony or will result in the rejection of a voter’s ballot.

Section 6.01 merely explains that SOS must maintain records of the drivers’ disclosures and

produce them to the AG upon request. TEC § 64.009(g). Instead, enforcement of Section 6.01

appears to be left to election officers, who would, presumably not permit the curbside voters to

cast their ballots until the driver had completed the disclosure form.

       111.    The Austin Alumnae Chapter of DST stopped providing transportation assistance

to elderly, disabled individuals because of Section 6.01’s transportation assistance disclosure

requirement and the attendant criminal penalties assistors maybe subjected to under S.B. 1. Tr. at

2147:12–2148:3. The Austin Alumnae and Bay Area-Houston Chapters have been unable “to

recruit members who are brave enough to assist with senior voters [with transportation to the polls]

because of the fear[] of criminal penalties.” Tr. at 2198:2–6. Members of the Fort Worth Chapter

of DST had routinely provided transportation assistance to elderly voters at the Friendship Senior

Center in Fort Worth, Texas. However, none of the members were willing to assist because of the

burdens on assistance placed on Section 6.01 Tr. at 2197:3–17, 2198:20–24.




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Assistor Disclosures (§§ 6.03, 6.05, 6.07) and Oath of Assistance (§ 6.04)

       112.    The Assistor Disclosures and Oath requirements deter voters from requesting, and

assistors from providing, assistance in the voting process. As a result, some voters who need

assistance have forgone assistance altogether and struggled to complete their ballots. Those who

engaged with election officials sacrificed their privacy while voting but still did not receive the

assistance they needed.

       113.    The Court heard trial and deposition testimony from several Texas voters who, due

to their physical disabilities, require assistance in nearly every facet of their daily lives, including

Jodi Nunez Landry, Laura Halvorson, Amy Litzinger, and Nancy Crowther. All four witnesses are

members of the Arc.

       114.    Although Ms. Nunez Landry, Ms. Halvorson, Ms. Litzinger, and Ms. Crowther are

eligible for assistance under Texas and federal law, none of them received voting assistance from

their assistors of choice in the 2022 primary or general election because of the burdens—including

the threat of criminal liability—that S.B. 1’s disclosure and oath requirements impose on assistors.

       115.    These voters were not worried that their chosen assistors would influence their vote.

Ms. Halvorson testified that she has never felt that one of her attendants was trying to influence

her choices or would manipulate the way her ballot was marked. Tr. at 3318:3–11. Similarly, Ms.

Litzinger explained that her personal care attendant is not able to manipulate how she votes

because she is always present when they are assisting her with marking the ballot and ensures that

she can see her ballot and verify what the attendant marks. See, e.g., Tr. at 3296:20–3297:8.

       116.    Instead, voters’ primary concern was exposing their caregiver to criminal liability

under S.B. 1 and losing the critical assistance they provide outside the voting process. Ms. Nunez

Landry testified that her “worst fear is ending up in a nursing facility due to her inability to find




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care attendants.” Tr. at 3234:7–23 (has had difficulty finding personal care attendants due to

shortage of home health care workers, who generally receive low wages without benefits and can

earn more money working less physically demanding jobs); see also Tr. at 3331:2–18 (Halvorson)

(finding replacement caregivers is “hard enough” without criminal penalties being added to the

mix of what they are being asked to do).

       117.    Voters with disabilities also fear being disenfranchised due to the mistaken

perception by election workers and poll watchers that voters receiving assistance are being

improperly coerced or influenced. As Ms. Halvorson explained, “especially if they don’t have an

understanding of disability,” people may believe that “we’re not able to make decisions for

ourselves or we don’t have the intellectual capacity to do so. . . . I [worry] that other people would

perceive that my caregivers were influencing my vote, if they just see from across the room

someone pressing buttons for me.” Tr. at 3324:15– 3325:5, 3331:2–18.

       Voters have been deterred from requesting assistance.

               Jodi Nunez Landry

       118.    Jodi Nunez Landry is a registered voter of Harris County, Texas and votes with

assistance. Tr. at 3236:11–17; Tr. at 3234:1–6. Ms. Nunez Landry has a rare, untreatable, and

progressive form of muscular dystrophy. Tr. at 3233:7–14. She uses a power wheelchair to

navigate and requires assistance with most activities of daily living, including bathing, dressing,

cooking, and cleaning. Tr. at 3233:2–14, 3235:10–3236:2

       119.    Ms. Nunez Landry prefers to vote in person. Tr. at 3236:24–3237:14. She prefers

to have her partner assist her with voting because she “can trust him and there’s a certain amount

of privacy there[.]” Tr. at 3243:5–25. Because her partner already understands the contours of her




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disability, she does not need to give him a lengthy explanation of the assistance she needs. Tr. at

3234:2–6, 3236:24–3237:14.

       120.    Ms. Nunez Landry has not asked her partner for voting assistance since S.B. 1 was

enacted because she did not “want to put him in jeopardy” or draw attention to herself or have

people assume that she was “being coerced” in light of S.B. 1’ voter assistance provisions. Tr. at

3246:23–3247:6. She explained:

           I would have liked to have had my partner assist me but I knew under SB 1
           that we were going to have to go through all sorts of difficulties to do that,
           and . . . I didn’t want to put him through that. I’m really afraid of losing
           assistance and not having anyone, and also I don’t want to draw more
           attention to myself.

Tr. at 3256:15–3257:4; see also id. at 3260:2–18 (stating that she was “too afraid to ask his

assistance,” noting that S.B. 1 has a “chilling effect” on voters who need assistance “makes it very

burdensome and frightening for many of us to risk losing attendants or risk putting them in some

type of legal jeopardy”).

       121.    In the November 2022 election, Ms. Nunez Landry could not access the remote that

would allow her to vote independently at her voting station and, once she had it, found that it was

not functioning properly. Tr. at 3244:25–3245:14. When the poll worker she asked for help did

not understand the problem, he brought other unknown individuals to Ms. Nunez Landry’s booth.

Tr. at 3245:18–3246:10. Although they failed to help her, all three strangers watched as Ms. Nunez

Landry made her selections.

       122.    Discussing the loss of her privacy, Ms. Nunez Landry testified that it “made me

really nervous” and “they all voted with me, much to my chagrin and frustration.” Tr. at 3246:7–

8. Had she been able to receive assistance from her partner, “he could have touched the screen and




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it would have all been rather effortless.” Tr. at 3246:16–17. When she finally finished voting, she

“was very, very angry.” Tr. at 3246:21–22.

                Laura Halvorson

        123.    Laura Halvorson is a registered voter in Bexar County. Tr. at 3315:25. Ms.

Halvorson has chronic muscular respiratory failure and muscular dystrophy, a progressive

condition that has worsened since her diagnosis. Tr. at 3311:14–22. Presently, Ms. Halvorson

relies on a breathing machine and a power wheelchair. Tr. at 3312:2–3.

        124.    Ms. Halvorson requires “total care” for everyday life, including assistance with

transferring, bathing, dressing, eating, and meal preparation. Tr. at 3312:9–12. To accomplish

these daily tasks, Ms. Halvorson employs several personal care attendants. Tr. at 3312:15–17.

        125.    In the March 2022 primary, Ms. Halvorson opted to vote by mail. Tr. at 3318:23–

24. Her assistant, however, did not feel comfortable taking the Oath of Assistance and declined to

assist Ms. Halvorson. Tr. at 3319:7–16. As a green card holder, her personal care attendant was

not comfortable taking an oath under penalty of perjury that could risk her green card status. This

was the first time a personal care attendant ever declined to assist Ms. Halvorson in voting. Tr. at

3319:14–16. Without her assistant, Ms. Halvorson struggled to complete the mail in ballot. Tr. at

3319:17–20. Her muscle weakness inhibited her ability to write legibly, Tr. at 3320:4–18, forcing

her to fill out her ballot in ten- or fifteen- minute intervals over the course of two full days. Tr. at

3320:19–22.

        126.    In the November 2022 general election, Ms. Halvorson voted in‑person. Tr. at

3322:5–10. She again voted without assistance to avoid exposing her assistants to potential

liability. Tr. at 3322:11–18, 3323:10–24. Ms. Halvorson believes S.B. 1’s Oath is intimidating,

ambiguous, and that her caregivers may be accused of influencing her vote by simply helping her




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cast it. Tr. at 3324:11–3325:5. When Ms. Halvorson arrived to vote, her remote control had a glitch

that essentially inverted the controls. Tr. at 14–17. She struggled to highlight voting machine

choices, and when was able to do so, could not deduce what the candidate’s party affiliation was.

Tr. at 3327:13–23. Ms. Halvorson testified that, when she sought help from poll workers, they

snidely told her to push the buttons. Tr. at 3328:6–11. After nearly 45 minutes at the poll booth,

Ms. Halvorson weakly delivered it into the counting machine. Tr. at 3329:1–8; 3330:1–3.

               Amy Litzinger

       127.    Amy Litzinger is a registered voter in Travis County. Tr. at 3281:14–17. Ms.

Litzinger has spastic quadriplegic cerebral palsy, which impairs her stability and ambulation and

limits her muscle strength. Tr. at 3275:19–24. Additionally, Ms. Litzinger has dysautonomia,

which affects involuntary functions, such as her digestion, breathing, and heart rate and

temperature regulation. Tr. at 3276:2–6.

       128.    Due to these conditions, Ms. Litzinger uses a power wheelchair and other mobility

devices. Tr. at 3276:8–10. Because her muscle strength fluctuates, Ms. Litzinger cannot always

operate these devices, Tr. at 3276:18–22, and often requires the assistance with her daily activities.

Tr. at 3279:11–15. Ms. Litzinger requires assistance to get in and out of bed, to the shower, and to

use the restroom. Tr. at 3279:16–25. She cannot lift or raise anything heavier than two pounds—

which inhibits her ability to write and open doors. Tr. at 3277:16–3278:6. Ms. Litzinger owns a

mobility van, which her assistors use to drive her around the city. Tr. at 3277:10–14. They must

also secure Ms. Litzinger into her power wheelchair using a “chest clip” and “strap” and secure

her power wheelchair in the van. Tr. at 3277:4–9.

       129.    Although she is eligible to vote by mail, Ms. Litzinger prefers to vote in person

because she anticipates that her disability will produce conflicting handwriting samples on a mail




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ballot—her own handwriting fluctuates with her strength, and she sometimes relies on assistors to

complete her ballot. Tr. at 3282:14–21.

       130.    Ms. Litzinger prefers to have her personal care attendant assist with voting. Since

she has limited dexterity, the poll worker would have to interact with intimate parts of her body,

which could be unsafe or uncomfortable for both individuals. Tr. at 3286:11–3287:4. She also

relies on her personal care attendant to get to the polling site. Her attendant drives her van, loads

and unloads Ms. Litzinger from the van, ensures there are no barriers to enter the voting space,

requests curbside voting, handles her ID, and places the completed ballot in the machine. Tr. at

3284:13–3285:23. Ms. Litzinger also relies on an attendant when voting by mail, as she did in

2020. Ms. Litzinger needs someone to open the envelope, fill it out, and tape it down so she can

sign it. Tr. at 3287:20–3288:5.

       131.    All of Ms. Litzinger’s attendants have expressed to her that they are uncomfortable

taking the Oath of Assistance, and accordingly, none of them have provided voting assistance since

S.B. 1 was enacted. Tr. at 3293:17–21.

       132.    During the May 2022 primary, when Ms. Litzinger approached the ballot machine

to vote in person, she realized her chest clip was still fastened. Tr. at 3289:23–3290:2. She was

uncertain if the assistant could release the clip or if that would be considered impermissible voting

assistance. Tr. at 3290:2–5. Thus, Ms. Litzinger voted with the chest clip fastened and remembered

it was “quite painful.” Tr. at 3290:13–17. Due to the discomfort, she struggled to complete the

five-page ballot. Tr. at 3290:15–17.

       133.    In the November 2022 general election, Ms. Litzinger spoke at length with her

attendant about the Oath. Ultimately, to avoid exposing the attendant to criminal liability under

the Oath, especially concerning Ms. Litzinger’s “eligibility” for assistance, they decided that the




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attendant would provide Ms. Litzinger with transportation assistance but would not help her inside

the polling place. Tr. at 3291:4–3292:5. Thus, Ms. Litzinger held her own notes and was ultimately

unable to review them while she voted because she dropped them and could not pick them up. Tr.

at 3292:6–9. Despite Ms. Litzinger’s decision to vote without assistance, poll workers attempted

to have the attendant sign the Oath simply because she was in the room with Ms. Litzinger. Tr. at

3292:9–17. During the entire time Ms. Litzinger was voting, three people debated whether she

needed assistance and ultimately watched her vote. Tr. at 3293:1–13. She described the process as

nerve-wracking and noted that “for something that was designed to keep my ballot private, I didn’t

think . . . it was very private because everyone [was] watching me vote and debating whether [I

was] self-sufficient or not.” Tr. at 3292:21–3293:4–7.

               Nancy Crowther

       134.    Nancy Crowther, a registered voter in Travis County, is a member of The Arc.

HAUL-413, Crowther Dep. at 16:22–25, 17:4–5, 30:5–12. Ms. Crowther has a progressive

neuromuscular disease and requires a personal care attendant to complete major life activities. She

cannot sit up by herself, so her attendant helps her get dressed, use the bathroom, transfer in and

out of her wheelchair, and use her CPAP machine for her sleep apnea. Ms. Crowther also uses her

attendant to complete household tasks and personal hygiene. Her attendant is with her for most of

her daily activities. Id. at 23:25–24:8, 18:3–9, 30:5–12.

       135.    Ms. Crowther did not take her attendant with her to vote in May 2022 because of

her fears that the Oath could jeopardize her relationship with her attendant: “I would be mortified

. . . if they were to get in trouble just for helping me.” Id. at 52:11–53:4, 54:7–14. Ms. Crowther

explained that, even though she will need more and more help over time as her disability




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progresses, she does not want to expose her attendants to “danger” that “they aren’t paid for” by

asking for their assistance under the conditions imposed by S.B. 1.

           The Oath of Assistance (§ 6.04) deters voting assistance.

           136.     The Oath of Assistance under Section 6.04 of S.B. 1, as enjoined by Judge Pitman,

provides:

                I swear (or affirm) under penalty of perjury that the voter I am assisting
                represented to me they are eligible to receive assistance; I will not
                suggest, by word, sign, or gesture, how the voter should vote; I did not
                pressure or coerce the voter into choosing me to provide assistance;
                [and] I am not the voter’s employer, an agent of the voter’s employer, or an
                officer or agent of a labor union to which the voter belongs; I will not
                communicate information about how the voter has voted to another
                person; and I understand that if assistance is provided to a voter who
                is not eligible for assistance, the voter’s ballot may not be counted.

TEC § 64.034.

           137.     Aside from the amended language that has not already been enjoined, Plaintiffs

challenge the chilling effect on voting assistance created by the Oath’s “penalty of perjury”

language, the requirement that the voter represent his or her eligibility for assistance and assistor

statements concerning eligibility and “pressure or coerc[ion].”

           The “penalty of perjury” language deters assistance.

           138.     At trial, voters, 21 assistors, 22 and election officials 23 alike characterized the “penalty

of perjury” language in the amended Oath as “intimidating,” “scary,” and “threatening.” Several

witnesses who assisted voters in elections prior to S.B. 1’s enactment testified that they are no

longer willing to serve as assistors due to the threat of criminal sanctions under the Oath. 24


21
     See, e.g., Tr. at 3324:10–14 (Halvorson).
22
   See, e.g., Tr. at 147:10–148:8 (Rocha); Tr. at 3208:9–17; Tr. at 3217:12–3218:1 (Miller); Tr. at 2439:24–2440:10
(Espinosa); Tr. at 2540:21–23 (Ortega).
23
     See, e.g., Tr. at 175:6–176:8 (Wise); Tr. at 1312:25–1314:9 (Longoria)
24
     See, e.g., Tr. at 2443:20–2444:14 (Espinosa); Tr. at 2539:12–19 (Ortega).



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       139.    Witnesses also pointed out that the “penalty of perjury” language can interact with

other language in the Oath to prohibit assistors from providing the assistance a voter requires. For

example, an assistor must swear “under the penalty of perjury,” that they “will not suggest, by

word, sign, or gesture, how the voter should vote.” Although this language appeared in the Oath

before S.B. 1, the “penalty of perjury” language poses barriers to assistance to voters with

intellectual disabilities and certain cognitive and physical impairments who need to be reminded

of their selections, discussed in a previous conversation with their chosen assistor. See, e.g., Tr. at

3491:9–20 (explaining that “cuing” is a common method of assistant voters with IDD); see also

Tr. at 3740:19–23; LUPE-002 ¶ 40, Table 1 (stating that approximately 1,082,500, or one-third of

voting-eligible Texans with disabilities, have a “cognitive impairment,” defined as difficulty

remembering, concentrating, or making decisions).

       140.    Before voting curbside, Toby Cole, a disability rights attorney and Harris County

voter with quadriplegia, goes through a sample ballot with his assistant, who helps him research

candidates and mark the sample ballot. During the voting process, Mr. Cole asks his assistant to

reference the sample ballot to remind him of his previous selections:

           I don’t remember things the way I did when I was younger. I need someone
           to help me . . . I rely on my assistants to help me remind me of things. . . .
           And so I specifically request the people that help me, that they help remind
           me of what I’ve told them I want to do and how I want to vote.

Tr. at 702:10–703:19, 706:19–707:20. Thus, read together with the “penalty of perjury” language,

Mr. Cole understands this portion of the Oath to mean that he must either change how he votes or

require his assistor to commit perjury. Tr. at 710:20–711:11. Mr. Cole is not the only attorney

concerned about the “perjury” language. MABA members find this language alarming because

they do not want to subject themselves to the consequences of being accused of perjury—and

potentially be disbarred—for providing voter assistance. Tr. at 2538:8–14.



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         141.     Voters with disabilities testified that they believed the “penalty of perjury”

language will deter some people from voting altogether:

             I talk to a lot of people after they get disabled…as you make things harder,
             you just start cutting things out…it’s too hard to find someone to feed me,
             or it’s embarrassing, so I don’t want to go to dinner. It’s too hard to get on
             an airplane to go travel, so I just don’t do that. And so every time you put
             even one little road bump or one little barrier in front, it just makes it that
             much harder, and so you don’t do it…I look at the oath and it says “I swear
             under the penalty of perjury.”…That’s a big deal. That’s a scary deal. [A]m
             I going to have somebody that may get deported or thrown in jail come help
             me? No, I’m just not going to vote. I’m just not going to exercise that right.

Tr. at 714:6–18, 715:1–14. Ms. Halvorson stated that many of her friends with disabilities are

worried about their caregivers facing these issues with the penalty of perjury and “[s]ome of them

may not be going out and voting like they used to, due to it.” Tr. at 3332:11–18.

         142.     Finally, there is some uncertainty about the type of “assistance” that triggers the

Oath requirement in the first place. Ms. Litzinger did not ask her attendant to unfasten her chest

clip while she was voting out of concern that it would trigger the Oath requirement. Tr. at 3290:2–

5. Mr. Ingram testified that whether an attendant who wheels a voter who uses a wheelchair to the

poll booth (but does not actually help her cast the ballot) must take the Oath is “a very gray area

and kind of depends on the presiding judge.” Tr. at 4420:18–4422:6. Mr. Ingram suggested that a

voter faced with such a situation could ask the presiding judge for a reasonable accommodation

(by permitting her attendant to move her to the poll booth without taking the Oath). 25 Alternatively,

Mr. Ingram suggested that the attendant could “just take the Oath of Assistance, and whether you

help the voter or not, you’re in the polling place legally at that point.” Tr. at 4420:18–4422:6. But,


25
   Of course, there is no guarantee that a presiding judge would in fact grant such an accommodation. Cf. TEC §
276.019 (“public official or election official may not create, alter, modify, waive, or suspend any election standard,
practice, or procedure mandated by law or rule in a manner not expressly authorized by” the Election Code); TEC §
1.002 (recognizing qualified individuals’ right to “request[] a reasonable accommodation or modification to any
election standard, practice, or procedure mandated by law,” but not their right to receive any such accommodations)
(emphasis added).



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of course, this response just begs the question. Voters and attendants want to know what kind of

assistance can be provided, if any, without trigging the Oath requirement.

         143.     Voter Eligibility for Assistance. Voters and assistors testified that these portions of

the Oath addressing the voter’s eligibility to receive assistance were troubling, in numerous

respects.

         144.     To begin, although the Oath requires the voter to affirm his eligibility for assistance,

it does not define who is “eligible” to receive voting assistance or explain who determines

eligibility. See TEC § 64.034. As a result, both voters and assistors expressed confused about the

eligibility requirements. 26 Tr. at 3251:16–3252:11 (Nunez Landry); Tr. at 3561:2–3562:17,

3575:1–10 (Cranston); Tr. at 149–25 (Rocha).

         145.     Mr. White testified that the new language in the Oath probably requires the assistant

to obtain a representation of eligibility from the voter. Tr. at 3991:1–5.

         146.     Voters expressed discomfort with the requirement to represent their eligibility to

their assistors or explain the basis for their eligibility. As several voters with disabilities pointed

out, the requirement that the voter affirmatively represents his or her eligibility amounts to an

additional eligibility requirement. Ms. Nunez Landry testified that, while her partner served as her

assistor before S.B. 1, she had never specifically told him that she was eligible to receive

assistance. Tr. at 3252:17–3253:2. She felt that it would be “very undemocratic” if her vote did

not count because she failed to represent her eligibility and that she “would feel disenfranchised”




26
  Adding to the confusion, the Secretary of State’s “VOTER INFORMATION” poster, which must be posted in every
polling place and voting station, provides an incorrect and overly-narrow definition of eligibility for voter assistance:
             a.   You have: (6) The right to assistance while casting your ballot if you cannot write, see the ballot,
                  understand the language in which it is written, or cannot speak English, or communicate only with
                  sign language, and want assistance in communicating with election officials.
LUPE-265, https://perma.cc/LKS6-HGJH; TEC § 62.011.



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and like a “a second-class citizen.” Tr. at 3252:17–3253:2. Mr. Cole stated that the provision is

“offensive” because it requires him to share private health information with his assistor to receive

the assistance he needs to vote—something he is not required to do in any other aspect of his life

in order to receive the assistance he needs. Tr. at 695:6–7.

        147.    While the Oath does not explicitly require voters to explain the basis for their

eligibility, in practice, assistors who want to ensure that a voter’s ballot will be counted must also

confirm that the voter is eligible to receive assistance, because, as the Oath cautions, the voter’s

ballot may not be counted if he or she is ineligible. TEC § 64.034.

        148.    Critically, because it does not contain a scienter requirement, the Oath appears as

it is written to hinge on actual eligibility, regardless of the assistor’s or voter’s beliefs about the

voter’s eligibility. In other words, the provision of assistance itself, even if it is given in accordance

with the voter’s wishes, may result in the rejection of the voter’s ballot. Thus, from an assistor’s

perspective, to avoid disenfranchising the very voters he hopes to assist, he must confirm that

voters who have asked for his help are eligible for assistance and cannot reasonably rely on the

voter’s representation of their own eligibility.

        149.    How assistors are supposed to confirm a voter’s actual eligibility without asking

the voter to disclose private health information is not at all clear. See, e.g., Tr. at 147:1–9 (LUPE

staff member is uncertain whether a voter who asks for help because he cannot see too well has

sufficiently represented his eligibility); Tr. at 2543:21–16 (MABA members are concerned

because they cannot guarantee that they have the knowledge to attest to someone’s disability). Mr.

White testified that “anyone who takes this oath is determining what that means to them,” Tr. at

3989:10–16, but acknowledged that “it would certainly be the interpretation of the D.A. in that




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county where [the potential] offense took place” that would determine whether an assistor would

be prosecuted, Tr. at 4105:13–21.

       150.    Assistors and witnesses with disabilities also testified that the statements regarding

eligibility in the Oath were likely to subject voters receiving assistance to greater scrutiny in the

polls, especially those with disabilities that are not readily perceptible. For example, Jennifer

Miller, whose daughter, Danielle, requires voting assistance due to dysgraphia, worried that

because Danielle’s disability is not always visible, her daughter’s vote might not be counted based

on someone else’s perception that she was ineligible for assistance. Tr. at 3215:16–3216:8. Even

voters with visible disabilities attempting to vote without assistance have been subject to undue

scrutiny, such as Ms. Litzinger, have had their privacy invaded while voting due to election

officials’ questions about her need for assistance. See Tr. at 3293:1–13; see also Tr. at 3245:18–

3246:10 (Nunez Landry).

       151.    Pressure or coercion. Voters and assistors expressed concerns about the Oath

provision requiring assistors to swear that they “did not pressure or coerce the voter into choosing

me to provide assistance” due to confusion about the meaning of “pressure” under such

circumstances. See Tr. at 2540:11–16 (MABA organizational representative stating that, as an

attorney, she would like to see a definition or context for the words “pressure” and “coerce”).

       152.    For example, assistors worry that encouraging voters to seek assistance if they need

it or calling them to ask about their plans to vote could be construed as “pressuring” a voter to

choose them as assistors. Tr. at 2540:11 (MABA).

       153.    Witnesses also explained that the practical reality of relationships between

caregivers and their clients means that many voters may have few potential assistors to choose

from. For example, Ms. Nunez Landry asked:




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         What does pressure or coerce mean in this context? And I think especially if
         people…are under penalty of perjury they may be afraid, and for so many of us
         who don’t have options on who is going to help us, is that coercion? Is that
         pressure? I just think there is going to be so much confusion that my fear is that
         people will be too afraid to help us.

Tr. at 3249:21–3250:2.

         154.     Ms. Miller, whose daughter requires voting assistance, worried that parents could

face prison time based on simple logistical matters: if a voter prefers that her father assist her, for

example, but it is more convenient for her mother to take her to the polls, has the mother

“pressured” the voter into choosing the mother by relaying this information to her daughter? Tr.at

3206:11–3207:4; see also Tr. at 3207:20–25, 3214:13–3215:9.

         155.     Cameron County Election Administrator Remi Garza testified that he believed the

“I did not pressure” language in the Oath could make people hesitant to provide assistance based

on the fear that they could be understood to be pressuring the voter to take their assistance: “The

wording is vague enough where …they might be concerned that they are going to violate the oath

if they signed it.” Tr. at 733:21–734:7

         156.     Communication to others about how the voter has voted. Plaintiffs did not

meaningfully challenge the language in the Oath barring assistors from “communicat[ing]

information about how the voter has voted to another person,” either at trial or in any of their post-

trial briefing. The Court thus considers any challenge to this language to have been waived.

Additionally, it is difficult to see how this language could possibly frustrate Section 208, which

was enacted in large part to protect voters’ privacy. 27




27
  Still, the Court observes that it is unclear whether this proscription applies to the substance of the voter’s ballot or
the manner in which the ballot was cast.



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       The Assistor Disclosure requirements (§§ 6.03, 6.05, and 6.07) deter voting assistance.

       157.    Sections 6.03 and 6.05 of S.B. 1 require a voter assistor to record and swear to their

relationship to the voter and indicate whether the assistor received or accepted any form of

compensation or benefit from a candidate campaign or a political action committee. Section 6.03

creates a new form with this requirement for assistors in the polling place and Section 6.05 adds

this requirement to the mail ballot carrier envelope. TEC § 86.010(e).

       158.    Section 6.07 revises the mail ballot carrier envelope to require a person who

deposits the carrier envelope in the mail to indicate that person’s relationship to the voter. Id. at

55. Even before S.B. 1, the mail ballot carrier envelope required assistors to disclose their name

and address. See TEC § 86.010(e); JEX-1 at 53.

       159.    Assistors and county election officials testified that the form requirement, coupled

with the Oath of Assistance, created delays during in-person voting. Tr. at 81:15–25 (Chavez

Camacho); Tr. at 383:14–18 (Scarpello); Tr. at 732:8–733:17 (Garza); Tr. at 1057:12–24

(Callanen); Tr. at 2316:16–20 (Ramon). Ms. Rocha, a LUPE employee, testified that, on two

occasions when agreed to assist voters at the polls under S.B. 1, she left the voter to stand in a

separate line for assistors and, by the time she had completed the disclosures, the voter was being

assisted by other people. Tr. at 150:6–18, 151:3–14, 152:6–153:3, 153:4–17, 150:9–12, 150:14–

151:2, 157:14–158:9. Extended wait times at the polls are especially burdensome on voters with

physical disabilities, and waiting in line is the most common difficulty that voters with disabilities

face. See Tr. at 3756:1–19; LUPE-002, Table 10.

       160.    In addition to the potential delays caused by the Oath of Assistance Form at the

polls, potential assistors who, like many of Plaintiffs’ staff and volunteers, do not have preexisting




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relationships with voters they help vote by mail or at the polls have a well-founded concern about

providing the information required by Sections 6.03 and 6.05.

       161.     Even absent evidence of fraud or coercion, the consequences for both the voter and

the assistor for failing to disclose their relationship on a mail ballot are severe: the voter’s ballot

may not count, and the assistor faces up to two years in prison and a fine of up to $10,000. See

TEC § 86.010(g). These criminal sanctions, however, are inapplicable to mail-ballot assistance

provided by a close relative of the voter or someone who lives with the voter. See TEC §

86.010(h)(2).

       162.     Jonathan White, the State’s top voter fraud prosecutor, testified that, in his view,

“normal assistance” is a voter being assisted by family members or caregivers. Tr at 3987:15–23.

With respect to Section 6.03, Mr. White testified that having information about assistors’

relationships to voters can help distinguish between workers with no relationship to the voter

versus the folks who are assisted by family members or caregivers, which he considers more

legitimate assistance. Tr. at 3987:1–14. Still, the OAG’s tracker of election crime prosecutions

resolved does not identify a single case of voter assistance fraud relating to assistance provided in

the polling place. Tr. at 4034:16–20; OCA-377 at 1–12.

       163.     Despite Mr. White’s impression that voter assistance provided by members of

trusted community organizations (rather than, e.g., family members or caregivers) is somehow

suspect, in 2020, approximately one-fifth of voters with disabilities received voting assistance

from non-family members. LUPE-002 ¶ 102. This is unsurprising, as Texans with disabilities are

more likely to live alone, less likely to be married, and more likely to be separated, divorced, or

widowed. Tr. at 3747:20–25; LUPE-002, Table 4. And, irrespective of Mr. White’s perception that

“caregivers” are “normal” assistants, a caregiver who provides BBM assistance is still subject to




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criminal sanctions for failing to disclose his relationship to the voter, unless the caregiver is also a

close relative of the voter or lives with the voter. See TEC § 86.010(h)(2).

       164.    Sections 6.05 has deterred DST members from helping mail-in voters because these

provisions threaten assistors with criminal liability for failing to satisfy these disclosure

requirements or violating the Oath, which appears in the same section of the ballot envelope. Tr.

at 2202:9–14. DST chapters have had difficulty recruiting members who are willing to place

themselves at risk to provide in-person voter assistance at the polls. Tr. at 2199:16–2200:3,

2202:9–14, 2203:10–15.

       165.    Out of fear of prosecution pursuant under Sections 6.04 and 6.05 of S.B. 1, LUPE

staff and volunteers turn away voters who ask for their assistance, and instead encourages them to

ask a family member or a friend for assistance. Tr. at 82:6–12, 111:10–111:20, 118:16–119:4. Cris

Rocha, a LUPE employee, is only willing to assist voters at the polls if she is the last person the

voter can use as an assistor. Tr. at 145:21–24; 48:22–149:3, 156:12–18. Maria Gomez, a LUPE

volunteer who has provided voting assistance for over 25 years, is no longer willing to provide

assistance due to the threat of criminal sanctions under S.B. 1. LUPE-284, Gomez Dep. at 13:19–

14:15, 32:2–8, 17:2–13, 33:7–35:9, 40:24–42:2.

       166.    FIEL no longer conducts voter caravans because its members feel uneasy about

running afoul of requirements put in place by S.B. 1, including the Oath and the Oath of Assistance

Form (which includes the required Assistor Disclosures). Tr. at 2450:3–20. Without these caravans

to the polls, FIEL is unable to engage as many voters as possible and help them actively participate

in the voting process. Tr. at 2451:1–5.

       167.    FIEL has also struggled to recruit volunteers to provide in-person voter assistance

at the polls since the enactment of S.B. 1 due to FIEL members’ concerns about the Oath and the




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Assistor Disclosure requirements. Tr. at 2444:10–14, 2444:24–2445:7, 2451:19–25, 2452:1–11.

Indeed, while before S.B. 1 about 100 FIEL members volunteered to assist voters at the polls, in

2022, there were at most 20 members who did so. Tr. at 2470:22–25. Cesar Espinosa, the founding

executive director of FIEL, no longer provides voter assistance due to his concerns about the

Oath’s “penalty of perjury” language and the Assistor Disclosure requirements. Tr. at 2430:3–4,

2439:6–23, 2444:24–2445:7; see also Tr. at 2445:4–22 (Espinosa) (describing FIEL member

Debany Gonzales, who was a very active voter assistant at the polls, but is no longer willing to

assist voters due to amended language of the Oath of Assistance); Tr. at 2445:23–2446:22, 2447:6–

13 (Espinosa) (describing Tonya Rodriguez, naturalized citizen with LEP, who sought, but did not

receive, translation assistance from a FIEL member at the polls and struggled to cast her ballot in

person).

       168.    Mr. Espinosa is particularly concerned about the Assistor Disclosures because

when he volunteers at the polls, he often provides translation assistance to voters with whom he

has no direct relationship. Tr. at 2443:24–2443:3. Asked about his concerns, Mr. Espinosa stated:

           [T]he number one question that . . . pops into my head is why is this table
           even necessary? Or what is my information that I provided here going to
           be used for? How is it going to be stored? Who is going to be able to handle
           it or see it? Who is going to be able to see my signature?

Tr. at 2442:6–2443:9

       169.    Consistent with Mr. Espinosa’s concerns about the Assistor Disclosure

requirements, community stakeholders submitted letters to the Texas legislature, anticipating that

S.B. 1’s additional paperwork and disclosure requirements were likely to have a “chilling effect”

on voter assistance. See HAUL-216 (testimony regarding S.B. 1 before the Senate State Affairs

Committee by Alex Cogan, Manager of Public Policy and Advocacy for The Arc, asserting that




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the new Assistor Disclosure requirements would “create a chilling effect that decreases the

availability of support for Texas with disabilities to exercise their right to vote”).

       Election officials are inadequate substitutes for private assistors

       170.    By deterring assistance by private assistors, the Assistant Disclosure and Oath

requirements encourage voters to forgo assistance altogether or receive assistance from an election

official. Election officials are imperfect substitutes for voters’ chosen assistors for at least two

practical reasons.

       171.    First, election officials may be unable to provide the kind of assistance the voter

requires. For example, an election official who does not speak the same language as a voter who

needs assistance will be unable to translate and mark the voter’s ballot. Similarly, a voter with

cognitive or memory impairments will be unable to receive “cuing” assistance from election

officials who are unfamiliar with how the voter intends to vote. Finally, it may be unsafe or

uncomfortable for voters with physical disabilities to receive assistance from an election official

who is unfamiliar with the contours of their disabilities and needs. For example, Ms. Litzinger

explained that it takes over two months to train a personal care attendant to safely transfer her out

of her wheelchair due to her balance issues. Tr. at 3281:1–17.

       172.    Second, voters who receive assistance from election officials are forced to sacrifice

the privacy of their ballot. Their selections must be disclosed not only to the county elections

official(s) providing the assistance but to any poll watchers observing the activity. TEC §

33.057(a).

       173.    Thus, S.B. 1’s Oath and Assistor Disclosure requirements leave many voters in

need of assistance with a choice between three dignitary harms—voting without any assistance,

losing their privacy while voting, or foregoing the voting process altogether. See Tr. at 707:25–




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708:14 (Cole) (describing the loss of his privacy when an official prevented his assistant from

helping him vote as a violation).

        174.    This is precisely the choice that the right to assistance under Section 208 was

intended to avoid: “As a result, people requiring assistance in some jurisdictions are forced to

choose between casting a ballot under the adverse circumstances of not being able to choose their

own assistance or forfeiting their right to vote. The Committee is concerned that some people in

this situation do in fact elect to forfeit their rights to vote.” S. Rep. No. 97-417 at 472.

        175.    Dr. Douglas Kruse, Plaintiffs’ expert witness on S.B. 1’s impact on voters with

disabilities, explained that adding additional requirements to the assistance process for both voters

and assistors increases the likelihood that voters with disabilities will be disenfranchised:

            It doesn’t sound like a big deal . . . but it’s an extra hurdle. It’s an extra thing
            to do. Combined with all the other barriers that people with disabilities face,
            it’s an extra thing to –– simply to remember, but there’s also an extra issue
            that both the assister and the person with the disability may be uncertain
            about. It’s an extra hurdle. It kind of exacerbates the other issues that –– in
            combination with all the other hurdles that people with disabilities face, that
            they –– that may make it more difficult to exercise the right to vote.

Tr. at 3776:19–3777:8; LUPE-002 ¶ 101 (“[I]t is highly likely that many Texans with disabilities

will find it difficult or impossible to obtain the assistance they require given the restrictions

imposed by section 6.04 . . . and will cause some Texans with disabilities to be disenfranchised[.]”).

        176.    Trial testimony by voters reified these predictions about the impact that additional

barriers to voting can have on voters with disabilities

        177.    Ms. Crowther explained that S.B. 1 has hampered her ability to receive assistance

in voting because it puts her attendants in a position of “danger” that “they aren’t paid for” and she

would not want to put them in a situation that has legal ramifications even though she will need




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more and more help over time as her disability progresses. HAUL-413, Crowther Dep. at 80:8–

81:8. As Ms. Crowther summarized:

          That something as meaningful as voting is to me, that I need assistance with. . .
          has now a bump . . . in the process, to where now it’s become more threatening
          to bring an attendant in. . . why would I want to bring. . . my attendant, into that
          role and have them get all freaked out about, You mean to tell me if I help you do
          something that is not on this form. . . I could get in trouble? And it’s just not worth
          it when your life is dependent on your attendant or your caregiver or your spouse
          or anything. It’s just not worth it.

Id. at 98:6–22.

        178.      Mr. Cole testified that each provision of S.B. 1 that makes voting marginally harder

for disabled people makes it less likely that they will vote:

            Well, it just makes it hard. You know, the thing that we have, and I talk to
            a lot of people after they get disabled, is as you make things harder, you just
            start cutting things out. You know, it’s too hard to find someone to feed me,
            or it’s embarrassing, so I don’t want to go to dinner. It’s too hard to get on
            an airplane to go travel, so I just don’t do that. And so every time you put
            even one little road bump or one little barrier in front, it just makes it that
            much harder, and so you don’t do it.

Tr. at 714:17–715:15.

Ban on Compensated Assistance (§ 6.06)

        179.      Section 6.06 of S.B. 1 prevents voters from choosing Plaintiffs’ staff members and

volunteers to assist them with their mail ballots because they receive “compensation” for their

assistance efforts. It creates a state jail felony for offering, soliciting or receiving compensation for

assisting mail ballot voters, unless the compensated assistor is an “attendant or caregiver

previously known to the voter.” TEC § 86.0105.

        180.      At trial, Jonathan White testified that offering or accepting compensation for mail

ballot assistance is a state jail felony, with a sentence of up to two years, even if there is no fraud

in the assistance and the assistor marks the ballot consistent with the wishes of the voter. Tr. at

3996:8–3997:5. He confirmed that Section 6.06 “criminalizes compensation for assistance” as


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opposed to criminalizing fraud in assistance. Tr. at 3995:25–3996:7. Formerly, the Election Code

prohibited payment for performance-based work, i.e. paying someone to assist mail voters on a

quota basis. Tr. at 3991:18–3992:15. S.B. 1 extended the offense, making it a crime to provide,

receive or ask for compensation to assist a mail ballot voter regardless of whether the assistance is

on a per capita basis. Tr. at 3992:3–7, 12–19.

       181.    Mr. White confirmed that Section 6.06 “appear[s] to apply to [the] scenario” in

which a paid canvasser for a nonprofit Get Out the Vote organization engages with voters and

provides mail ballot assistance at the voter’s request. Tr. at 3993:22–3995:10. He testified that if

his office encountered a GOTV group that paid its organizers to provide mail ballot assistance as

a public service while canvassing, he would be concerned that this activity is used as a subterfuge

for voter fraud, and “we’d be looking for the fraud at the bottom of things.” Tr. at 3995:11–24.

Again, however, a conviction under TEC § 86.0105 requires no evidence of fraud or coercion.

       182.    Indeed, these provisions potentially expose voters to liability for providing tokens

of appreciation to assistors who help them complete their mail ballots. Keith Ingram confirmed

that a voter who offered a volunteer $20—or offered to buy a friend lunch—to help him complete

his mail-ballot could be liable under Section 6.06. Tr. at 1904:1–1906:5.

       183.    This is not a fanciful hypothetical. Grace Chimene, testifying on behalf of the

League, was especially worried that volunteer activities’ during door-to-door canvassing could

expose voters to criminal liability: “It’s not just my concern for the League members, but it’s also

a concern if just a voter that were helping provides compensation, or the place that they live

provides compensation of some type that they may be committing a crime.” Tr. at 1592:1–5.

Members of the League “offer[] tea, or coffee, or water,” to assistors that help them and other

voters vote by mail. Tr. at 1591:1–1592:5, 1590:4–12. To avoid jeopardizing voters and




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volunteers, institutions like assisted care centers that historically welcomed the League as assistors

now discourage the League from sending people to assist residents. Tr. at 1593:9–22. Texans—

including League members—residing in these facilities who relied on the League for years are no

longer able to obtain assistance voting from the individuals of their choice.

       184.    As a result of S.B. 1’s prohibition on compensated mail-ballot assistance, voters

may no longer choose Plaintiffs’ staff members and volunteers who accept “anything of value” to

assist them with their mail ballots. TEC § 86.0105; TEX. PENAL CODE § 38.01(3).

       185.    Before S.B. 1, LUPE staff would assist members to complete their mail ballots one-

on-one and provide assistance, either at the LUPE offices, in house meetings, or at LUPE’s union

hall events. Some members would call LUPE and ask LUPE to go to their home to help them fill

out their ballot by mail and LUPE would provide that assistance in the members’ homes. Tr. at

87:3–21, 3676:11–25.

       186.    LUPE has stopped assisting voters who request their help completing mail ballots.

Tr. at 119:20–120:18. As LUPE’s executive director Tania Chavez testified, LUPE has stopped

assisting members with their mail ballots because “[it] will mean that our staff could be jailed, that

I could be put in prison, that any volunteer that receives any kind of compensation could be then

prosecuted, and so we have refrained from doing so.” Tr. at 82:20–84:3.

       187.    Now, when a LUPE member comes to the LUPE office and requests help with their

mail ballot, LUPE informs the member that LUPE cannot provide assistance and tells the voter

that they should find help with their family or friends. Tr. at 86:9–86:13, 86:14–87:2, 87:3–87:21.

LUPE staff will not provide mail ballot assistance to LUPE members who are elderly and/or

disabled or otherwise need assistance to vote by mail and choose LUPE staff as their assistors. Tr.

at 86:9–86:13, 86:14–87:2, 87:3–87:21.




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       188.      LUPE is not alone in its decision to stop providing mail ballot assistance. OCA no

longer offers voters assistance. Tr. at 1722:3–16. The League has stopped providing voting

assistance at some retirement homes and assisted care centers out of the fear the voters—including

League members—will “compensate” their assistors with refreshments. Tr. at 1620:7–1621:1.

MABA members are no longer willing to provide voting assistance because members fear that

they might inadvertently commit a crime, potentially costing them their law licenses. Tr. at

2543:14–2544:23. LULAC volunteers “scaled . . . down” their GOTV efforts and decided not to

conduct voter outreach with seniors, many of whom require voting assistance, for “fear that they

could be subject to prosecution if they help seniors vote by mail.” Tr. at 1655:10–18.

The Canvassing Restriction (§ 7.04)

       189.      The Canvassing Restriction applies to anyone who knowingly gives or receives

some “compensation or other benefit” for an “in-person interaction with one or more voters, in the

physical presence of an official ballot or a ballot voted by mail, intended to deliver votes for a

specific candidate or measure.” TEC § 276.015(a)(2).

       190.      Section 7.04 interferes with community organizers’ ability to assist voters with their

mail-ballots because its prohibition on “in-person interactions” in the “presence of a mail ballot”

does not include an exception for mail-ballot assistance. See Tr. at 758:8–19, 758:22–759:12

(Cameron County EA Remi Garza); Tr. at 841:15–842:9, 844:13–25 (DeBeauvoir); Tr. at 496:2–

8 (Scarpello).

       191.      Mr. White testified that if his office encountered a GOTV group that paid its

organizers to provide mail ballot assistance as a public service while canvassing, he would be

concerned that this activity is a subterfuge for voter fraud. Tr. at 3995:11–24. He acknowledged,

however, that prior to S.B. 1, the Election Code already criminalized: assisting a voter who is not




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eligible for assistance or did not ask for assistance; voting a ballot differently than the voter wished

or directed the assistant to vote the ballot; suggesting to the voter during the voting process how

the voter should vote, or attempting to influence or coerce the voter receiving assistance. Tr. at

3923:21–3924:14, 3925:4–6.

        192.    Finally, like Section 6.06, the Canvassing Restriction can be read to impose

criminal liability on the very voters it purports to protect. For example, a like-minded voter who

asks for voting assistance from a GOTV volunteer and invites him inside for an iced tea would

arguably violate Section 7.04. See TEC § 276.015 (making it a crime to offer a benefit for the

canvasser’s “services”).

        193.    Trial testimony establishes that there is widespread confusion about the meaning of

the Canvassing Restriction. Even local election administrators (“EAs”) are unsure about how to

interpret Section 7.04. See, e.g., Tr. at 496:5–8 (Dallas County EA Michael Scarpello) (“I don’t

know what ballot harvesting means,” “it could be interpreted a lot of different ways based on the

definition . . . put into the law.”).

        194.    Witnesses were particularly uncertain about how to interpret the terms

“compensation” and “physical presence”—neither of which is defined in the statute—and how

Section 7.04 impacts organizers’ ability to provide voting assistance. Despite this confusion, state

officials have not offered any definitive answers about the scope of the Canvassing Restriction.

The Secretary of State has not provided any guidance. Tr. at 1914:7–14, 1924:7–18. Nor has the

OAG. Tr. at 1924:24–1925:3.




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         195.     In response to Section 7.04, many Plaintiffs groups stopped hosting in-person

events where voters had frequently brought their mail ballots for voting assistance and stopped

providing assistance to voters. 28

                                         CONCLUSIONS OF LAW

SUBJECT MATTER JURISDICTION

         Before addressing the merits of Plaintiffs’ challenges under Section 208, the Court must

first consider its subject matter jurisdiction over Plaintiffs’ claims. Subject matter jurisdiction is a

federal court’s statutory or constitutional power to adjudicate a case. Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 89 (1998).

         As the Court has previously explained, Section 208 of the VRA permits private

enforcement by both individual voters who need assistance and private organizations representing

their interests. See, e.g., La Unión del Pueblo Entero v. Abbott, 618 F. Supp. 3d 388, 426 (W.D.

Tex. 2022) (citing OCA-Greater Houston v. Texas (OCA-Greater Hous. I), 867 F.3d 604, 609–614

(5th Cir. 2017)). 29 Because this civil action arises under federal law, the Court has federal question

jurisdiction under 28 U.S.C. § 1331.

         Sovereign immunity does not limit the Court’s subject matter jurisdiction over this action.

Section 208 claims are enforceable against state officials because, in enacting the VRA, Congress


28
  Tr. at 1718:20–24, 1721:2–10, 1721:3–1722:22 (OCA has stopped hosting in-person events where members have
historically brought mail-in ballots and received voting assistance, including candidate forums, and no long offers
voters assistance or rides to the polls); Tr. at 1593:9–22, 1620:7–1621:1 (The League has been discouraged from
providing assistance to voters at assisted living facilities and determined that it “would turn away members with their
mail-in ballots from candidate forums”); Tr. at 82:20-–84:3 (LUPE has stopped assisting members with their mail
ballots because “[it] will mean that our staff could be jailed, that I could be put in prison, that any volunteer that
receives any kind of compensation could be then prosecuted, and so we have refrained from doing so.”); Tr. at
2543:14–2544:23 (MABA members are no longer willing to provide voting assistance because members fear that they
might inadvertently commit a crime, potentially costing them their law licenses).
29
  See also Ark. United v. Thurston, 517 F. Supp. 3d 777, 790, 798 (W.D. Ark. 2021); New Ga. Project v.
Raffensperger, 484 F. Supp. 3d 1265, 1301 (N.D. Ga. 2020); Democracy N.C. v. N.C. State Bd. of Elections, 476 F.
Supp. 3d 158, 233–36 (M.D.N.C. 2020); Fla. State Conf. of NAACP v. Lee, 576 F. Supp. 3d 974, 988–90 (N.D. Fla.
2021).



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validly abrogated state sovereign immunity. See id. at 433 (citing OCA-Greater Hous. I, 867 F.3d

at 614).

       Finally, the Court considers Plaintiffs’ standing to assert their Section 208 challenges

because standing “is a component of subject matter jurisdiction.” HSBC Bank USA, N.A. as Tr. for

Merrill Lynch Mortg. Loan v. Crum, 907 F.3d 199, 202 (5th Cir. 2018).

Standing

       Legal Framework

       It is well settled that a plaintiff invoking a federal court’s jurisdiction must establish

standing by satisfying three irreducible requirements. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

(1992). “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant[s], and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

       The elements of standing are “not mere pleading requirements but rather an indispensable

part of the plaintiff’s case.” Lujan, 504 U.S. at 561. Thus, “each element must be supported in the

same way as any other matter on which the plaintiff bears the burden of proof, i.e., with the manner

and degree of evidence required at the successive stages of the litigation.” Id. In a case that

proceeds to trial, plaintiffs must establish all three elements by a preponderance of the evidence.

See TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021) (“[I]n a case like this that proceeds to

trial, the specific facts set forth by the plaintiff to support standing “must be supported adequately

by the evidence adduced at trial.”). These requirements ensure that plaintiffs have “such a personal

stake in the outcome of the controversy as to assure that concrete adverseness which sharpens the

presentation of issues upon which the court so largely depends for illumination.” Massachusetts v.




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EPA, 549 U.S. 497 (2007) (quoting Baker v. Carr, 369 U.S. 186 (1962)) (quotation marks

removed).

       “[P]laintiffs seeking injunctive and declaratory relief can satisfy the redressability

requirement only by demonstrating a continuing injury or threatened future injury” for the self-

evident reason that “injunctive and declaratory relief ‘cannot conceivably remedy any past

wrong.’” Stringer v. Whitley, 942 F.3d 715, 720 (5th Cir. 2019) (quoting Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 108 (1998)).

       To constitute an injury in fact, a threatened future injury must be (1) potentially suffered

by the plaintiff, not someone else; (2) “concrete and particularized,” not abstract; and (3) “actual

or imminent, not ‘conjectural’ or ‘hypothetical.’” Id. at 720–21 (citations omitted). The injury must

be “imminent . . . to ensure that the alleged injury is not too speculative for Article III purposes.”

Id. at 721 (quoting Lujan, 504 U.S. at 564 n.2). For a threatened future injury to satisfy the

imminence requirement, there must be at least a “substantial risk” that the injury will occur.

Stringer, 942 F.3d at 721 (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)).

Nonetheless, “[t]he injury alleged as an Article III injury-in-fact need not be substantial; it need

not measure more than an identifiable trifle.” OCA-Greater Hous. I, 867 F.3d at 612) (quotations

omitted). “This is because the injury in fact requirement under Article III is qualitative, not

quantitative, in nature.” Id. (quotations omitted).

       Juridical entities may establish standing under an associational or organizational theory of

standing. Id. at 610.

       “Associational standing is a three-part test: (1) the association’s members would

independently meet the Article III standing requirements; (2) the interests the association seeks to

protect are germane to the purpose of the organization; and (3) neither the claim asserted, nor the




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relief requested requires participation of individual members.” Students for Fair Admissions, Inc.

v. President & Fellows of Harv. Coll., 143 S. Ct. 2141, 2157 (2023) (quoting Hunt v. Wash. State

Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)). Participation of individual members is not

required where, as here, the association seeks prospective and injunctive relief, rather than

individualized damages. Consumer Data Indus. Ass’n v. Texas, No. 21-51038, 2023 WL 4744918,

at *4 n.7 (5th Cir. July 25, 2023).

          “By contrast, ‘organizational standing’ does not depend on the standing of the

organization’s members. The organization can establish standing in its own name if it ‘meets the

same standing test that applies to individuals.’” OCA-Greater Hous. I, 867 F.3d at 610 (citations

omitted) (quoting Ass’n of Cmty. Orgs. for Reform Now v. Fowler, 178 F.3d 350, 356 (5th Cir.

1999)).

          “When the suit is one challenging the legality of government action or inaction” and “the

plaintiff is himself an object of the action (or forgone action) at issue[,] . . . there is ordinarily little

question that the action or inaction has caused him injury, and that a judgment preventing or

requiring the action will redress it.” Lujan, 504 U.S. at 561–62. An organization can establish a

likely future injury if it intends “to engage in a course of conduct arguably affected with a

constitutional interest, but proscribed by a statute.” Babbitt v. United Farm Workers Nat’l Union,

442 U.S. 289, 298 (1979); see, e.g., Veterans of Foreign Wars of U.S. v. Tex. Lottery Comm’n, 760

F.3d 427, 439 (5th Cir. 2014) (charitable organizations had standing to challenge statute prohibiting

their use of bingo proceeds for political advocacy as an unconstitutional burden on their political

speech). 30


30
   See also S. Christian Leadership Conf. v. Sup. Ct. of State of La., 252 F.3d 781, 788 (5th Cir. 2001) (concluding
that “at least some” of the plaintiffs—law students and faculty and community and student organizations—had
standing to challenge a Louisiana Supreme Court rule restricting representation by student-practitioners because the



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         Finally, an unregulated organization can also demonstrate the requisite injury by showing

that the challenged conduct or regulation has “perceptibly impaired” the organization’s “core

business activities.” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 395 (2024))

(citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982)). Such “business activities”

need not be profit-driven. See Havens, 455 U.S. at 379 n.20 (“That the alleged injury results from

the organization’s noneconomic interest in encouraging open housing does not [affect] the nature

of the injury suffered, and accordingly does not deprive the organization of standing.”). “It has

long been clear that economic injury is not the only kind of injury that can support a plaintiff’s

standing.” Arlington Heights v. Metropolitan Housing Corp., 429 U.S. 252, 263 (1977). Still, a

mission-driven organization must proffer evidence of interference with its core activities to ensure

it has a personal stake in the outcome of case beyond its “abstract social interests.” Havens, 455

U.S. at 379. 31

         The effect on the organization’s activities need not be great. OCA-Greater Hous. I, 867

F.3d at 612; see also Havens, 455 U.S. at 379. In Havens, for example, the Supreme Court held

that the organizational plaintiff, HOME, had standing to sue a real estate company, Havens, for

providing false information to HOME’s black employees about apartment availability on four

occasions. Havens, 455 U.S. at 368–69. “Critically, HOME not only was an issue-advocacy

organization, but also operated a housing counseling service.” All. for Hippocratic Med., 602 U.S.

at 394. HOME asserted that these discriminatory racial steering practices “perceptibly impaired



operations of law-school clinics were “directly regulate[d]” and “[s]everal of the client organizations would be unable
to obtain representation by the clinics”).
31
   Arlington Heights v. Metropolitan Housing Corp., 429 U.S. 252, 263 (1977) (recognizing that non-profit’s interest
in building a low-cost housing project arose “not from a desire for economic gain, but rather from an interest in making
suitable low-cost housing available in areas where such housing is scarce” and concluding that “[t]he specific project
[the plaintiff] intends to build, whether or not it will generate profits, provides that ‘essential dimension of specificity’
that informs judicial decisionmaking”).



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[its] ability to provide counseling and referral services for low-and moderate-income

homeseekers.” Havens, 455 U.S. at 379.32 HOME alleged only that its counseling services had

been “frustrated” by Havens’s conduct—not that HOME had been forced to stop providing the

services altogether. Cf. La. Fair Hous. Action Ctr. at, Inc. v. Azalea Garden Props., L.L.C., 82

F.4th 345, 35 (5th Cir. 2023) (“HOME could not place African American clients into housing at

Havens’s complex when Havens was engaged in illegal racial steering.”). Still, the Court

concluded that if Havens had impaired HOME’s ability to provide such services, “there can be no

question that the organization has suffered injury in fact.” Havens, 455 U.S. at 379.

         “When the plaintiff is an unregulated party, causation ‘ordinarily hinge[s] on the response

of the regulated (or regulable) third party to the government action or inaction—and perhaps on

the response of others as well.’” All. for Hippocratic Med., 602 U.S. at 383 (quoting Lujan, 504

U.S. at 562). But plaintiffs generally cannot show causation by “rely[ing] on speculation about the

unfettered choices made by independent actors not before the court.” Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 415 n.5 (2013) (quotation marks omitted). “Therefore, to thread the causation

needle in those circumstances, the plaintiff must show that the ‘third parties will likely react in

predictable ways’ that in turn will likely injure the plaintiffs.” All. for Hippocratic Med., 602 U.S.

at 383 (quotation marks omitted) (citing California v. Texas, 593 U.S. 659, 675 (2021)). The “line

of causation between the illegal conduct and injury”—the “links in the chain of causation,” Allen



32
   In describing its injuries, HOME also alleged that it “had to devote significant resources to identify and counteract
[Havens]’s racially discriminatory steering practices.” Havens, 455 U.S. at 379. As the Supreme Court recently
confirmed, however, Havens does not stand for the expansive theory that “standing exists when an organization diverts
its resources in response to a defendant’s actions.” All. for Hippocratic Med., 602 U.S. at 395. “[A]n organization that
has not suffered a concrete injury caused by a defendant’s action cannot spend its way into standing simply by
expending money to gather information and advocate against the defendant’s action.” Id. at 394; see also Azalea, 82
F.4th at 355 (“We [] hold [that] ‘diverting’ resources from one core mission activity to another, i.e., prioritizing which
‘on-mission’ projects, out of many potential activities, an entity chooses to pursue, does not suffice—organizations
daily must choose which activities to fund, staff, and prioritize. Nor do conclusory allegations that an organization’s
diversion of resources ‘impaired or impeded’ some planned projects.”).



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v. Wright, 468 U.S. 737, 759 (1984)—must not be too speculative or too attenuated, Clapper, 568

U.S. at 410–11.

       The causation requirement is satisfied where it is sufficiently predictable how third parties

would react to government action or cause downstream injury to plaintiffs. All. for Hippocratic

Med., 602 U.S. at 386. In Department of Commerce v. New York, for example, the Supreme Court

recognized states’ standing to challenge the reinstatement of the citizenship question on the census

because noncitizens would “likely react in predictable ways to the citizenship question”—i.e., by

failing to respond to the census altogether—“even if they do so unlawfully and despite the

requirement that the Government keep individual answers confidential.” 588 U.S. 752, 767–68

(2019). The depression of the response rate among non-citizens would, in turn, cause them to be

undercounted in the census results and injure states with disproportionate numbers of non-citizens

through, e.g., the loss of federal funds, diminishment of political representation, and the

degradation of census data. The Court concluded that the states’ “theory of standing thus [did] not

rest on mere speculation about the decisions of third parties; it relie[d] instead on the predictable

effect of Government action on the decisions of third parties.” Id. at 768.

       The defendant’s conduct contributes to a plaintiff’s injuries, even if it is not the sole cause

of those injuries. Massachusetts v. E.P.A., 549 U.S. 497, 523 (2007). Similarly, the traceability

requirement is not a proximate cause standard; it can be satisfied with a showing that the alleged

injury was only indirectly caused by the defendant. Bennett v. Spear, 520 U.S. 154, 168 (1997).

       An injury is redressable when it is “likely” as opposed to merely “speculative” that a

decision in a plaintiff’s favor would grant the plaintiff relief. OCA-Greater Hous. I, 867 F.3d at

610. A plaintiff does not need to demonstrate that a favorable decision will “relieve [their] every

injury.” Larson v. Valente, 456 U.S. 228, 243 n.15 (1982). They only need to show that a decision




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in their favor will “relieve a discrete injury to [them]self.” Id. Even “the ability ‘to effectuate a

partial remedy’ satisfies the redressability requirement.” Uzuegbunam v. Preczewski, 592 U.S. 279

(2021) (quoting Church of Scientology of Cal. v. United States, 506 U.S. 9, 13 (1992)); see also

Netsphere, Inc. v. Baron, 703 F.3d 296, 314 (5th Cir. 2012) (explaining so long as “there is some

means by which [the court] can effectuate a partial remedy, [there] remains a live controversy”

(citation omitted)). Plaintiffs seeking injunctive and declaratory relief can satisfy the redressability

requirement by “demonstrat[ing] ‘continuing harm or a real and immediate threat of repeated

injury in the future.’” James v. Hegar, 86 F.4th 1076, 1081 (5th Cir. 2023) (quoting Soc’y of

Separationists, Inc. v. Herman, 959 F.2d 1283, 1285 (5th Cir. 1992)). A threatened future injury

suffices for standing so long as “there is a substantial risk that the harm will occur.” Nat’l Press

Photographers Ass’n v. McCraw, 90 F.4th 770, 782 (5th Cir. 2024) (quoting Susan B. Anthony

List, 573 U.S. at 158).

       When multiple plaintiffs seek the same injunctive relief, only one needs to establish

standing. Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006).

Here, the Court must identify at least one organization in each Plaintiff group with standing to seek

injunctive against local election officials and DAs in their respective jurisdictions.

       Analysis

       At the outset, the Court observes that the State Defendants and Intervenor-Defendants

appear to be confused about the basis for Plaintiffs’ standing, insisting that Section 208 does not

afford Plaintiffs a “right” to provide voting assistance. See, e.g., ECF No. 608 at 643.

       To be clear, the “right” to provide assistance is not now, nor has it ever been, at issue in

this case. Defendants are correct, of course, that Section 208 did not create such a right—just as

the FHA did not create a “right” to provide housing referrals.




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       Defendants’ confusion appears to stem from the fact that most Plaintiffs have two bases

for standing under Section 208: associational standing (based on injuries to their members entitled

to voting assistance) and organizational standing (based on impairment of the organizations’

ability to provide voting assistance). The concept is not difficult: some of Plaintiffs’ members

require voting assistance, while others provide voting assistance. The former establish a basis for

associational standing; the latter establish a basis for organizational standing.

       As in Havens, the organizational injury here is a perceptible impairment of one of

Plaintiffs’ core services—voter assistance—resulting from violations of a federal law—Section

208. And, to the extent that a rule directly regulates the Plaintiff organizations (rather than their

individual assistors), Plaintiffs unquestionably have standing to challenge it. See Lujan, 504 U.S.

at 561–62.

               Sections 6.01 – Curbside Voting Transportation Disclosure

       DST challenges Section 6.01’s requirement that a driver transporting seven or more voters

to the polls for curbside voting complete a disclosure form stating her name, address, and whether

she is serving as an assistor. Because Section 6.01 does not regulate DST directly, DST must

demonstrate that “third parties will likely react in predictable ways that in turn will likely injure

the plaintiffs.” All. for Hippocratic Med., 602 U.S. at 383.

       DST asserts that Section 6.01 has deterred its members from providing transportation to

the polls. ECF No. 856 ¶ 968 (citing Tr. at 2196:21–2197:7). While the Court agrees that DST has

suffered a perceptible impairment to one of its core voter activities—transporting voters to the

polls—DST has not shown that its injury is fairly traceable to Section 6.01, which applies only to

curbside voting.




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       The State Defendants object that DST cannot establish standing because the obligation to

provide the Transportation Disclosures bears no “close relationship” to “traditional[]” legal

injuries. ECF No. 862 ¶ 62(k) (quoting TransUnion, 594 U.S. at 431). The Court disagrees. The

Supreme Court has recognized the deterrent effect that disclosure requirements can have on

associative activities. See, e.g., Shelton v. Tucker, 364 U.S. 479, 486 (1960) (striking down law

requiring teachers to disclose all of the organizations to which they had belonged in the past five

years because “[e]ven if there were no disclosure to the general public, the pressure upon a teacher

to avoid any ties which might displease those who control his professional destiny would be

constant and heavy”); Nat’l Ass’n for Advancement of Colored People v. State of Ala. ex rel.

Patterson, 357 U.S. 449, 462 (1958); see also Dep’t of Com. v. New York, 588 U.S. at 767 (finding

no clear error in district court’s conclusion that the reinstatement of a citizenship question on the

census was likely to discourage non-citizens from responding to the census).

       DST has not shown, however, that its members who drive voters to the polls have engaged

or intend to engage in conduct that is “arguably proscribed” under Section 6.01 by transporting

more than seven voters to polls for curbside voting. Miss. State Democratic Party v. Barbour, 529

F.3d 538, 545 (5th Cir. 2008) (“Without concrete plans or any objective evidence to demonstrate

a ‘serious interest’ [to engage in proscribed conduct], [plaintiff] suffered no threat of imminent

injury.”); see also Whitmore v. Arkansas, 495 U.S. 149, 155–56 (1990) (“A federal court is

powerless to create its own jurisdiction by embellishing otherwise deficient allegations of

standing.”).

       Given Section 6.01’s limited application, it is not “sufficiently predictable” that DST

members would respond to Section 6.01’s regulation of transportation for more than seven

curbside voters by refusing to provide transportation to the polls altogether—even for voters




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casting their ballots inside the polling place. All. for Hippocratic Med., 602 U.S. at 383. Thus, the

Court concludes that DST has failed to thread the causation needle establishing a connection

between Section 6.01 and the injury DST members have caused to DST’s organizational interests.

        Accordingly, DST has not established standing to challenge Section 6.01’s Transportation

Assistance disclosure requirement, and its claim must be dismissed without prejudice for a lack of

subject matter jurisdiction.

                 Sections 6.03, 6.04, 6.05 and 6.07 –Oath of Assistance and Assistor Disclosures

        Sections 6.03, 6.04, and 6.05 of S.B. 1 establish new procedures for voter assistors,

specifically by requiring the assistor to disclose certain information—their name, address,

relationship to the voter, and whether they are being compensated by a candidate, campaign, or

political committee—on a form at the polling place (Section 6.03) or on the mail ballot carrier

envelope (Section 6.05) and by requiring assistors to take a revised Oath (Section 6.04).

        Section 6.04 of S.B. 1, amending the Oath of Assistance, is challenged by the HAUL

Plaintiffs (including The Arc) and the LUPE Plaintiffs. Sections 6.03 and 6.05 are challenged by

the HAUL and LUPE Plaintiffs. Section 6.07 is challenged only by the HAUL Plaintiffs.

        The Arc has associational standing to challenge § 6.04.

        As a result of the Oath of Assistance requirements set forth in S.B. 1 § 6.04, members of

The Arc who qualify for assistance under Section 208 voted without the assistors of their choice,

both in-person and by mail, in Harris County, Bexar County, and Travis County. 33


33
   Ms. Halvorson, a registered voter in Bexar County and a member of The Arc, voted without assistance for the very
first time in the March 2022 primary (by mail) because her personal care attendant was uncomfortable taking the Oath
of Assistance printed on the mail carrier envelope. Tr. at 3318:25–3319:20. In the November 2022 general election,
Ms. Halvorson voted in person, again voting without assistance due to fear of exposing her personal attendant to
potential criminal liability. Tr. at 3322:5–18, 3323:10–24.
Ms. Nunez Landry, a registered voter of Harris County and a member of The Arc, voted without her chosen assistant—
her partner—in both the March 2022 primary and the November 2022 general election because she did not want to



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         Ms. Nunez Landry, Ms. Halvorson, Ms. Litzinger, and Ms. Crowther have each suffered

an injury in fact and each would have standing to sue in her own right. Even if voters requiring

assistance successfully cast a ballot, their right under Section 208 is violated if they voted without

an assistor of their choice or forwent assistance altogether. See Consent Decree, United States v.

Hale County, No. 5-05CV0043-C (N.D. Tex. Apr. 27, 2006) (requiring election administrators to

provide language assistance to voters with limited English-language proficiency who had voted in

an election in which the County failed to permit assistance to those voters); Democracy N.C. v.

N.C. State Bd. of Elections, 590 F. Supp. 3d 850, 869 (M.D.N.C. 2022) (holding legally blind

plaintiff who voted absentee with his wife’s assistance had standing to challenge a law restricting

assistance that would prevent him from seeking assistance from staff at nursing home). As long as

the amended Oath of Assistance remains in effect, these voters will be unwilling to expose their

attendants to criminal liability by asking for their assistance. Thus, there is a “substantial risk” that

the injury will occur. Stringer, 942 F.3d at 721.

         The members’ interests in voting with the assistors of their choice are germane to the

purposes of The Arc, which works to empower people with disabilities in the voting process. 34

         Plaintiffs’ injuries arising out of S.B. 1’s amended Oath language are traceable to the

Secretary because she has created forms implementing Section 6.04. See LUPE-009 (mail ballot



expose him to criminal liability. Tr. at 3236:11–17; Tr. at 3234:1–6, 3256:15–3257:4. She did not receive any
assistance while voting in either election.
Amy Litzinger, a registered voter in Travis County and a member of The Arc. Tr. at 3281:14–17. Ms. Litzinger voted
without assistance from her personal attendant in the March 2022 primary and November 2022 general election
because she and her attendant were concerned about criminal liability under the Oath. Tr. at 3291:4–3292:5.
Ms. Crowther did not take her attendant with her to vote in May 2022 because of her fear that the Oath could jeopardize
her relationship with her attendant. HAUL-413, Crowther Dep. at 52:11–53:4, 54:7–14.
34
  The Arc’s mission is to “promote, protect, and advocate for the human rights and self–determination of Texans with
intellectual and developmental disabilities.” Id. at 3490:23–25, 3493:7–9. Voting is “the backbone” of The Arc’s work
because it is critical to members’ self-determination and voting rights advocacy has been a priority since The Arc’s
founding. Tr. at 3499:23–3500:12, 3499:23–3500:12.



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carrier envelope) and LUPE-189 (Oath of Assistance form). The Oath regulates Ms. Nunez

Landry, Ms. Halvorson, Ms. Litzinger, and Ms. Crowther directly by requiring them to represent

their eligibility to potential assistors as a condition of their eligibility.

        Plaintiffs’ injuries from these provisions are fairly traceable to the local election officials

who are responsible for administering the Oath in polling places, TEC § 64.034, and printing,

sending, receiving, and reviewing mail carrier and ballot envelopes, TEC §§ 86.002–.004, 86.008–

.009, 86.011. Thus, their injuries are fairly traceable the Bexar County EA, Harris County Clerk,

and Travis County Clerk, because Plaintiffs’ members suffered their injuries while voting in those

jurisdictions.

        The Arc members’ injuries are also traceable to the DAs in those counties and the State

Defendants based on the chilling effect that the credible threat of criminal enforcement of the Oath

against their assistors have had on their willingness and ability to receive assistance from their

chosen assistors. Although Ms. Nunez Landry, Ms. Halvorson, Ms. Litzinger, and Ms. Crowther

are not themselves subject to criminal sanctions under § 6.04, given the practical realities of these

voters’ relationships with their chosen assistors—including their physical dependence on their

attendants for assistance outside of voting—their unwillingness to expose their assistors to

criminal liability is “sufficiently predictable” to establish causation for standing purposes. All. for

Hippocratic Med., 602 U.S. at 386.

         Similarly, their attendants’ unwillingness to provide in-person or mail-ballot assistance

due to potential criminal liability under S.B. 1 is not speculative—attendants specifically cited the

“penalty of perjury” and “eligibility” language in the Oath as their reasons for declining to provide

assistance. Tr. at 3319:7–16 (Ms. Halvorson’s attendant told her that she was unwilling to take the

Oath of assistance “under penalty of perjury” due to her green card status); Tr. at 3291:4–3292:5




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(Ms. Litzinger’s attendant was not comfortable assisting her due to fear of criminal liability under

the Oath, especially with respect to the meaning of “eligibility” and “assistance”). Indeed, the

chilling effect on assistors was actually foreseen by disability rights advocates who testified before

the Texas legislature in opposition to S.B. 1. See, e.g., HAUL-216.

         Thus, The Arc’s “theory of standing thus does not rest on mere speculation about the

decisions of third parties; it relies instead on the predictable [and actual] effect of Government

action on the decisions of third parties.” Dep’t of Com. v. New York, 588 U.S. at 767 (recognizing

that citizenship question on the census was likely to depress non-citizens’ response rate).

         The State of Texas enforces election crimes, including violations of the Oath of Assistance

through county and local prosecutors. Stephens, 663 S.W.3d at 52. The State has not disavowed

enforcement. KVUE, Inc. v. Moore, 709 F. 2d 922, 930 (5th Cir. 1983) (holding that plaintiffs had

standing to pursue a pre-enforcement challenge in part because “the state has not disavowed

enforcement”), aff’d sub nom. Texas v. KVUE-TV, Inc., 465 U.S. 1092 (1984). Individual County

DAs may not disavow such enforcement under Texas law. See TEX. LOC. GOV’T CODE §

87.011(3)(B) (prohibiting district attorneys from adopting an enforcement policy of refusing to

prosecute a type or class of criminal offense). 35

         Plaintiffs’ organizational injuries are also traceable to the AG, who, even after Stephens,

retains “broad investigatory powers” under the Election Code, State’s Br. at 49, LUPE v. Scott,

No. 22-50775 (5th Cir. Dec. 9, 2022), ECF No. 62, and may “direct the county or district attorney

. . . to conduct or assist the attorney general in conducting the investigation.” See TEC § 273.002(1)



35
  Neither the Bexar County DA nor the Travis County DAs have disavowed enforcement of the challenged provisions.
See ECF No. 753-5 (Bexar County) ¶¶ 2–6; ECF No. 753-6 (Travis County) ¶ 2. Coupled with TEX. LOC. GOV’T CODE
§ 87.011(3)(B), the Harris County DA’s history of accepting referrals for Election Code prosecutions from the AG
following S.B. 1, see supra ¶ 98, is sufficient to establish a substantial threat of future injury to Plaintiffs’ members’
right to assistance under Section 208.



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(emphasis added); see also id. § 273.001 (district attorneys must investigate alleged violations

referred to them). On top of this investigatory power, “the Attorney General can prosecute with

the permission of [a] local prosecutor,” Stephens, 663 S.W.3d at 55, and no County DA has

disavowed a willingness to let the AG pursue cases within their counties.

         An order declaring the challenged language in the amended Oath unlawful and enjoining

its enforcement would remove the chilling effect on voter assistance that the provisions presently

impose on these members of The Arc and their assistors. See Ctr. for Individual Freedom v.

Carmouche, 449 F.3d 655, 661 (5th Cir. 2006) (finding “redressability prong[] of the standing

inquiry . . . easily satisfied” where “[p]otential enforcement of the statute caused the [plaintiff’s]

self-censorship, and the injury could be redressed by enjoining enforcement of the [statute]”);

McCraw, 504 F. Supp. 3d at 582 (W.D. Tex. 2020), aff’d, 90 F.4th 770 (5th Cir. 2024) (similar).

         In short, with respect to their Section 208 challenge to S.B. 1 § 6.04, members of The Arc

are “sufficiently adverse” to the State Defendants and the election officials and DAs of Bexar

County, Harris County, and Travis County to present a case or controversy within this Court’s

jurisdiction. Babbitt, 442 U.S. at 302.

         DST and the LUPE Plaintiffs have organizational standing to challenge §§ 6.03–6.05, 6.07

         DST, LUPE, MABA, and FIEL have had difficulty recruiting members to provide voting

assistance services due to the threat of criminal sanctions under S.B. 1’s Assistor Disclosure and

Oath requirements, and some members have stopped providing assistance altogether. 36


36
   Tr. at 2203:10–15, 2202:9–14, 2110:12–2111:1, 2148:25–2149:10 (DST chapters have had difficulty recruiting
members who are willing to risk criminal liability to provide assistance, by mail or in-person, under S.B. 1, and some
chapters have ceased providing voting assistance altogether due to the threat of enforcement of the Assistor Disclosure
and amended Oath requirements); Tr. at 80:2–82:12, 150:15 (LUPE’s staff and volunteers who assist voters are
frightened by the new oath language, and as a result LUPE’s staff and volunteers have restricted their assistance to
voters, encouraging voters to seek assistance from friends and family members before turning to LUPE); see also Tr.
at 145:25–46:4 (LUPE employee Chris Rocha); LUPE-284 at 13:19–14:15; 32:2–8; 17:2–13 (LUPE volunteer Maria
Gomez); Tr. at 2543:16–23 (MABA members are no longer willing to provide voter assistance due to fears about the



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        The Assistor Disclosure requirements are burdensome to assistors and have also caused

delays at polling places that have interfered with voting assistance. 37 Providing such assistance is

a core part of their respective missions. 38

        Plaintiffs’ organizational injuries are fairly traceable to S.B. 1 §§ 6.03–6.05. The chilling

effect that the Assistor Disclosure and Oath requirements would have on individuals’ willingness

to provide voting assistance—and the downstream effects on organizations’ ability to perform

voter assistance services—was “sufficiently predictable” to establish causation for standing

purposes. All. for Hippocratic Med., 602 U.S. at 386; see Shelton, 364 U.S. at 486, NAACP, 357

U.S. at 462; Dep’t of Com. v. New York, 588 U.S. at 767. Indeed, the chilling effect on assistors

was actually foreseen by disability rights advocates who testified before the Texas legislature in

opposition to S.B. 1. See, e.g., HAUL-216.

        Here again, the organizations’ injuries are traceable to the Secretary, who creates forms

implementing the requirements, and to local election officials, who administer oaths, collect

disclosures, and review mail ballots in the counties in which DST, LUPE, MABA, and FIEL

operate. 39 Their organizational injuries are also fairly traceable to the State Defendants and the




Oath requirements); Tr.at 2470:22–25, 2430:3–4, 2439:6–23, 2444:24–2445:7 (FIEL has had difficulty recruiting
volunteers to provide voter assistance at the polls and some members have stopped providing assistance).
37
   Tr. at 81:15–25 (Chavez Camacho); Tr. at 383:14–18 (Scarpello); Tr. at 732:8–733:17 (Garza); Tr. at 1057:12–24
(Callanen); Tr. at 2316:16–20 (Ramon).
38
   Tr. at 2081:7–13, 2086:21–2087:15 (DST provides in-person and mail-ballot voter assistance in support of its
“political awareness and involvement” mission); Tr. at 60:10–61:2 (LUPE provides voting assistance to support its
mission of increasing civic engagement in the colonias); Tr. at 2533:24–2534:4, 2535:11–2536:5 (MABA provides
voter assistance to support its mission to promote public service by its members and promote civic engagement); Tr.
at 2438:9–11, 2444:24–2445:3 (FIEL furthered its mission of voter outreach and civic engagement by assisting its
members in voting at the polls).
39
  All Plaintiffs operate within the State of Texas and thus are subject to enforcement by the State Defendants. LUPE
serves voters in Hidalgo County, Tr. at 58:13–16, and. FIEL serves voters in Harris County. MABA and DST have
chapters throughout Texas, including Bexar, Harris, Dallas, and Travis Counties Tr. at 2533:21–23, 2536:17–20
(MABA); Tr. at 2083:13–25 (DST).



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local DAs in those counties based on the chilling effect that the “credible threat” of criminal

enforcement has on their willingness to provide BBM assistance.

        Even before S.B. 1, the Election Code required election officials to note an assistor’s name

and address next to each voter they assisted in the poll list, TEC § 64.032(d) (1986), and required

assistors to provide the same information and their signature on the outside of voters’ mail-ballot

carrier envelopes, TEC § 86.010(e), JEX-1 at 53. Accordingly, Plaintiffs cannot establish that any

injuries arising from the mere disclosure of assistors’ names and addresses—at the polls or on the

mail ballot carrier envelopes—would be redressed by an order enjoining enforcement of Sections

6.03 and 6.05. Section 6.03 did not relieve election officials of their duty to separately record

assistors’ names and addresses in the poll list under TEC § 64.032(d). Indeed, the Secretary has

issued several form poll lists that contain spaces for recording assistors’ names and addresses. 40

Being required to provide duplicative information on a separate form for each voter that an assister

helps is undoubtedly burdensome.

        An order declaring the challenged language in the amended Oath and the Assistor

Disclosure requirements unlawful and enjoining their enforcement would remove the chilling

effect on voter assistance that has impaired the organization’s ability to provide assistance services

to voters.

        The Court concludes that DST, LUPE, MABA, and FIEL are “sufficiently adverse” to the

State Defendants, the election officials and DAs of Bexar, Harris, Travis, and Dallas Counties and

the 34th Judicial District to present a case or controversy within this Court’s jurisdiction. Babbitt,

442 U.S. at 302.


40
   See, e.g., Tex. Sec’y of State, Form 7-57, https://perma.cc/RAZ3-2G7K; Tex. Sec’y of State, Form 7-59,
https://perma.cc/NN7T-PM9P; Tex. Sec’y of State, Form 7-61, https://perma.cc/G79M-NWKG; see also Tex. Sec’y
of State, Texas Requirements for Electronic Pollbook Forms at 2, https://perma.cc/TH7A-2D79 (requiring poll book
to entry for each voter to contain fields for assistor’s name and address).



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Section 6.06 – Prohibition on Compensated Mail-Ballot Assistance

         Section 6.06 is challenged by the OCA Plaintiffs and the LUPE Plaintiffs. OCA, the

League, LUPE, and MABA are regulated by Section 6.06 of S.B. 1 because they have provided

their staff members and volunteers with “compensation,” as it is broadly defined under TEX. PENAL

CODE § 38.01(3), for assisting voters, including mail voters. 41 As a result, Plaintiffs have stopped

assisting mail voters. 42

         “When the suit is one challenging the legality of government action or inaction” and “the

plaintiff is himself an object of the action (or forgone action) at issue[,] . . . there is ordinarily little

question that the action or inaction has caused him injury, and that a judgment preventing or

requiring the action will redress it.” Lujan, 504 U.S. at 561–62.

         Again, because their conduct is being directly regulated by Section 6.06 and exposes the

OCA Plaintiffs (and their members) to criminal liability, their organizational injuries—their

inability to provide mail-ballot assistance—is fairly traceable to the State Defendants and to the

DAs in the jurisdictions in which Plaintiffs operate. 43

         Both the OCA and LUPE Plaintiffs’ name local election officials as Defendants to their

Section 208 challenges to the S.B. 1 § 6.06. See ECF No. 200 at 61; ECF No. 208 at 76. Plaintiffs

have not identified, and the Court cannot locate, any reason to believe that their organizational



41
   See Tr. at 1694:21–1696:8, 1699:24–1702:2, 1706:12–1707:3 (OCA provided meals, beverages, snacks, academic
credit, shirts, and other nominal gifts to volunteers, who provide assistance to mail voters during OCA events); Tr. at
1598:6–15 (League volunteers who assist members and other voters “often get little pens,” “stickers” “cookies”
“doughnuts” and “pizza); Tr. at 75:11–17, 124:14–127:13 (LUPE relies primarily on paid staff members); Tr. at
2539:3–4, 2542:6–20 (MABA are concerned that they are committing a crime if they accept meals, gas cards, swag
or other forms of compensation while providing voting assistance).
42
   Tr. at 1717:5–13, 1719:3–22, 1723:6–19, 1724:3–15, 1726:21–1727:6 (OCA); Tr. at 1620:7–1621:1 at (LWV); Tr.
at 86:9–86:13, 86:14–87:2, 87:3–87:21 (LUPE); Tr. at 2542:17–20, 2543:16–23, 2544:14–16 (MABA).
43
  All Plaintiffs operate within the State of Texas and thus are subject to enforcement by the State Defendants. OCA
operates primarily in Harris County, Tr. at 1688:10–14, and the League operates chapters throughout the State of
Texas, including in Travis County, Tr. at 1586:12–13. LUPE serves voters in Hidalgo County, Tr. at 58:13–16, and
MABA operates throughout the State of Texas. Tr. at 2533:21–23.



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injuries caused by the Section 6.06 are fairly traceable to (or redressable by) local election officials,

who have no criminal enforcement authority under the Election Code. Accordingly, Plaintiffs lack

standing to sue these local election officials in connection with their challenges to Section 6.06.

Section 7.04 – Canvassing Restriction

               Section 7.04 is challenged by the LUPE Plaintiffs and the LULAC Plaintiffs. At trial,

Plaintiffs established by a preponderance of the evidence that LUPE and LULAC and their staff

and volunteers are presently and prospectively subject to Section 7.04.

               Both organizations:

                  (a) have supported ballot measures and/or candidates in the past and intend
                      to do so in the future; 44

                  (b) have advocated for their positions through in-person voter engagement
                      efforts, such as neighborhood block-walking, tabling in public places,
                      and hosting candidate forums, town hall meetings, and other events at
                      their offices and in members’ homes; 45

                  (c) reasonably expect mail-in ballots to be present during such interactions
                      with voters, who often take out their ballots at election events or in
                      conversations with door-to-door canvassers because they have
                      questions about the ballot or needed voting assistance; 46 and

                  (d) maintain staff and/or volunteers who receive some “benefit” in
                      exchange for their in-person canvassing efforts. 47


44
  Tr. at 89:2–18 (LUPE has supported ballot measures, including a drainage bond, the creation of a health care district
in Hidalgo County, increased broadband access in South Texas); Tr. at 2542:6–8 (MABA routinely encourages
support for candidates and ballot measures by tabling at local events, such as candidate forums); Tr. at 1632:25–
1633:9 (LULAC does not endorse particular candidates but has taken positions on issues such as school and municipal
bond measures, state constitutional amendments, and ballot propositions affecting taxes and public education).
45
   Tr. at 71:1–72:15, 75:11–75:17, 90:4–24, 119:20–120:18 (LUPE members brought mail ballots to LUPE offices
and meetings and took them out during interactions with door-to-door canvassers and asked for voting assistance); Tr.
at 2535:21–2536:5 (MABA tables at local events, including candidate forums and provides voter assistance ); Tr. at
1654:2–1657:19 (LULAC members provided voter assistance during their GOTV efforts with senior citizens).
46
     See id.
47
  Tr. at 75:11–17 (LUPE relies primarily on paid staff members and temporary paid canvassers); Tr. at 2542:17–20,
2544:14–16 (MABA volunteers are concerned that accepting gas cards, meals, swag, or a bottle of water will expose
them to criminal liability); Tr. at 1654:2–1657:19 (LULAC volunteers receive modest compensation in the form of
raffle tickets, food, and gasoline money).



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         Accordingly, the LUPE and LULAC Plaintiffs can no longer ask staff members to provide

mail-ballot assistance as part of their jobs or treat volunteers who provide such assistance during

in-person events. 48 Again, because their conduct is being directly regulated by the Canvassing

Restriction and exposes Plaintiffs to criminal liability, their organizational injury—their inability

to provide mail-ballot assistance—is fairly traceable to the State Defendants and to the DAs in the

jurisdictions in which Plaintiffs operate. 49

         These injuries are also “likely to be redressed by a favorable judicial decision.” Spokeo,

Inc., 578 U.S. at 338. An order declaring that S.B. 1 § 7.04 is preempted by Section 208 and

enjoining its enforcement by the State Defendants and County DAs would remove the restrictions

and burdens on assistors that have frustrated Plaintiffs’ ability to provide voting assistance services

and Texas voters’ right to vote with their chosen assistors under Section 208.

         The LUPE and LULAC Plaintiffs’ position with respect to Section 7.04’s Canvassing

Restriction is “sufficiently adverse” to the State Defendants and the County DAs to present a case

or controversy within this Court’s jurisdiction. Babbitt, 442 U.S. at 302.

         Both the LUPE and LULAC Plaintiffs’ name local election officials as Defendants to their

Section 208 challenges to the Canvassing Restriction. See ECF No. 207 at 60; ECF No. 208 at 76.

Plaintiffs have not identified, and the Court cannot locate, any reason to believe that their

organizational injuries caused by the Canvassing Restriction are fairly traceable to local election

officials, who have no criminal enforcement authority under the Election Code. Accordingly,


48
   See Tr. at 120:19–120:25 (LUPE staff and volunteers to fear prosecution and to stop assisting voters when they are
canvassing on a ballot measure); Tr. at 2543:16–23 (MABA members are no longer willing to provide voter
assistance); Tr. at 1655:10–18 (LULAC volunteers “scaled . . . down” their GOTV efforts and decided not to conduct
voter outreach with seniors, many of whom require voting assistance, for “fear that they could be subject to prosecution
if they help seniors vote by mail”).
49
  All Plaintiffs operate within the State of Texas and thus are subject to enforcement by the State Defendants. LUPE
serves voters in Hidalgo County, Tr. at 58:13–16, and MABA and LULAC have chapters throughout the State of
Texas, Tr. at 2533:21–23 (MABA); Tr. at 1634:6–20 (LULAC).



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Plaintiffs lack standing to sue these local election officials in connection with their challenges to

Section 7.04.

SECTION 208 PREEMPTION

Legal Framework

       Section 208’s text is “unambiguous.” OCA–Greater Hous. I, 867 F.3d at 614. It provides

that voters with disabilities and voters unable to read or write are entitled to voting assistance from

“a person of the voter’s choice, other than the voter’s employer or agent of that employer or officer

or agent of the voter’s union.” 52 U.S.C. § 10508.

       The Supremacy Clause of the U.S. Constitution requires preemption of any state statute

that, when enacted, makes compliance with both federal and state law impossible or “stands as an

obstacle to the accomplishment and execution of the full purposes and objectives of Congress” in

enacting Section 208. Oneok, Inc. v. Learjet, Inc., 575 U.S. 373, 377 (2015) (internal citations

omitted).

       Congress enacted Section 208 with the “clear purpose to allow [a] voter to decide who

assists them” during the voting process. Ark. United v. Thurston (Ark. United II), 626 F. Supp. 3d

1064, 1085 (W.D. Ark. 2022), appeal docketed, No. 22-2918 (8th Cir. Sept. 12, 2022). It found

“this broad protection was necessary to prevent discrimination against voters who require

assistance because ‘many such voters may feel apprehensive about casting a ballot in the presence

of, or may be misled by, someone other than a person of their own choice.’” Id. at 1085–86 (citing

S. Rep. No. 97-417 at 62 (1982)). The Senate Report explained that Section 208 was necessary “to

limit the risks of discrimination against voters in these specified groups and avoid denial or

infringement of their right to vote.” Id. (emphasis added).




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       Section 208 provides covered voters with more than a bare right to assistance in the poll

booth. Rather, it ensures that they will have access to any kind of assistance they need, at any step

of the voting process, from a person of their choice other than their employer or a representative

of their union. See, e.g., OCA-Greater Hous. I, 867 F.3d at 615 (explaining that assistance to vote

“plainly contemplates more than the mechanical act of filling out the ballot sheet”). Section 208

thus preempts state laws that impermissibly constrain access to voting assistance in various ways.

See id. at 614 (concluding that a limitation on assistance “beyond the ballot box”—even with

“near–unfettered choice of assistance inside the ballot box”—“impermissibly narrows the right

guaranteed by Section 208” (emphasis in original)); see also OCA Greater Hous. v. Texas (OCA-

Greater Hous. II), No. 1:15-CV-679, 2022 WL 2019295, at *3 (W.D. Tex. June 6, 2022)

(modifying injunction to enjoin new state law “limiting the activities eligible for assistance to

‘marking or reading the ballot’” (citation omitted)).

       Because a state law can interfere with a voter’s substantive rights under Section 208 by

regulating assistors just as readily as by regulating voters needing assistance, laws regulating

assistors may stand as obstacles to accomplishing Congress’s objectives in enacting Section 208.

Determining whether they in fact frustrate Congress’s purpose is “a matter of judgment, to be

informed by examining the federal statute as a whole and identifying its purpose and intended

effects.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 373 (2000); see also Fla. Lime &

Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142–43 (1963); Arizona v. United States, 567 U.S.

387, 399 (2012); Felder v. Casey, 487 U.S. 131, 151 (1988) (state law preempted where it

“interferes with and frustrates the substantive right Congress created”).

       Consistent with Section 208’s text, context, and history, courts have found state laws

regulating assistors to be preempted both because compliance with such laws makes full




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compliance with Section 208 impossible, see Disability Rts. N.C. v. N.C. State Bd. of Elections

(Disability Rts. N.C. II), No. 5:21-CV-361-BO, 2022 WL 2678884, at *4–6 (E.D.N.C. July 11,

2022); Democracy N.C. v. N.C. State Bd. of Elections, 476 F. Supp. 3d 158, 235 (M.D.N.C. 2020),

and because such laws “pose[] an obstacle to Congress’s clear purpose to allow the voter to decide

who assists them at the polls,” Ark. United II, 626 F. Supp. 3d at 1085; see also, e.g., OCA-Greater

Hous. I, 867 F.3d at 614–15.

          In support of their view that states are permitted to further restrict voters’ choice of

assistor—beyond the two groups excluded by the text of the statute—the State Defendants insist

that Section 208 only guarantees “an” assistor of the voter’s choice, not “the” assistor of the voters’

choice. See ECF No. 862 ¶ 551 (citing Priorities USA v. Nessel, 487 F. Supp. 3d 599, 619 (E.D.

Mich. 2020), rev’d and remanded, 860 F. App’x 419 (6th Cir. 2021)). 50 Thus, according to the

State Defendants, “Section 208 recognizes that covered voters have the right to select a someone

as an assistor, as opposed to having one chosen for them, but it does not guarantee them their first

choice; nor does it foreclose Texas from enacting reasonable regulations on whom might assist

voters and the procedural prerequisites assistors must follow.” Id. The Court is not persuaded by

the State Defendants’ tortured grammatical analysis, which is unsupported by the plain text of

Section 208, Congress’s legislative intent, or common sense.

         To begin, nothing in the text of Section 208 allows states to impose additional limitations

or exceptions not stated in the statute. “[W]here Congress explicitly enumerates certain exceptions


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  The Court is neither bound nor persuaded by Nessel, which has also been rejected by other courts. See, e.g., Ark.
United I, 2020 WL 6472651, at *4 (“[T]he Court is unconvinced by the opinion in Nessel.”). Nessel flouts the settled
canon that enumerated statutory exceptions are presumed to be exclusive, engages in an undue burden analysis
unsupported by the statute and preemption law, and misreads the legislative history by overlooking the importance of
voter choice as Congress’s chosen remedy. Compare Nessel, 487 F. Supp. 3d at 619 (relying solely on dictionary
definition of “a” to interpret Section 208), with Niz-Chavez v. Garland, 141 S. Ct. 1474, 1481 (2021) (explaining that
courts must look at the statutory context to determine the meaning of “a”); see also United States v. Alabama, 778
F.3d 926, 933 (11th Cir. 2015) (“We have repeatedly found . . . that the context of a statute required us to read ‘a’ or
‘an’ to mean ‘any’ rather than ‘one.’”).



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to a general prohibition, additional exceptions are not to be implied, in the absence of evidence of

a contrary legislative intent.” Hillman v. Maretta, 569 U.S. 483, 496 (2013) (quoting Andrus v.

Glover Constr. Co., 446 U.S. 608, 616–17 (1980)); see also United States v. Rand, 924 F.3d 140,

144 (5th Cir. 2019). As the Fifth Circuit analogized in another context:

           [W]hen Congress provided the two exceptions to the . . . requirement, it
           created all the keys that would fit. It did not additionally create a skeleton
           key that could fit when convenient. To conclude otherwise “would turn this
           principle on its head, using the existence of two exceptions to authorize a
           third very specific exception.”

Parada v. Garland, 48 F.4th 374, 377 (5th Cir. 2022) (quoting Quebrado Cantor v. Garland, 17

F.4th 869, 874 (9th Cir. 2021)).

       No other exceptions are provided, and nothing in the statute suggests that extra-textual

exceptions can be imposed or implied. See Ark. United v. Thurston (Ark. United I), No. 5:20-CV-

5193, 2020 WL 6472651, at *4 (W.D. Ark. Nov. 3, 2020) (“[T]here is nothing in the statutory

language to suggest that a state may burden, unduly or otherwise, the right [to choice] articulated

in § 208.”). “The express exclusion of only two groups is significant, because it implies that all

other categories of assisters are permitted. If Congress intended to exclude more categories, or to

allow states to exclude more categories, it could have said so.” Disability Rts. N.C. v. N.C. State

Bd. of Elections, No. 5:21-CV-361-BO, 2022 WL 2678884, at *4 (E.D.N.C. July 11, 2022)

(“[O]ther than these two excluded groups, the plain language of Section 208 gives voters

unrestricted choice over who may assist them with the voting process”).

       The Senate Judiciary Committee’s Report—which is the “authoritative source for

legislative intent” regarding the 1982 amendments to the Voting Rights Act, Thornburg v. Gingles,

478 U.S. 30, 43 n.7 (1986)—confirms Congress’s intent that covered voters must be allowed

assistance “from a person of their own choosing, with two exceptions” only. S. Rep. No. 97-417




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at 2; see also Niz-Chavez v. Garland, 141 S. Ct. 1474, 1481 (2021) (explaining that courts must

look at the statutory context to determine the meaning of “a”). Indeed, Congress viewed the

guarantee of choice as so central to its remedial scheme that it noted Section 208’s employer

exception should yield in certain circumstances where “the burden on the individual’s right to

choose a trustworthy assistant would be too great to justify application of the bar on employer

assistance.” Rep. No. 97-417 at 64.

         The State Defendants’ reading also flatly contradicts Texas’s own interpretation of Section

208. The Election Code provides that, “on the voter’s request, the voter may be assisted by any

person selected by the voter other than the voter’s employer, an agent of the voter’s employer, or

an officer or agent of a labor union to which the voter belongs.” TEC § 64.032(c) (emphasis added).

In OCA-Greater Hous. I, Texas argued that this provision “track[s] the plain language of Section

208,” 867 F.3d at 615, and the Fifth Circuit approved of this reading, interpreting the state law

assistor provisions as granting physically disabled voters “the right to select any assistor of their

choice, subject only to the restrictions expressed in Section 208 of the VRA itself.” Id. at 608.

Texas and the Fifth Circuit have used “a” and “any” interchangeably when interpreting Section

208 without adopting the contrived distinction the State Defendants now propose. Id.; cf. United

States v. Naranjo, 259 F.3d 379, 382 (5th Cir. 2001) (“‘Such a violation’ . . . refers to . . . any

violation . . . .”).

         The facts of OCA-Greater Hous. I itself foreclose the State Defendants’ interpretation. In

that case, Mallika Das, a registered voter in Williamson County, brought her son to serve as an

interpreter in the polling place. Her son was barred from assisting Ms. Das, however, under a Texas

statute, TEC § 61.033, that limited the class of eligible interpreters in each county to individuals




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registered to vote in the same county. Because he was registered to vote in Travis County, Mr.

Das’s son was prohibited from serving as his mother’s interpreter in Williamson County.

        The Fifth Circuit affirmed the district court’s conclusion that denying Ms. Das the right to

select her son as an interpreter violated her right to vote with assistance from the person of her

choice under Section 208. The Fifth Circuit did not conclude, as the State Defendants propose

here, that the interpreter provision was consistent with Section 208 because it still permitted Ms.

Das to make a choice among the narrow class of translators eligible under state law. That is, even

though Ms. Das could have chosen someone else—any voter registered in Williamson County who

spoke her language—to serve as her translator, her right to assistance from “a” person of her choice

under Section 208 was violated because the law precluded her from receiving assistance from “the”

person she actually chose—her son.

        The State Defendants insist that the Fifth Circuit’s decision in OCA-Greater Hous. I is

inapposite because it hinged on the VRA’s capacious definition of “vote,” rather than regulating

assistors themselves. ECF No. 862 ¶¶ 562–68. But the translator restriction violated Section 208

only because, under the VRA’s expansive definition of “voting,” narrowing the class of eligible

translators necessarily narrowed the class of eligible assistors beyond the two categories identified

in the text of Section 208. In reaching this conclusion, the Fifth Circuit clarified that a “state cannot

restrict [Section 208’s] federally guaranteed right by enacting a statute tracking its language, then

defining terms more restrictively than as federally defined.” 867 F.3d at 615.

        The indefinite “a” (as opposed to the definite “the”) is appropriate because the identity of

the chosen assistor is (and cannot be not) known to the reader of the statute. Moreover, the

indefinite article clarifies that Section 208’s protections are enforceable against attempts by states

and local governments (and their officials) to encroach on a voter’s choice of assistor; it is not




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enforceable against putative assistors themselves. A right to assistance from “the” person of a

voter’s choice would imply that chosen assistors must provide the assistance requested of them.

But Section 208 does not permit voters to conscript assistors who are unwilling or unable to help;

it prohibits regulations that effectively narrow the universe of willing and eligible assistors from

which a voter can choose. 51

         The State Defendants’ reading would eviscerate Section 208 by permitting states to give

voters a “choice” between two assistors hand-picked by the state because voters could receive

assistance from “a person” of their choice between the two possibilities. Section 208’s use of “a”

to modify “person” does not obviate Section 208’s essential guarantee, and it is no evidence of an

“intent by Congress to allow states to restrict a federally created right, for Congress does not ‘hide

elephants in mouseholes.’” Disability Rts. N.C. v. N.C. State Bd. of Elections (Disability Rts. N.C.

I), 602 F. Supp. 3d 872, 878 (quoting Whitman v. Am. Trucking Ass’ns, Inc., 531 U.S. 457, 468

(2001)).

         In their motion for summary judgment, the Intervenor-Defendants suggest that S.B. 1’s

restrictions on choice of assistor are “exactly the type of laws Congress sought to leave undisturbed




51
   It is self-evident that the assistor must be actually capable of providing the assistance the voter needs in order to
serve as an assistor. The State Defendants’ and Intervenor-Defendants fanciful hypotheticals about the scope of voters’
right to receive assistance are unavailing. For example, Intervenor-Defendants argue that Plaintiffs’ reading would
allow a voter to select an incarcerated person as an assistor. ECF No. 608 at 35. As the court in Ark. United I explained,
“a common-sense reading of § 208 suggests that any assistor chosen by a voter must be willing and able to assist. If a
chosen person declines to assist the voter or simply does not show up at the polling place, that person has not violated
§ 208.” 626 F. Supp. 3d 1064, 1087 (W.D. Ark. 2022). “And an incarcerated person would not be able assist at the
polling place for reasons that are completely unrelated to [Texas’s] elections laws.” Id.
At trial, counsel for the State Defendants similarly posited that Plaintiffs’ reading of Section 208 would require
election officials to admit assistors who refuse to provide assistance unless they can bring a firearm into the polling
place. Not so. There is no question that assistors remain subject to generally applicable laws. At issue here, however,
are laws that regulate voting assistors in their capacity as voting assistors (rather than as members of the general
public). But regulations governing “voter assistance” must “be established in a manner which encourages greater
participation in the electoral process.” S. Rep. No. 97-417 at 241. Because the provisions in S.B. 1 challenged in this
case regulate voter assistance specifically, the question before the Court is whether those provisions “encourage
greater participation in the electoral process.”



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when it enacted Section 208.” ECF No. 608 at 35. But the Senate Report refutes that. It directly

addresses which contemporary state laws Section 208 intended to leave undisturbed: those in

“many states [that] already provide for assistance by a person of the voter’s choice.” S. Rep. No.

97-417 at 63. Congress could have preserved other more restrictive state laws by adding more

exceptions to the text of Section 208. It didn’t. Instead, the Senate Judiciary Committee was clear

that guaranteeing voters their choice of assistor was “the most effective method of providing

assistance while at the same time conforming to the pattern already in use in many states.” Id. at

64. States may not second guess that decision. And while the Senate Committee recognized the

states’ rights “to establish necessary election procedures . . . designed to protect the rights of

voters,” it also clearly stated the intention that any such voter assistance procedures “be established

in a manner which encourages greater participation in the electoral process.” Id. at 241 (emphasis

added); see, e.g., id. at 240 (“Specifically, it is only natural that many such voters may feel

apprehensive about casting a ballot in the presence of, or may be misled by, someone other than a

person of their own choice . . . The Committee is concerned that some people in this situation do

in fact elect to forfeit their right to vote.”).

        Finally, given the evidence adduced at trial, the State Defendants’ grammatical argument

is purely academic: several voters who testified at trial have voted without assistance from their

chosen assistors under S.B. 1 because of its burdensome requirements on both voters and assistors.

Analysis

        Section 208 of the federal Voting Rights Act prohibits states from limiting voters’ right

to assistance and preempts conflicting state laws. S.B. 1 §§ 6.03–6.07 and 7.04 are preempted, in

whole or in part, by Section 208 of the VRA because:

               •   Section 6.04 requires voters to represent to their assistors that they
                   are eligible for assistance as a condition of receiving assistance.


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              •   Section 6.04 deters voter assistors by requiring them to swear,
                  under penalty of perjury, to additional information, including that
                  they did not pressure or coerce the voter into choosing them to
                  assist, and that they obtained a representation of eligibility of
                  assistance from the voter. Section 6.04 also deters voters from
                  using their chosen assistors for fear of placing them at risk of
                  criminal prosecution.

              •   Sections 6.03, 6.05 and 6.07 deter assistors by requiring them to
                  complete an additional form with duplicative information and
                  disclose their relationship to a voter as a prerequisite to providing
                  voter assistance.

              •   Sections 6.06 and 7.04 deny mail voters the ability to choose
                  assistors who are compensated or receive “anything reasonably
                  regarded” as an economic gain or advantage.

        Portions of the Oath of Assistance (§ 6.04) are preempted by Section 208

        Section 6.04 of S.B. 1 amends the Oath by adding the underlined and bolded language:

            I swear (or affirm) under penalty of perjury that the voter I am assisting
            represented to me they are eligible to receive assistance; I will not
            suggest, by word, sign, or gesture, how the voter should vote; I will prepare
            the voter’s ballot as the voter directs; I did not pressure or coerce the
            voter into choosing me to provide assistance; I am not the voter’s
            employer, an agent of the voter’s employer, or an officer or agent of a labor
            union to which the voter belongs; I will not communicate information
            about how the voter has voted to another person; and I understand that
            if assistance is provided to a voter who is not eligible for assistance, the
            voter’s ballot may not be counted.

TEC § 64.034.

        The Oath of Assistance set forth in S.B. 1 § 6.04 restricts the right of assistance protected

under Section 208 by conditioning voters’ eligibility for assistance on their “represent[ation] to

[their chosen assistor that] they are eligible to receive assistance.

        This new restriction on the right to assistance and other provisions of the Oath have also

deterred voters from requesting assistance and narrowed the universe of willing assistors, thereby

“interfer[ing] with and frustrat[ing] the substantive right Congress created” under Section 208.



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Felder, 487 U.S. at 151. Accordingly, those portions of Section 6.04, described below, are

preempted by Section 208 of the VRA.

                The “penalty of perjury” language is preempted by Section 208.

        The State Defendants assert that the “penalty of perjury” language in the Oath cannot

frustrate Section 208 because the Oath has always been taken under penalty of perjury. See ECF

No. 862 ¶ 455. It is true that, since 1974, it has been a Class A misdemeanor “make[] a false

statement under oath” with “intent to deceive and with knowledge of the statement’s” meaning

TEX. PENAL CODE § 37.02; see also id. § 12.21 (Class A misdemeanors can impose fines of up to

$4,000 and up to one year in confinement). S.B. 1, however, added a new provision increasing the

penalties for perjury as to oaths under the Election Code, making it a state jail felony to “knowingly

or intentionally make a false statement or swear to the truth of a false statement” in an oath with

“the intent to deceive.” TEC § 276.018.

        In any event, neither of the scienter requirements set forth in either perjury provision appear

in the Oath itself, with confusing results. What does it mean, for example, for an assistor to

“knowingly” make a false statement that he “understand[s] that if assistance is provided to a voter

who is not eligible for assistance, the voter’s ballot may not be counted.” Suggesting that an

assistor can be criminally liable for “knowingly” failing to understand a fact appears to be a

contradiction in terms. The Oath could have said, “I am not knowingly assisting someone who is

ineligible for assistance.” As written, however, the Oath requires assistors to confirm that voters

are eligible to receive assistance to ensure that their assistance will be effective (i.e., that the voter’s

ballot will count). Similarly, voters with cognitive disabilities or memory impairments may need

their assistors to remind them how they intended to vote or visually point out the voter’s preferred

candidate on the ballot. Because of the assistance he requires when voting, Mr. Cole understands




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this portion of the Oath to mean that he must either change how he votes or require his assistor to

commit perjury. Tr. at 710:20–711:11.

           At trial, voters, 52 assistors, 53 and election officials 54 alike characterized the “penalty of

perjury” language in the amended Oath as “intimidating,” “scary,” and “threatening.” Without any

reference to the scienter requirement of the Election Code’s perjury provision, there is nothing in

the Oath to mitigate these concerns. Even attorneys involved in voting assistance are concerned

about the reference to “perjury” in the Oath. MABA members find this language alarming because

they do not want to subject themselves to the consequences of being accused of perjury—and

potentially be disbarred—for providing voter assistance. Tr. at 2538:8–14; see also Tr. at 710:20–

711:11 (Cole).

           As it is written, the “penalty of perjury” language has deterred assistors from providing

qualified voters with assistance and deterred voters from requesting assistance they need to vote,

thereby frustrating Section 208’s purpose.

                    The statements regarding voter eligibility are preempted by Section 208.

           Section 6.04 conditions a voter’s eligibility for assistance on her willingness to make a

representation about her eligibility—in effect adding a new requirement to her eligibility for

assistance. That new requirement is preempted by Section 208, which affords voters the right to

assistance from their chosen assistor regardless of their representations to the assistor about why

they need assistance in the voting process. A voter’s eligibility for assistance is determined by the

conditions described in Section 208: blindness, disability, or inability to read or write. 52 U.S.C.



52
     See, e.g., Tr. at 3324:10–14 (Halvorson).
53
  See, e.g., Tr. at 147:10–148:8 (Rocha); Tr. at 3208:9–17; Tr. at 3217:12–3218:1 (Miller); Tr. at 2439:24–2440:10
(Espinosa); Tr. at 2540:21–23 (Ortega).
54
     See, e.g., Tr. at 175:6–176:8 (Wise); Tr. at 1312:25–1314:9 (Longoria).



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§ 10508. Imposing additional eligibility requirements on voters impermissibly narrows the class

of voters Section 208 was intended to protect.

       Moreover, the Election Code’s fixation with voter eligibility for assistance undermines any

assertion that Section 6.04 protects voters who need assistance. On its face, Section 6.04’s

eligibility language appears to protect only the inverse class of people—those who do not need

assistance. In other words, Section 6.04 gestures at the possibility of fraudulent assistance targeting

some ill-defined category of people who, for some reason other than blindness, disability, or the

inability to read or write, are especially vulnerable to manipulation. But “protecting” voters who

are ineligible for assistance does nothing to protect eligible voters. Assistance to an eligible voter

is no less effective because the same assistance is provided to someone who does not need it. More

importantly, Congress did not pass a law to protect voters who are ineligible for assistance; it

passed a law to protect those who need it. Texas cannot establish laws that protect the former at

the expense of the latter.

       Finally, it is not even clear to the Court that the Election Code even operates to “protect”

ineligible voters from “coercion” because even ballots voted in accordance with a voter’s wishes

may be voided if the voter received unauthorized assistance. See TEC § 64.037 (“If assistance is

provided to a voter who is not eligible for assistance, the voter’s ballot may not be counted.”). This

possibility—that an otherwise valid ballot might be tossed out based on a mistaken belief about a

voter’s eligibility for assistance—discourages assistance. Assistors with any uncertainty about the

meaning of “eligibility” or whether a particular individual is legally eligible will refrain from




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providing assistance. 55 See, e.g., Tr. at 3291:4–3292:5 (Litzinger); Tr. at 147:1–9 (LUPE); Tr. at

2543:21–16 (MABA).

           The Oath’s eligibility language is preempted because it “promise[s] to deter otherwise

lawful assistors from providing necessary aid to a vulnerable population.” Disability Rts. of Miss.

v. Fitch, 684 F. Supp. 3d 517, 520 (S.D. Miss. 2023), vacated as moot, 2024 WL 3843803 (5th

Cir. Aug. 14, 2024) (enjoining state law criminalizing third-party mail ballot collection and

regulating the “identity of allowable assistors” based on the ill-defined categories of exempt

assistors and broad impact on the state’s voting population, coupled with the threat of criminal

sanctions). Id. at 52. 56

                     The statement regarding “pressure or coerc[ion]” is preempted by Section 208.

           The Oath’s statement that the assistor did not “pressure or coerce” the voter into choosing

the assistor to provide assistance suffers from the same defects as the eligibility statements.

Specifically, the Oath does not define “pressure or coerce” or include a scienter element.

           Rather, by its text, the Oath requires an assistor to accurately judge the actual consequences

of their conduct on another person’s state of mind, judged against two undefined terms. But this



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   Upon the suggestion by counsel for the State Defendants that voters concerned about their eligibility for assistance
should contact the SOS office regarding the requirements of the Oath, Ms. Nunez Landry responded: “So I guess all
disabled people have to call the Secretary of State to find out precisely whether we’re eligible to vote [with assistance]
and whether we’re pressured or coerced? They are going to be a very busy office I would think.” Tr. at 3265:21–
3266:11. Impracticality aside, counsel’s proposal would not cure the Oath’s Section 208 problem because, much like
the representation of eligibility, it would impose an additional eligibility requirement on voters who need assistance
(i.e., that they confirm their eligibility with the SOS).
56
     The court highlighted the dearth of evidence justifying the restrictions on ballot-dropping assistance:
                Defendants were unable to provide any data illustrating whether Mississippi has a
                widespread ballot harvesting problem. Seemingly, no fact-findings or committee-finding
                investigations or legislative committee inquiries have focused upon this perceived threat.
                This may explain why the definitional approach of the statute is so barren.
                Plaintiffs, contrariwise, have provided this court with examples of how S.B. 2358, which
                subjects violators to criminal penalties, would deter eligible absentee voters[.]
Disability Rts. of Miss., 684 F. Supp. 3d at 521–22.



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language fails to provide assistors with any notice about the standard of conduct to which they are

swearing or affirming. See Coates v. City of Cincinnati, 402 U.S. 611, 612 (1971). In Coates, for

example, the Supreme Court held that an ordinance prohibiting conduct that was “annoying to

persons passing by” was unconstitutionally vague because “[c]onduct that annoys some people

does not annoy others.” 402 U.S. at 614. The ordinance required “men of ordinary intelligence” to

“guess at its meaning” because it specified “no standard of conduct . . . at all.” Id.

        Similarly, the Eleventh Circuit recently struck down a statute prohibiting “activity with the

. . . effect of influencing a voter” as unconstitutionally vague because, even if the meaning of

“influence” was clear, because “[k]nowing what it means to influence a voter does not bestow the

ability to predict which actions will influence a voter.” League of Women Voters of Fla. Inc. v.

Fla. Sec’y of State, 66 F.4th 905, 947 (11th Cir. 2023). “How,” the court asked, “is an individual

seeking to comply with the law to anticipate whether his or her actions will have the subjective

effect of influencing a voter?” Id. “If the best—or perhaps only—way to determine what activity

has the ‘effect of influencing’ a voter is to ask the voter, then the question of what activity has that

effect is a ‘wholly subjective judgment[ ] without statutory definition[ ], narrowing context, or

settled legal meaning[ ].’” Id.

        Of course, the constitutionality of the Oath’s “pressure or coerce” language is not before

the Court; the question is whether the language frustrates Section 208 by deterring lawful voting

assistance. But the vagueness analysis explains the chilling effect that the “pressure or coerce”

statement has on assistance. See Tr. at 2540:11–16 (MABA) (assistors do not want to sign an oath

swearing to conduct that appears without definition or context); Tr. at 3249:21–3250:2 (Nunez

Landry) (worried that assistors will be too afraid to provide assistance due to confusion about the

meaning of the terms); Tr. at 733:21–734:7 (Garza) (“The wording is vague enough where . . . they




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might be concerned that they are going to violate the oath if they signed it.”). It is unreasonable to

expect assistors to swear an oath, under penalty of perjury, that requires them to guess at its

meaning. Grayned v. City of Rockford, 408 U.S. 104, 109 (1972) (“Uncertain meanings inevitably

lead citizens to steer far wider of the unlawful zone than if the boundaries of the forbidden areas

were clearly marked.”).

         The Court concludes that the chilling effect of the Oath’s vague statement requiring

assistors to swear that they did not “pressure or coerce” voters into choosing them as assistors

frustrates Section 208’s purpose. The language is therefore preempted by Section 208.

         The Assistor Disclosures (§§ 6.03, 6.05, 6.07) are preempted by Section 208

         The requirements that assistors complete an additional form disclosing duplicative

information at the polls and disclose their relationships with the voters they assist have deterred

voters from requesting assistance and narrowed the universe of willing assistors and thereby

“interfer[ed] with and frustrat[ed] the substantive right Congress created” under Section 208.

Felder, 487 U.S. at 151. Accordingly, S.B. 1 §§ 6.03 and 6.05 (as implemented by 6.07) are

preempted by Section 208 of the VRA.

         The Supreme Court has recognized the deterrent effect that disclosure requirements can

have on associative activities. See, e.g., Shelton, 364 U.S. at 486, NAACP, 357 U.S. at 462; Dep’t

of Com. v. New York, 588 U.S. at 767. 57 And, in this case, individuals who assist voters with whom

they do not have a preexisting relationship—including staff members and volunteers for the

Plaintiff organizations—have good reason to be concerned about the basis for the disclosure

requirement.


57
  It’s worth noting that the disclosure of an assistor’s address and relationship to the voter on the outside of the mail
ballot carrier envelope risks public exposure of that information given (1) the potential delay between the time the
mail ballot is completed and the time it is mailed or dropped off, and (2) the right to public inspection of the mail
carrier envelopes after the election. TEC § 86.014(b).



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        The State Defendants insist that such disclosures “help enforce” Section 208 “by having

assistors articulate their relationship to the voter, which lets county election officials flag violations

of the law.” ECF No. 862 ¶ 605. But both trial testimony and the text of S.B. 1 § 6.05 indicate that

the purpose of the “relationship disclosure” requirement is not to identify either of the categories

of prohibited assistors under Section 208. After all, the Oath of Assistance already requires in-

person and mail-ballot assistors to swear or affirm that they do not belong to either of the

proscribed classes. See, e.g., TEC § 64.034 (“I am not the voter’s employer, an agent of the voter’s

employer, or an officer or agent of a labor union to which the voter belongs[.]”).

        Instead, the “Voter Relationship Disclosure” requirement appears to be designed to

distinguish between assistors with no relationship to the voter and assistors who are family

members and caregivers to the voter, who Mr. White characterized as providing “normal

assistance.” See also TEC § 86.010(h)(2) (excusing close relatives from criminal penalties for

failing to disclose their relationship to the voter).

        But Section 208 is indifferent to Mr. White’s theories about “normal assistance.” Aside

from the two relationships explicitly identified in the text, Section 208 leaves the choice of assistor

entirely up to the voter. To be sure, some voters may prefer to vote with the assistance of a close

family member or friend. Others might be more comfortable receiving help from a stranger who

has been trained by a trusted community organization to provide high-quality voting assistance.

Such an assistor may be more familiar with the voting process (and thus help the voter avoid

common pitfalls) and, as a stranger serving multiple voters in an election period, may be less likely

to remember or care how an individual voter casts his or her ballot. Neither Mr. White nor the

State of Texas is permitted to second-guess the basis for the voter’s selection.




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        The “Voter Relationship Disclosure” discourages community organizations like the

Plaintiffs from providing voter assistance services by implicitly requiring that they have an

articulable relationship to the voters they assist beyond “assistor.” But nothing in the text of Section

208 suggests that Texas can adopt rules that discourage certain categories of assistors by, e.g.,

subjecting them to greater scrutiny, greater administrative burdens, and greater penalties for non-

compliance than the state’s preferred assistors. Such laws “pose[] an obstacle to Congress’s clear

purpose to allow the voter to decide who assists them at the polls,” Ark. United II, 626 F. Supp. 3d

at 1085; see also, e.g., OCA-Greater Hous. I, 867 F.3d at 614–15; see also Cummings v. Missouri,

71 U.S. 277, 278 (1866) (“[W]hat cannot be done directly cannot be done indirectly.”).

        Here, Texas seeks to supplant its belief that assistors should have a close, personal

relationship with voters over Congress’s judgment that voters should be empowered to choose

anyone other than their employer or union representative. Texas may not substitute its judgment

for that of Congress, or for that matter, Texans who require voting assistance. See Hughes v. Talen

Energy Mktg., LLC, 578 U.S. 150, 164 (2016) (explaining that “[s]tates may not seek to achieve

ends, however legitimate, through . . . means that intrude” on federal power); see also Ark. United

II, 626 F. Supp. 3d at 1086 (noting there is no “exception to the Supremacy Clause when a state

has a compelling interest in enacting a statute that conflicts with federal law”).

        While the Senate Committee recognized the states’ rights “to establish necessary election

procedures . . . designed to protect the rights of voters,” it also clearly stated the intention that any

such voter assistance procedures “be established in a manner which encourages greater

participation in the electoral process.” S. Rep. No. 97-417 at 63 at 241 (emphasis added). Thus,

any regulations of the assistors must encourage—or at a minimum not discourage—people from

providing voting assistance.




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       Congress’s concern for voters cannot serve as the basis for gutting the very means Congress

chose to address that issue. In fact, these differing paths to a common goal underscore that

preemption is appropriate. See Villas at Parkside Partners v. City of Farmers Branch, 726 F.3d

524, 529 (5th Cir. 2013) (“As the Supreme Court has cautioned, . . . ‘conflict is imminent’ when

‘two separate remedies are brought to bear on the same activity.’” (quoting Crosby, 530 U.S. at

380)); see also United States v. Locke, 529 U.S. 89, 115 (2000) (“[A] state law is not to be declared

a help because it attempts to go farther than Congress has seen fit to go.” (quoting Charleston &

W. Carolina Ry. Co. v. Varnville Furniture Co., 237 U.S. 597, 604 (1915))).

       The “Voter Relationship Disclosure” requirement set forth in S.B. 1 §§ 6.03–6.04 (and

implemented by S.B. 1 § 6.07) and the requirement that in-person assistors complete a separate

disclosure form under S.B. 1 § 6.03 is preempted by Section 208.

       The State Defendants correctly observe that none of the Plaintiffs challenge the

requirement that assistors disclose whether they “received or accepted any form of compensation

or other benefit from a candidate, campaign, or political committee” under TEC § 64.0322(a) or §

86.010(e)(3). See ECF No. 862 at 216–17. Plaintiffs’ failure to challenge that disclosure

requirement preserves the question on mail ballot carrier envelopes, but it does not save the

separate disclosure form prescribed by the Secretary of State for in-person voting. See LUPE-189.

For the compensation question to have any meaning, the assistor would still be required to provide

duplicative information—his name (and probably address)—on the form for identification

purposes. The answer to a single yes-or-no question cannot justify imposing an entirely new form

on each chosen assistor. The Secretary and local election officials can comply with Section 6.03

by adding the answer to this question to the poll lists, alongside the assistor’s name and address.




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See TEC § 63.004 (permitting the Secretary to combine the poll list, the signature roster, or any

other form used in connection with the acceptance of voters at polling places).

         Bans on Compensated Assistance (§§ 6.06 and 7.04) are preempted by Section 208

         The prohibitions on compensated assistance set forth in S.B. 1 §§ 6.06 and 7.04 conflict

with the text of Section 208 of the VRA because they facially restrict the class of people who are

eligible to provide voting assistance beyond the categories of prohibited individuals identified in

the text of the statute—the voter’s employer (or an agent of the employer) or union

representative. 58

         In doing so, Sections 6.06 and 7.04 “interfere[] with and frustrate[] the substantive right

Congress created” under Section 208. Felder, 487 U.S. at 151. S.B. 1 §§ 6.06 and 7.04 are thus

preempted by Section 208 of the VRA. Sections 6.06 and 7.04 make it an “impossibility” for an

eligible voter to choose an assistor who is permitted by Section 208 but disqualified by S.B. 1

because that assistor is compensated (or receives an economic benefit) either to provide mail ballot

assistance or to advocate for a ballot measure. Fla. Lime & Avocado Growers, 373 U.S. at 142–

43.

         Section 6.06’s exception for family members and “attendant or caregiver previously known

to the voter” does nothing to save the rule from preemption. Implicitly acknowledging that neither


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   The State Defendants assert that assistance by paid canvassers falls outside the purview of Section 7.04 because it
is not “designed to deliver votes for or against a specific candidate or measure.” ECF No. 862 ¶ 479 (citing TEC
§276.05(e)); see also ECF No. 608 at 36. But any efforts designed to increase turnout among voters who are already
likely to vote for the organization’s preferred candidate or measure are, arguably “designed to deliver votes for the
candidate or measure.” Thus, training canvassers on how to provide non-coercive voting assistance to LEP and
disabled voters upon request during candidate forums or block-walking would be arguably “designed to deliver votes
for a specific candidate or measure” if the organization’s outreach efforts were directed toward like-minded voters.
The expansive reach of the term “interaction”—as opposed to “communication” or “speech” or “advocacy”— compels
the same conclusion because it very clearly encompasses both core political speech and voting assistance. See
Interaction, Merriam-Webster, https://www.merriam-webster.com/dictionary/interaction (last visited Sept. 24, 2024)
(defining “interaction” means “mutual or reciprocal action or influence”). Nothing in the text of the Canvassing
Restrictions suggests that a voter who asks a canvasser for voting assistance while discussing a ballot measure begins
a new, distinct “interaction” that is no longer imbued with the canvasser’s original intent.



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“caregiver” nor “previously known to the voter” are defined in the Election Code, the State

Defendants have taken the position that “[t]he ban on compensation applies only in the narrow

circumstance when an individual is paid specifically to assist the voter with their ballot.” ECF No.

862 ¶ 653 (citing Tr. at 1902:4–8). The “caregiver or attendant” exception to Section 6.06 suggests

that just the opposite is true. By exempting paid caregivers and attendants “to ensure that Section

6.06 would not interfere with their duties,” as the State Defendants describe it, Section 6.06

impliedly does interfere with the duties of other professionals who might provide mail-ballot

assistance in the ordinary course of their employment. It would prohibit a high school teacher, for

example, from providing mail-ballot assistance to students with disabilities during a civics unit. It

would likewise prevent a legal aid attorney from translating his client’s mail ballot, and an

activities director at an assisted living facility from helping disabled voters cast their BBMs.

         Moreover, the State Defendants’ position squarely conflicts with testimony by their own

witnesses. For example, the State Defendants insist that nothing in Sections 6.06 or 7.04 prevent

“individuals with paid jobs, such as canvassing, from assisting the voter.” ECF No. 862 ¶ 653.59

At trial, however, Mr. White confirmed that Section 6.06 “appear[s] to apply to [the] scenario” in

which a paid canvasser for a nonprofit Get Out the Vote organization engages with voters and

provides mail ballot assistance at the voter’s request. Tr. at 3993:22–3995:10. Similarly, while the

State Defendants purportedly endorse Mr. Ingram’s position that reimbursement is not

“compensation,” see ECF No. 862 ¶ 653 (citing Tr. at 1903:10–1904:2), Mr. White testified that




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   The State Defendants themselves have taken inconsistent positions on the question of whether Section 7.04 reaches
voter assistance activity. Compare ECF No. 862 ¶ 653 (arguing that nothing prevents paid canvassers from providing
voter assistance) with La Union del Pueblo Entero v. Abbott, No. 22-50775, ECF No. 92 at 2 (5th Cir. Oct. 9, 2024)
(suggesting that an injunction against criminal enforcement of the Canvassing Restriction would somehow impact
selectively quoted instructions pertaining to the Assistor Disclosure requirements). If, as the State Defendants would
have it, the Canvassing Restriction always permitted paid canvassers to provide mail-ballot assistance, enjoining
criminal enforcement of the Canvassing Restriction should have no impact on how canvassers provide such assistance.



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he would need to perform legal research to determine what kinds of economic benefits would

violate Section 6.06. Tr. at 3992:20–3993:21 (conceding that he would need to “review[] the case

law” to determine whether a meal, bus fare, or a gift bag containing a t-shirt constitute prohibited

compensation).

         Even if S.B. 1 purports to share Section 208’s goal of preventing voter coercion, Congress

decided that an assistor of choice, as opposed to an election official, would best ensure that the

voter’s intent is carried out when marking the ballot. See H.R. Rep. No. 227, 97th Cong., 1st Sess.

14 (1981) (discussing need to deter coercion of voters by election officials). Thus, S.B. 1’s voter

assistance provisions “involve[] a conflict in the method of enforcement. The Court has recognized

that a ‘[c]onflict in technique can be fully as disruptive to the system Congress erected as conflict

in overt policy.’” Arizona v. United States, 567 U.S. at 406 (quoting Motor Coach Employees v.

Lockridge, 403 U.S. 274, 287 (1971)). 60




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   Even under the State Defendants’ proposed balancing test, Sections 6.06 and 7.04 would fail. The Senate Report
states that any voter protection laws must be implemented to “encourage participation in the electoral process.” S.
Rep. No. 97-417 at 63 at 241. The trial record shows that several, non-partisan community organizations have stopped
providing mail-ballot assistance to voters because they compensate their staff members (with salaries) and volunteers
(with nominal gifts). See, e.g., Tr. at 1722:3–16 (OCA); Tr. at 86:9–86:13, 86:14–87:2, 87:3–87:21, 86:9–86:13,
86:14–87:2, 87:3–87:21 (LUPE); Tr. at 2543:14–2544:23 (MABA). Worse, both Mr. White and Mr. Ingram
acknowledged that, in addition to exposing their assistors to criminal liability under Sections 6.06 and 7.04, voters
themselves could face jail time under either provision for offering to buy their assistor lunch as a token of appreciation.
Tr. at 1904:1–1906:5. Members of the League have stopped providing assistance at assisted living facilities based on
this very concern. Tr. at 1620:7–1621:1. Threatening volunteers who accept water bottles and the voters who offer
them with years in prison and thousands of dollars in fines can hardly be said to “encourage participation in the
electoral process.”
The State Defendants insist that these provisions protect voters from incentive structures that increase the likelihood
of assistors applying pressure on the voter in pursuit of partisan or ideological ends. But nothing in the text of either
Section 6.06 or 7.04 limits the application of criminal liability to those who receive or offer compensation to “apply
pressure” for partisan or ideological ends. Nor is there any evidence that bottles of water, t-shirts, bus fare, or a person’s
receipt of their normal salary constitute “an incentive structure that increases the likelihood” of such pressure. Indeed,
the State Defendants failed to proffer a shred of evidence showing that S.B. 1’s assistance provisions actually protect
voters from undue influence or encourage participation by voters who need assistance. Weighed against the effect of
excluding these broad categories of non-partisan assistors and exposing voters and assistors alike to criminal liability,
the burden that Sections 6.06 and 7.04 impose on voters’ right to vote with assistance from a person of their choice
cannot be justified by the State Defendants’ vague gesture toward voter protection.



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          The text of Section 208 does not permit the restrictions on the class of eligible assistors

imposed by Sections 6.06 and 7.04 of S.B. 1. Accordingly, those provisions are preempted.

PERMANENT INJUNCTION OF S.B. 1 §§ 6.03–6.07 AND 7.04

Legal Standard

          A party seeking a permanent injunction must prove: (1) that it has succeeded on the merits;

(2) that a failure to grant the injunction will result in irreparable injury; (3) that said injury

outweighs any damage that the injunction will cause the opposing party; and (4) that the injunction

will not disserve the public interest. Valentine v. Collier, 993 F.3d 270, 280 (5th Cir. 2021). The

Court addresses each factor in turn.

          Further, in accordance with Federal Rule of Civil Procedure 65(d)(1), an order granting a

permanent injunction must “(A) state the reasons why it issued; (B) state its terms specifically; and

(C) describe in reasonable detail ... the act or acts restrained or required.” Scott v. Schedler, 826

F.3d 207, 208 (5th Cir. 2016) (quoting FED. R. CIV. P. 65(d)(1)). According to the Fifth Circuit,

this means the injunction must not be vague or overbroad. Id. “[A]n injunction is overly vague if

it fails to satisfy the specificity requirements set out in Rule 65(d)(1), and it is overbroad if it is not

‘narrowly tailor[ed] . . . to remedy the specific action which gives rise to the order’ as determined

by the substantive law at issue.” Id. (quoting Doe v. Veneman, 380 F.3d 807, 813 (5th Cir. 2004)).

Analysis

          Plaintiffs have satisfied all four factors required for injunctive relief. Valentine, 993 F.3d

at 280.

          First, for the reasons set forth in this order, the Court concludes that the Sections 6.03–6.07

and 7.04 of S.B. 1. are preempted, at least in part, by Section 208. Plaintiffs have thus succeeded

on the merits of their Section 208 claims challenging those provisions.




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       Second, the Court concludes that failure to grant the requested injunction will result in

irreparable injury to Plaintiffs and their members by interfering with voters’ rights and ability to

vote with help from their chosen assistors.

       Plaintiffs have established that Sections 6.03, 6.04, 6.05, and 6.07 of S.B. 1 have deterred

members from requesting—and their chosen assistors from providing—voting assistance

guaranteed under Section 208 due to the credible threat of enforcement. See also Babbitt, 442 U.S.

at 302 (“a plaintiff need not first expose himself to actual arrest or prosecution” to establish a

cognizable harm). As a result, voters, including some of Plaintiffs’ members, have forgone

assistance to which they are lawfully entitled and will continue to do so as long as those provisions

remain in effect. “Courts routinely deem restrictions on fundamental voting rights irreparable

injury.” League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014)

(collecting cases); see also Purcell v. Gonzalez, 549 U.S. 1, 7 (2006) (recognizing the “strong

interest in exercising the fundamental political right to vote”) (citing Dunn v. Blumstein, 405 U.S.

330, 336 (1972)).

       Finally, it is clear to the Court that the injunction would not disserve the public interest,

and, to the contrary, will serve the public interest by protecting individuals’ right to vote with help

from their chosen assistors under Section 208 and their fundamental right to vote. See Dunn, 405

U.S. at 336 (stating that protecting the right to vote is of particular public importance because it is

“preservative of all rights.”) (citing Reynolds v. Sims, 377 U.S. 533, 562 (1964)).

       Even recognizing the importance of the fundamental right to vote, a court must weigh any

protective action against the potential for confusion and disruption of the election administration

under the “Purcell principle.” See Benisek v. Lamone, 138 S. Ct. 1942, 1945 (2018). The Purcell

principle provides that, as a general rule, federal courts “should not alter state election laws in the




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period close to an election.” Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28

(2020) (Kavanaugh, J., concurring) (upholding Seventh Circuit’s stay of injunction entered six

weeks before the general election). In Purcell, the Supreme Court reversed a lower court’s order

enjoining the implementation of a proposition, passed by ballot initiative two years earlier, that

required voters to present identification when they voted on election day. Reversing the lower

court, the Court emphasized that the injunction was likely to cause judicially-created voter

confusion in the face of an imminent election. Purcell, 549 U.S. at 2, 6.

       The Supreme Court has recognized that “[c]ourt orders affecting elections, especially

conflicting orders, can themselves result in voter confusion and consequent incentive to remain

away from the polls. As an election draws closer, that risk will increase.” Purcell, 549 U.S. at 4–

5. The Purcell principle’s logic extends only to injunctions that affect the mechanics and

procedures of the act of voting. See, e.g., Republican Nat’l Comm. v. Democratic Nat’l Comm.

(“RNC v. DNC”), 140 S. Ct. 1205, 1207 (2020) (extension of absentee ballot deadline); Mi Familia

Vota v. Abbott, 834 F. App’x 860, 863 (5th Cir. 2020) (mask mandate exemption for voters); Tex.

Alliance for Retired Ams. v. Hughs, 976 F.3d 564, 566–67 (5th Cir. 2020) (new ballot type

eliminating straight-ticket voting); Democratic Nat’l Comm. v. Wis. State Leg., 141 S. Ct. at 31

(extension of absentee ballot deadline).

       Even when Purcell applies, however, it does not constitute an absolute bar on all injunctive

relief in the runup to an election. See Merrill v. Milligan, 142 S. Ct. 879, 881 (2022) (Kavanaugh,

J., concurring). Rather, it directs courts to consider whether: (1) “the underlying merits are entirely

clearcut in favor of the plaintiff;” (2) “the plaintiff would suffer irreparable harm absent the

injunction;” (3) the “plaintiff has [] unduly delayed bringing the complaint to court;” and (4) “the

changes in question are at least feasible before the election without significant cost, confusion, or




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hardship.” Id.; see also Robinson v. Ardoin, 37 F.4th 208, 228 n.11 (5th Cir. 2022) (per curiam)

(citing Merrill concurrence as authority on Purcell). The Court concludes that Plaintiffs have

satisfied the first three elements with respect to all their successful Section 208 challenges. Thus,

the Court must determine, with respect to each challenged provision, whether the conduct to be

enjoined affects the mechanics of voting and, if so, the feasibility of implementing any injunctive

relief before the November 2024 election.

               Injunctive relief as to the Secretary’s forms and instructions implicates Purcell.

       Plaintiffs have succeeded on the merits of their Section 208 challenges to two forms

designed by the Secretary of State: the “Oath of Assistance Form” used to collect Assistor

Disclosures at the polls (LUPE-189) and the mail ballot carrier envelope (LUPE-009).

Specifically, she will be required to withdraw the Oath of Assistance Form, remove the

“Relationship to Voter” line from the mail-ballot carrier envelope, and revise the Oath printed on

the mail ballot carrier envelope to reflect the language below:

           I swear (or affirm) that I will not suggest, by word, sign, or gesture, how the
           voter should vote; I will prepare the voter’s ballot as the voter directs; I am
           not the voter’s employer, an agent of the voter’s employer, or an officer or
           agent of a labor union to which the voter belongs; I will not communicate
           information about how the voter has voted to another person.

The Secretary will also be required to revise any training and instructional materials for state and

county election officials to remove language that reflects the substance of the Enjoined Oath

Language or the Voter Relationship Disclosure requirements. Any injunctive relief against the

Secretary as to Sections 6.03, 6.04, 6.05, and 6.07 of S.B. 1 will plainly implicate Purcell and it is

not feasible for the Secretary to redesign any of these materials in the weeks before the November

2024 general election.




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       Accordingly, the Court will stay any injunction applicable to the Secretary’s forms until

after the November 2024 general election.

               Injunctive relief as to election officials’ conduct implicates Purcell.

       Injunctive relief as to election officials’ administration of the Oath and Assistor Disclosure

requirements for both in-person and mail-in voting clearly implicates Purcell.

       The Court will not enjoin the County Election Officials from using either of the forms

prescribed by the Secretary of State in administering the November 2024 general election for the

same reasons set forth above.

       Of course, it would be feasible, in terms of both cost and hardship, to enjoin officials from

giving effect to certain portions of the forms by, e.g., permitting assistors to skip the “Relationship

to Voter” line on the disclosure form at the polls or accepting mail ballots omitting that

information. It would be similarly feasible to direct officials to administer the revised Oath orally

at the polls. Nonetheless, due to the potential for voter confusion about the procedural

discrepancies between in-person and mail-in voting, the Court will not enjoin officials from

implementing the requirements of Sections 6.03, 6.04, and 6.05 of S.B. 1 until after the November

2024 general election.

               Enjoining enforcement proceedings does not implicate the Purcell principle.

       With respect to criminal enforcement of S.B. 1 §§ 6.04, 6.05, 6.06, and 7.04, injunctive

relief against the State Defendants and County DAs would not affect the procedures for voting by

mail from a voter’s perspective.

       Enjoining enforcement proceedings premised on violations of the Enjoined Oath

Language, for example, does not require any changes to the Oath as it is printed on the mail ballot

carrier envelope or the Oath of Assistance Form or any of the inserts used in the mail voting




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process. See, e.g., LUPE-009 at 2; LUPE-189 at 2; Tex. Sec’y of State, Form 6-29,

https://perma.cc/N5FYXSCL; Tex. Sec’y of State, Form 6-26, https://perma.cc/QGT9-UH9E.

       The first insert urges voters to report “attempts to pressure or intimidate” them to their local

county elections office, local district attorney, or the Secretary of State. To state the obvious, an

injunction against enforcement has no impact on the general public’s ability to report activity—

criminal or otherwise—to the officials responsible for collecting such reports. Enjoining criminal

enforcement of the Enjoined Oath Language would not impair any official’s ability to enforce

provisions of the Election Code criminalizing efforts to “pressure or intimidate” a voter. For

example, the Election Code already imposes criminal penalties against “effort[s] to influence the

independent exercise of the vote of another in the presence of the ballot or during the voting

process,” TEC § 276.013, or voting (or attempting to vote) a ballot belonging to another person,

or attempting to mark another person’s ballot without their consent or specific direction, TEC §

64.012. Similarly, it is already a crime for an assistor to “suggest[] by word, sign, or gesture how

the voter should vote” while providing such assistance or to “prepare[] the voter’s ballot in a way

other than the way the voter directs or without direction from the voter.” TEC § 64.036.

       The second insert explains to voters that their assistor’s failure to sign the Oath and

complete the Assistor Disclosures is a state jail felony unless the person is one of certain close

relatives of the voter or physically living in the same dwelling. Tex. Sec’y of State, Form 6-26,

https://perma.cc/QGT9-UH9E. Again, the Court is not directing any change to the inserts, the

Oath, or the Assistor Disclosure requirements at this time. Instead, injunctive relief against

enforcement of the provisions would simply prevent the Secretary from referring alleged violations

of the Enjoined Oath Language or the Voter Relationship Disclosure requirement to the Attorney




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General, and prevent the Attorney General and the State of Texas (through its local prosecutors)

from investigating and prosecuting such violations.

       The Election Code itself acknowledges a distinction between its administrative procedures

and their enforcement. For example, the Oath of Assistance, printed on the mail ballot carrier

envelope and Oath of Assistance Form, does not reflect the scienter requirement set forth in the

criminal enforcement provision. Compare LUPE-009, LUPE-189, and TEC § 64.034 with TEC §

276.018. Likewise, the Election Code—and the forms that implement it—requires all assistors to

complete the Assistor Disclosures. See LUPE-009, LUPE-189, and TEC § 64.0322. The provision

imposing criminal liability on some mail-ballot assistors—but not others—who knowingly fail to

comply with the requirements is codified under a separate provision, TEC § 86.010(h)(2), but

neither the distinction between types of assistors nor the scienter requirement appears on the BBM

carrier envelope. See LUPE-009.

       Any objection to enjoining criminal enforcement of the Enjoined Oath Language or Voter

Relationship Disclosure requirement, in effect, amounts to an objection to the limited relief that

the injunction will afford. That is, both requirements will undoubtedly continue to have some

chilling effect on voter assistance in the November 2024 election. To be sure, with respect to the

November 2024 election, Plaintiffs’ prospective injuries will not be fully relieved. But Purcell

does not require courts to double-down on the unjust effects of unlawful election rules by

continuing to permit criminal enforcement of those provisions. See Longoria v. Paxton, 585 F.

Supp. 3d 907, 935 (W.D. Tex. 2022) (less than three weeks before primary, enjoining statute

criminalizing solicitation of vote-by mail applications), vacated and remanded on other grounds,

2022 WL 2208519 (5th Cir. 2022); Chancey v. Ill. State Bd. of Elections, 635 F. Supp. 3d 627,

629–30, 644 (N.D. Ill. 2022) (declining to apply Purcell less than a month before an election,




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reasoning that an injunction of the campaign finance law at issue “did not implicate the same

concerns” as Purcell, as because “it is difficult to imagine . . . that if relief is granted, then voters

will be confused about whether, how, where, when, or for whom they can vote”); Coal. for Good

Governance v. Kemp, 558 F. Supp. 3d 1370, 1393 (N.D. Ga. 2021) (enjoining SB 202 provision

imposing criminal penalties one month before election); Towbin v. Antonacci, 885 F. Supp. 2d

1274, 1295–96 (S.D. Fla. 2012) (similar).

        The Court is not considering a preliminary injunction of a new election law intended to

mitigate its administrative consequences before an upcoming election. At most, Purcell justifies a

temporary stay of otherwise permanent injunctive relief, and, even then, only to the extent that an

injunction materially impacts election administration. The effect of an injunction prohibiting

criminal enforcement is limited to the criminal realm. Indeed, injunctions against criminal

enforcement are, by their nature, removed in space and time from the mechanics and procedures

of voting. Prosecutions simply do not occur at the polls (or, as the case may be, during block-

walking and candidate forums); they require investigation, evidence, and due process.

        In the same vein, the Attorney General and County District Attorneys may very well be

pursuing investigations and prosecutions arising out of violations of these provisions that occurred

in previous elections. Regardless of the upcoming election, those investigations and prosecutions

constitute enforcement of state laws that are preempted by Section 208 of the VRA. How could an

injunction of such enforcement activity possibly implicate Purcell? Indeed, considering the State

Defendants’ continued reliance on the investigative privilege in the course of this litigation, it is

difficult to imagine that voters are so accustomed to the enforcement of these provisions that they

would be confused by an injunction that—for the purposes of November 2024 election—changes

nothing about how or when they cast their ballot, by mail or in person.




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          Because criminal investigations and prosecutions necessarily follow the offending conduct

in time, the only prospective interest that the AG and DAs can plausibly allege would be impaired

by injunctive relief is the deterrent effect of the provisions arising from the threat of enforcement.

However, given that the chilling effect on voting assistance is the very feature that renders the

challenged provisions infirm under Section 208, permitting the State Defendants and local

prosecutors to continue to threaten criminal enforcement is unlikely to serve the public interest.

                                           CONCLUSION

          For the foregoing reasons, the Court concludes that Sections 6.06 and 7.04 of S.B. 1 and

portions of Sections 6.03, 6.04, 6.05, and 6.07 of S.B. 1 are preempted by Section 208 of the VRA.

          The motions for summary judgment filed by the Intervenor-Defendants (ECF No. 608) and

the Harris County District Attorney (ECF No. 614) are DENIED as to Plaintiffs’ Section 208

claims.

          The HAUL Plaintiffs’ Section 208 challenge to S.B. 1 § 6.01 is DISMISSED WITHOUT

PREJUDICE for lack of subject matter jurisdiction.

          Section 6.04 (TEC § 64.034) – The Oath of Assistance

          With respect to the HAUL and LUPE Plaintiffs’ Section 208 challenges to S.B. 1 § 6.04,

codified at TEC § 64.034:

          The Court DECLARES that the following statements in the Oath of Assistance, codified

at TEC § 64.034, are preempted by Section 208 of the Voting Rights Act:

             •   “under penalty of perjury that the voter I am assisting represented to me
                 they are eligible to receive assistance”;

             •   “I did not pressure or coerce the voter into choosing me to provide
                 assistance; and”

             •   “I understand that if assistance is provided to a voter who is not eligible for
                 assistance, the voter’s ballot may not be counted.”


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       Plaintiffs’ challenges to the Oath’s statement that “I will not communicate information

about how the voter has voted to another person” are dismissed.

       The Attorney General and Secretary of State of Texas, the District Attorneys of Bexar

County, Harris County, Travis County, Dallas County, Hidalgo County, and the 34th Judicial

District, and their respective agents, officers, employees, and successors, and all persons acting in

concert with each or any of them, are PERMANENTLY ENJOINED from implementing,

enforcing, or giving any effect to the following language in the Oath of Assistance, codified at

TEC § 64.034 (the “Enjoined Oath Language”):

           •   “under penalty of perjury that the voter I am assisting represented to me
               they are eligible to receive assistance”;

           •   “I did not pressure or coerce the voter into choosing me to provide
               assistance; and” and

           •   “I understand that if assistance is provided to a voter who is not eligible for
               assistance, the voter’s ballot may not be counted.”

       Nothing in this order should be read to enjoin the Attorney General, the Secretary, or the

County District Attorneys from enforcing the surviving portions of the Oath under TEC §

276.018(b).

       Accordingly, the Attorney General may not investigate potential violations, refer potential

violations to District Attorneys for investigation or prosecution, or prosecute any potential

violation of the Enjoined Oath Language with the consent or at the request of any county or local

prosecutor or appointment pro tem by a district judge. Likewise, all county and local prosecutors

are permanently enjoined from deputizing the Attorney General, appointing him pro tem, or

seeking his appointment pro tem from or by a district judge to prosecute alleged violations of the

Enjoined Oath Language that occur within their jurisdictions.




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       In the interest of clarity, injunctions against enforcement extend to civil penalties and civil

investigations and enforcement proceedings (e.g., writs of mandamus) against election officials

pursuant to Section 8.01 of S.B. 1 (codified at TEC §§ 31.129, 31.130),

       The Secretary of State is PERMANENTLY ENJOINED from implementing the Enjoined

Oath Language. The Secretary shall revise any applicable forms and training and instructional

materials for state and county election officials to remove language that reflects the substance of

the Enjoined Oath Language. This injunction is STAYED, however, until after the November

2024 general election.

       The Bexar County Elections Administrator, Harris County Clerk, Dallas County Elections

Administrator, and El Paso County Elections Administrator are PERMANENTLY ENJOINED

from implementing the Enjoined Oath Language. This injunction is STAYED, however, until

after the November 2024 general election. Nothing in this order should be read, however, to

prevent local election officials from providing reasonable accommodations to voters consistent

with TEC § 1.022.

       Sections 6.03, 6.05, 6.07 (TEC § 64.034) – Voter Relationship Disclosure

       With respect to the LUPE and HAUL Plaintiffs’ Section 208 challenges to S.B. 1 §§ 6.03,

6.05, and 6.07:

       The Court DECLARES that the Oath of Assistance Form and Voter Relationship

Disclosure requirement, codified at TEC §§ 64.0322(a)(2) and 86.010(e)(2) (and implemented by

TEC §§ 64.0322(b) and 86.013(b)) are preempted by Section 208 of the Voting Rights Act.

       The State Defendants and their respective agents, officers, employees, and successors, and

all persons acting in concert with each or any of them, are PERMANENTLY ENJOINED from

implementing, enforcing, or giving any effect to TEC § 86.010(e)(2). All county and local




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prosecutors are agents of the State of Texas in prosecuting crimes under the Election Code.

Stephens, 663 S.W.3d at 52.

       Accordingly, the Attorney General may not investigate potential violations of TEC §

86.0105, refer potential violations of TEC § 86.010(e)(2) to county or local prosecutors for

investigation or prosecution, or prosecute any potential violation of TEC § 86.010(e)(2) with the

consent or at the request of any county or local prosecutor or appointment pro tem by a district

judge. Likewise, all county and local prosecutors, as agents of the State of Texas, are permanently

enjoined from deputizing the Attorney General, appointing him pro tem, or seeking his

appointment pro tem from or by a district judge to prosecute alleged violations of TEC §

86.010(e)(2) that occur within their jurisdictions.

       In the interest of clarity, injunctions against enforcement extend to civil penalties and civil

investigations and enforcement proceedings (e.g., writs of mandamus) against election officials

pursuant to Section 8.01 of S.B. 1 (codified at TEC §§ 31.129, 31.130).

       The Secretary of State is PERMANENTLY ENJOINED from implementing the Voter

Relationship Disclosure requirement. The Secretary shall revise all applicable forms and training

and instructional materials for state and county election officials to remove language that reflects

the substance of the Voter Relationship Disclosure requirement. This injunction is STAYED,

however, until after the November 2024 general election.

       The Bexar County Elections Administrator, Harris County Clerk, Dallas County Elections

Administrator, and El Paso County Elections Administrator are PERMANENTLY ENJOINED

from using the Oath of Assistance Form (LUPE-189) or implementing the Voter Relationship

Disclosure requirement. This injunction is STAYED, however, until after the November 2024




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general election. Nothing in this order should be read, however, to prevent local election officials

from providing reasonable accommodations to voters consistent with TEC § 1.022.

       Section 6.06 (TEC § 86.0105) – Ban on Compensated Mail-Ballot Assistance

       With respect to the OCA and LUPE Plaintiffs’ Section 208 challenges to S.B. 1 § 6.06:

       The Court DECLARES that the ban on compensated mail-ballot assistance, codified at

TEC § 86.0105, is preempted by Section 208 of the Voting Rights Act.

       The State Defendants, and their respective agents, officers, employees, and successors, and

all persons acting in concert with each or any of them, are PERMANENTLY ENJOINED from

implementing, enforcing, or giving any effect to TEC § 86.0105. All county and local prosecutors

are agents of the State of Texas in prosecuting crimes under the Election Code. Stephens, 663

S.W.3d at 52.

       Accordingly, the Attorney General may not investigate potential violations of TEC §

86.0105, refer potential violations of TEC § 86.0105 to county or local prosecutors for

investigation or prosecution, or prosecute any potential violation of TEC § 86.0105 with the

consent or at the request of any county or local prosecutor or appointment pro tem by a district

judge. Likewise, all county and local prosecutors, as agents of the State of Texas, are permanently

enjoined from deputizing the Attorney General, appointing him pro tem, or seeking his

appointment pro tem from or by a district judge to prosecute alleged violations of TEC § 86.0105

that occur within their jurisdictions.

       The OCA and LUPE Plaintiffs’ Section 208 claims challenging S.B. 1 § 6.06 against the

Harris County Clerk, Travis County Clerk, Dallas County Elections Administrator, and El Paso

County Elections Administrator, as applicable, are DISMISSED WITHOUT PREJUDICE for

lack of subject matter jurisdiction.




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       Section 7.04 (TEC § 276.015) – Canvassing Restriction

       With respect to the LUPE and LULAC Plaintiffs’ Section 208 challenges to S.B. 1 § 7.04:

       The Court DECLARES that the Canvassing Restriction, codified at TEC § 276.015, is

preempted by Section 208 of the Voting Rights Act.

       The State Defendants and their respective agents, officers, employees, and successors, and

all persons acting in concert with each or any of them, are PERMANENTLY ENJOINED from

implementing, enforcing, or giving any effect to TEC § 86.0105. All county and local prosecutors

are agents of the State of Texas in prosecuting crimes under the Election Code. Stephens, 663

S.W.3d at 52.

       Accordingly, the Attorney General may not investigate potential violations of TEC §

276.015, refer potential violations of TEC § 276.015 to county or local prosecutors for

investigation or prosecution, or prosecute any potential violation of TEC § 276.015 with the

consent or at the request of any county or local prosecutor or appointment pro tem by a district

judge. Likewise, all county and local prosecutors, as agents of the State of Texas, are permanently

enjoined from deputizing the Attorney General, appointing him pro tem, or seeking his

appointment pro tem from or by a district judge to prosecute alleged violations of TEC § 276.015

that occur within their jurisdictions.

       The LUPE and LULAC Plaintiffs’ Section 208 claims challenging S.B. 1 § 7.04 against

the Dallas County Elections Administrator, El Paso County Elections Administrator, Bexar

County Elections Administrator, Travis County Clerk, Harris County Clerk, and Hidalgo County

Elections Administrator, as applicable, are DISMISSED WITHOUT PREJUDICE for lack of

subject matter jurisdiction.




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  It is so ORDERED.

  SIGNED this 11th day of October, 2024.



                                    _________________________________
                                    XAVIER RODRIGUEZ
                                    UNITED STATES DISTRICT JUDGE




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